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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                               )
     In re:                                                                    ) Chapter 11
                                                                               )
     AEGEAN MARINE PETROLEUM NETWORK                                           ) Case No. 18-13374 (MEW)
     INC., et al.,1                                                            )
                                                                               )
                                  Debtors.                                     ) (Jointly Administered)
                                                                               )

                          DISCLOSURE STATEMENT FOR
                     THE JOINT PLAN OF REORGANIZATION OF
            AEGEAN MARINE PETROLEUM NETWORK INC. AND ITS DEBTOR
          AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


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     Counsel to the Debtors and Debtors in Possession

     Dated: January 15, 2019




 1     Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits of their tax
       identification, registration, or like numbers is not provided herein. A complete list of such information may be obtained on
       the website of the Debtors’ claims and noticing agent at http://dm.epiq11.com/Aegean. The location of Debtor Aegean
       Bunkering (USA) LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is 52 Vanderbilt
       Avenue, Suite 1405, New York, New York 10017.




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        IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

                      THE DEADLINE TO VOTE ON THE PLAN IS
               MARCH [19], 2019 AT 4:00 P.M. (PREVAILING EASTERN TIME)

 FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT OR A MASTER BALLOT INCLUDING
                 YOUR VOTE MUST BE ACTUALLY RECEIVED
                BY EPIQ CORPORATE RESTRUCTURING LLC, ON
           OR BEFORE THE VOTING DEADLINE AS DESCRIBED HEREIN.

       THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE
 STATEMENT TO HOLDERS OF CLAIMS OR INTERESTS FOR PURPOSES OF SOLICITING
 VOTES TO ACCEPT OR REJECT THE PLAN. NOTHING IN THIS DISCLOSURE STATEMENT
 MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. BEFORE
 DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER ENTITLED TO
 VOTE SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE
 STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE X HEREIN. IN THE
 EVENT OF ANY INCONSISTENCY BETWEEN THE DISCLOSURE STATEMENT AND THE PLAN,
 THE RELEVANT PROVISIONS OF THE PLAN WILL GOVERN.

       THE DEBTORS URGE EACH HOLDER OF A CLAIM OR INTEREST ENTITLED TO VOTE
 TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL, FINANCIAL,
 SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT,
 THE PLAN, AND THE PROPOSED TRANSACTIONS CONTEMPLATED THEREBY.
 FURTHERMORE, THE BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF THE
 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE
 THE BANKRUPTCY COURT’S APPROVAL OF THE PLAN.

       THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SUMMARIES
 OF THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN ANTICIPATED EVENTS IN
 THE CHAPTER 11 CASES. ALTHOUGH THE DEBTORS BELIEVE THAT THESE SUMMARIES
 ARE FAIR AND ACCURATE, THESE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO
 THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR
 STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE
 EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS
 DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY
 OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER
 DOCUMENTS WILL GOVERN FOR ALL PURPOSES. FACTUAL INFORMATION CONTAINED IN
 THIS DISCLOSURE STATEMENT HAS BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT
 EXCEPT WHERE OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT
 OR WARRANT THAT THE INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS
 WITHOUT ANY MATERIAL INACCURACY OR OMISSION.

       IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON
 FINANCIAL DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON VARIOUS
 ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESSES. WHILE THE DEBTORS BELIEVE
 THAT SUCH FINANCIAL INFORMATION FAIRLY REFLECTS THE FINANCIAL CONDITION OF
 THE DEBTORS AS OF THE DATE HEREOF AND THAT THE ASSUMPTIONS REGARDING
 FUTURE EVENTS REFLECT REASONABLE BUSINESS JUDGMENTS, NO REPRESENTATIONS
 OR WARRANTIES ARE MADE AS TO THE ACCURACY OF THE FINANCIAL INFORMATION



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 CONTAINED HEREIN OR ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESSES AND
 THEIR FUTURE RESULTS AND OPERATIONS. SEE THE RISK FACTORS, SPECIFICALLY
 ARTICLE X.C AND ARTICLE X.D OF THIS DISCLOSURE STATEMENT. THE DEBTORS
 EXPRESSLY CAUTION READERS NOT TO PLACE UNDUE RELIANCE ON ANY
 FORWARD-LOOKING STATEMENTS CONTAINED HEREIN.

       THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE
 CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE
 DEBTORS OR ANY OTHER AUTHORIZED PARTY MAY SEEK TO INVESTIGATE, FILE, AND
 PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS OR INTERESTS AFTER THE
 CONFIRMATION OR EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS
 DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR OBJECTIONS TO CLAIMS OR
 INTERESTS.

       THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL
 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF,
 UNLESS OTHERWISE SPECIFICALLY NOTED.          ALTHOUGH THE DEBTORS MAY
 SUBSEQUENTLY UPDATE THE INFORMATION IN THIS DISCLOSURE STATEMENT, THE
 DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO SO, AND EXPRESSLY DISCLAIM ANY DUTY
 TO PUBLICLY UPDATE ANY FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT
 OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS OR
 INTERESTS REVIEWING THIS DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE
 TIME OF THEIR REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS
 DISCLOSURE STATEMENT WAS FILED. INFORMATION CONTAINED HEREIN IS SUBJECT TO
 COMPLETION, MODIFICATION, OR AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO
 FILE AN AMENDED OR MODIFIED PLAN AND RELATED DISCLOSURE STATEMENT FROM
 TIME TO TIME.

       THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION
 ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
 DISCLOSURE STATEMENT.        THE DEBTORS HAVE NOT AUTHORIZED ANY
 REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY
 OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.

       IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE
 DATE OCCURS, ALL HOLDERS OF CLAIMS AND INTERESTS (INCLUDING THOSE HOLDERS
 OF CLAIMS OR INTERESTS WHO DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE
 PLAN, WHO VOTE TO REJECT THE PLAN, OR WHO ARE NOT ENTITLED TO VOTE ON THE
 PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND THE TRANSACTIONS
 CONTEMPLATED THEREBY.

        YOU ARE ENCOURAGED TO READ THE PLAN AND THIS DISCLOSURE STATEMENT
 IN ITS ENTIRETY, INCLUDING ARTICLE X, ENTITLED “RISK FACTORS,” WHICH BEGINS ON
 PAGE 63, BEFORE SUBMITTING YOUR BALLOT TO VOTE ON THE PLAN.

       THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE STATEMENT DOES
 NOT CONSTITUTE A GUARANTEE BY THE COURT OF THE ACCURACY OR COMPLETENESS
 OF THE INFORMATION CONTAINED HEREIN OR AN ENDORSEMENT BY THE BANKRUPTCY
 COURT OF THE MERITS OF THE PLAN.




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       SUMMARIES OF THE PLAN AND STATEMENTS MADE IN THIS DISCLOSURE
 STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN. THE
 SUMMARIES OF THE FINANCIAL INFORMATION AND THE DOCUMENTS ANNEXED TO THIS
 DISCLOSURE STATEMENT OR OTHERWISE INCORPORATED HEREIN BY REFERENCE ARE
 QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THOSE DOCUMENTS.           THE
 STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE
 DATE OF THIS DISCLOSURE STATEMENT, AND THERE IS NO ASSURANCE THAT THE
 STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER SUCH DATE.
 EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR IN ACCORDANCE WITH APPLICABLE
 LAW, THE DEBTORS ARE UNDER NO DUTY TO UPDATE OR SUPPLEMENT THIS DISCLOSURE
 STATEMENT.

        THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
 SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS NOT
 NECESSARILY PREPARED IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS
 OR OTHER SIMILAR LAWS. THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
 DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION (THE
 “SEC”) OR ANY SIMILAR FEDERAL, STATE, LOCAL, OR FOREIGN REGULATORY AGENCY,
 NOR HAS THE SEC OR ANY OTHER AGENCY PASSED UPON THE ACCURACY OR ADEQUACY
 OF THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT.

      THE DEBTORS HAVE SOUGHT TO ENSURE THE ACCURACY OF THE FINANCIAL
 INFORMATION PROVIDED IN THIS DISCLOSURE STATEMENT; HOWEVER, THE FINANCIAL
 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR INCORPORATED HEREIN
 BY REFERENCE HAS NOT BEEN, AND WILL NOT BE, AUDITED OR REVIEWED BY THE
 DEBTORS’ INDEPENDENT AUDITORS UNLESS EXPLICITLY PROVIDED OTHERWISE.

      THE DEBTORS MAKE STATEMENTS IN THIS DISCLOSURE STATEMENT THAT ARE
 CONSIDERED FORWARD-LOOKING STATEMENTS UNDER FEDERAL SECURITIES LAWS.
 THE DEBTORS CONSIDER ALL STATEMENTS REGARDING ANTICIPATED OR FUTURE
 MATTERS TO BE FORWARD-LOOKING STATEMENTS. FORWARD-LOOKING STATEMENTS
 MAY INCLUDE STATEMENTS ABOUT THE DEBTORS’:

      •   BUSINESS STRATEGY;

      •   FINANCIAL CONDITION, REVENUES, CASH FLOWS, AND EXPENSES;

      •   LEVELS OF INDEBTEDNESS, LIQUIDITY, AND COMPLIANCE WITH DEBT
          COVENANTS;

      •   FINANCIAL STRATEGY, BUDGET, PROJECTIONS, AND OPERATING RESULTS;

      •   AVAILABILITY AND TERMS OF CAPITAL;

      •   SUCCESSFUL RESULTS FROM THE DEBTORS’ OPERATIONS;

      •   COSTS OF CONDUCTING THE DEBTORS’ OTHER OPERATIONS;

      •   GENERAL ECONOMIC AND BUSINESS CONDITIONS;

      •   EFFECTIVENESS OF THE DEBTORS’ RISK MANAGEMENT ACTIVITIES;



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      •   ENVIRONMENTAL LIABILITIES;

      •   THE OUTCOME OF PENDING AND FUTURE LITIGATION;

      •   UNCERTAINTY REGARDING THE DEBTORS’ FUTURE OPERATING RESULTS;

      •   PLANS, OBJECTIVES, AND EXPECTATIONS;

      •   THE POTENTIAL ADOPTION OF NEW GOVERNMENTAL REGULATIONS; AND

      •   THE DEBTORS’ ABILITY TO SATISFY FUTURE CASH OBLIGATIONS.

       STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE NOT GUARANTEES
 OF THE REORGANIZED DEBTORS’ FUTURE PERFORMANCE.            THERE ARE RISKS,
 UNCERTAINTIES, AND OTHER IMPORTANT FACTORS THAT COULD CAUSE THE
 REORGANIZED DEBTORS’ ACTUAL PERFORMANCE OR ACHIEVEMENTS TO BE DIFFERENT
 FROM THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO OBLIGATION TO
 UPDATE THE PROJECTIONS MADE HEREIN. THESE RISKS, UNCERTAINTIES, AND FACTORS
 MAY INCLUDE THE FOLLOWING:         THE DEBTORS’ ABILITY TO CONFIRM AND
 CONSUMMATE THE PLAN; THE POTENTIAL THAT THE DEBTORS MAY NEED TO PURSUE
 AN ALTERNATIVE TRANSACTION IF THE PLAN IS NOT CONFIRMED; THE DEBTORS’
 ABILITY TO REDUCE THEIR OVERALL FINANCIAL LEVERAGE; THE POTENTIAL ADVERSE
 IMPACT OF THE CHAPTER 11 CASES ON THE DEBTORS’ OPERATIONS, MANAGEMENT, AND
 EMPLOYEES; THE RISKS ASSOCIATED WITH OPERATING THE DEBTORS’ BUSINESSES
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 EXISTING BUSINESSES; FINANCIAL CONDITIONS OF THE DEBTORS’ CUSTOMERS;
 ADVERSE TAX CHANGES; LIMITED ACCESS TO CAPITAL RESOURCES; CHANGES IN
 DOMESTIC AND FOREIGN LAWS AND REGULATIONS; TRADE BALANCE; NATURAL
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                           *      *     *     *     *




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 EXHIBIT B     Corporate Organizational Chart as of the Petition Date

 EXHIBIT C     Restructuring Support Agreement

 EXHIBIT D     Liquidation Analysis

 EXHIBIT E     Valuation Analysis

 EXHIBIT F     Financial Projections




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 I.        INTRODUCTION

          Aegean Marine Petroleum Network Inc. (“Aegean”) and its debtor affiliates, as debtors and
 debtors-in-possession (collectively, the “Debtors”), submit this disclosure statement (this “Disclosure
 Statement”), pursuant to section 1125 of the Bankruptcy Code in connection with the solicitation of votes
 for acceptance of the Joint Plan of Reorganization of Aegean Marine Petroleum Network Inc. and its Debtor
 Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, supplemented, or otherwise
 modified from time to time, the “Plan”).1 A copy of the Plan is attached hereto as Exhibit A and
 incorporated herein by reference. The Plan constitutes a separate chapter 11 plan for each Debtor.

      THE PLAN AND THE TRANSACTIONS CONTEMPLATED THEREIN ARE
 SUPPORTED BY THE DEBTORS, THE COMMITTEE, MERCURIA, CONSENTING
 UNSECURED NOTEHOLDERS HOLDING [59] PERCENT OF THE PRINCIPAL AMOUNT
 OUTSTANDING OF THE UNSECURED NOTES, AND AMEX.

      THE DEBTORS BELIEVE THAT THE COMPROMISES CONTEMPLATED IN THE
 PLAN ARE FAIR AND EQUITABLE, MAXIMIZE THE VALUE OF THE DEBTORS’ ESTATES,
 AND PROVIDE THE BEST RECOVERY TO ALL STAKEHOLDERS UNDER THE
 CIRCUMSTANCES. AT THIS TIME, THE DEBTORS BELIEVE THE PLAN REPRESENTS
 THE BEST AVAILABLE OPTION FOR COMPLETING THE CHAPTER 11 CASES. THE
 DEBTORS AND THE COMMITTEE STRONGLY RECOMMEND THAT YOU VOTE TO
 ACCEPT THE PLAN.

 II.       PRELIMINARY STATEMENT

         The Debtors are an international marine fuel logistics company and a leading independent physical
 supplier of marine fuel to vessels in port, at sea, on rivers and other waterways around the globe. Utilizing
 a modern fleet of 57 owned and chartered vessels and a broad network of supply hubs, the Debtors provide
 best-in-class bunkering services to customers in over 20 countries and more than 50 ports via a fully
 integrated supply chain comprised of fuel sourcing, storage (onshore and offshore), vessel-to-vessel
 delivery, and post-delivery customer care. As of November 1, 2018, the Debtors employed approximately
 850 individuals worldwide.

          As of the Petition Date, the Debtors reported approximately $855 million in aggregate funded debt,
 including $131.3 million outstanding under its U.S. Credit Facility, $249.6 million outstanding under its
 Global Credit Facility, $206.6 million outstanding under ten secured term loan facilities—which generally
 financed the acquisition of the Debtors’ fleet and the Fujairah terminal—and $267 million outstanding
 under two issuances of unsecured convertible notes by the Debtors’ ultimate parent. Since the Petition
 Date, and as of the date hereof, the entire prepetition amount of the U.S. Credit Facility and Global Credit
 Facility has been rolled-up into the Debtors’ postpetition financing arrangements comprised of a $160
 million DIP U.S. Revolving Credit Facility, $75 million DIP U.S. Term Credit Facility, and $300 million
 DIP Global Credit Facility. Mercuria became the sole lender under the U.S. Credit Facility and Global
 Credit Facility in August 2018, is the sole lender under the DIP Facilities, and also owns approximately 30
 percent of Aegean’s common equity.

          The Debtors filed voluntary petitions for relief pursuant to chapter 11 of the Bankruptcy Code on
 the Petition Date. The Debtors in these chapter 11 cases consist of 75 entities. An organizational chart

 1     Capitalized terms used but not otherwise defined in this Disclosure Statement shall have the meaning ascribed to such terms
       in the Plan. The summary of the Plan provided herein is qualified entirely by reference to the Plan. In the case of any
       inconsistency between the Disclosure Statement and the Plan, the Plan will govern.
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 setting forth the corporate structure of Aegean Marine—i.e., Debtors and Non-Debtor Subsidiaries—as of
 the Petition Date is attached hereto as Exhibit B.

         The purpose of a chapter 11 bankruptcy case is to resolve the affairs of a debtor and to distribute
 the proceeds of the debtor’s estate pursuant to a confirmed chapter 11 plan. To that end, the Debtors filed
 the Plan, which provides a comprehensive restructuring of the Debtors’ obligations, preserves the
 going-concern value of the Debtors’ businesses, and maximizes the value of creditor recoveries. The
 Debtors believe that the Plan accomplishes this objective and is in the best interests of the Debtors’ estates
 and, therefore, the Debtors seek to confirm the Plan.

         A.       Plan Overview

         As described more fully below, the Debtors have engaged in extensive good faith negotiations with
 Mercuria, the Committee, the Consenting Unsecured Noteholders, AmEx, and other parties in interest
 regarding the consensual restructuring of the Debtors’ obligations following the Petition Date. The Plan
 represents the culmination of these negotiations and embodies a global settlement memorialized in the
 Restructuring Support Agreement, attached hereto as Exhibit C. The Debtors and the other parties to the
 Restructuring Support Agreement believe that the Plan provides the best available path forward for these
 chapter 11 cases and maximizes the value of the Debtors’ estates.

         Generally, the Plan provides for the following treatment of Claims and Interests:

         •    satisfies in full Allowed Administrative Claims and Allowed Priority Tax Claims, if any,
              against all Debtors;

         •    provides for 100 percent recoveries on account of Allowed Other Secured Claims, Allowed
              Other Priority Claims, Allowed Secured Term Loan Claims, and Allowed General Unsecured
              Claims against all subsidiary Debtors (i.e., other than Aegean);

         •    provides that Holders of Allowed Aegean Unsecured Claims shall receive their Pro Rata share
              of (i) $40 million in Cash (i.e., the Aegean Unsecured Claims Cash Pool) and (ii) Class A
              Litigation Trust Units in the Litigation Trust, which shall own and monetize the Litigation
              Claims for the benefit of Holders of Allowed Aegean Unsecured Claims and, potentially, equity
              holders;

         •    provides that Holders of Allowed Section 510(b) Claims and Allowed Interests in Aegean shall
              receive their Pro Rata share of Class B Litigation Trust Units (i.e., second in priority relative
              to the Class A Litigation Trust Units) in the Litigation Trust; and

         •    equitizes obligations owing to Mercuria under the DIP Credit Facility Claims.

          The Plan enjoys the support of: (i) the Debtors; (ii) Mercuria, the Debtors’ primary prepetition
 secured lender, sole DIP Lender, and approximately 30 percent equity holder; (iii) the Committee, the
 statutory fiduciary for all of the Debtors’ general unsecured creditors; and (iv) the majority of Holders of
 Class 4A Claims (Aegean Unsecured Claims), including (a) [59] percent of the principal amount
 outstanding of the Unsecured Notes and (b) AmEx, the largest individual non-Unsecured Noteholder
 unsecured creditor at Aegean. This support for the Plan, and the consensual reorganization of the Debtors
 contemplated therein, is an important achievement for the Debtors in the face of the significant liquidity
 issues, a challenging operating environment, and the potential for protracted litigation in these chapter 11
 cases.



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          The Debtors strongly believe that the Plan is in the best interests of their estates and represents the
 best available alternative for all of their stakeholders. The Debtors therefore urge Holders of Claims and
 Interests to vote to accept the Plan.

         B.       The Adequacy of the Disclosure Statement

         The Debtors seek Bankruptcy Court approval of the Plan. Before soliciting acceptances of a
 proposed plan of reorganization, section 1125 of the Bankruptcy Code requires a plan proponent to prepare
 a disclosure statement containing information of a kind, and in sufficient detail, to enable a hypothetical
 reasonable investor to make an informed judgment regarding acceptance of a chapter 11 plan.
 This Disclosure Statement is being submitted in accordance with such requirements. This Disclosure
 Statement includes, without limitation, information about:

         •    the Debtors’ corporate history, corporate structure, business operations, and prepetition capital
              structure and indebtedness (Article IV herein);

         •    events leading to these chapter 11 cases, including the Debtors’ restructuring negotiations
              (Article V herein);

         •    significant events in these chapter 11 cases (Article VI herein);

         •    the classification and treatment of Claims and Interests under the Plan, including who is entitled
              to vote and how to vote on the Plan (Article III and Article VII herein);

         •    certain important effects of Confirmation of the Plan (Article IX herein);

         •    releases and exculpations contemplated by the Plan that are integral to the overall settlement
              of Claims pursuant to the Plan (Article III and Article IX herein);

         •    the statutory requirements for confirming the Plan (Article IX herein);

         •    certain risk factors Holders of Claims or Interests should consider before voting to accept or
              reject the Plan and information regarding alternatives to Confirmation of the Plan (Article X
              herein); and

         •    certain U.S. federal income tax consequences of the Plan (Article XII herein).

        In light of the foregoing, the Debtors believe this Disclosure Statement contains “adequate
 information” to enable a hypothetical reasonable investor to make an informed judgment about the Plan
 and complies with all aspects of section 1125 of the Bankruptcy Code.

          The Debtors’ boards of directors have approved the Plan and the Restructuring Transactions
 contemplated therein and believe that the Plan is in the best interests of the Debtors, the Estates, creditors,
 and equity interest holders as a whole. As such, the Debtors recommend that all Holders of Claims and
 Interests entitled to vote on the Plan vote to accept the Plan by returning their ballots, so as to be actually
 received by Epiq Corporate Restructuring, LLC, the Debtors’ notice and claims agent (the “Notice and
 Claims Agent”) no later than March [19], 2019, at 4:00 p.m. prevailing Eastern Time. Assuming the
 requisite acceptances to the Plan are obtained, the Debtors will seek the Bankruptcy Court’s approval of
 the Plan at the Confirmation Hearing, currently scheduled for March [26], 2019, at [●]:00 a.m. prevailing
 Eastern Time.



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          The Plan and all documents to be executed, delivered, assumed, and/or performed in connection
 with the Consummation of the Plan, including the documents to be included in the Plan Supplement, are
 subject to revision and modification from time to time prior to the Effective Date.

 III.      QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND
           THE PLAN

           A.    What is chapter 11?

          Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. Chapter 11
 promotes equality of treatment for creditors and similarly situated equity interest holders, subject to the
 priority of distributions prescribed by the Bankruptcy Code.

         The commencement of a chapter 11 case creates an estate that comprises all of the legal and
 equitable interests of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code
 provides that the debtor may continue to operate its business and remain in possession of its property as a
 “debtor in possession.”

          Consummating a chapter 11 plan is the principal objective of a chapter 11 case. A bankruptcy
 court’s confirmation of a plan binds the debtor, any person acquiring property under the plan, any creditor
 or equity interest holder of the debtor, and any other entity as may be ordered by the bankruptcy court.
 Subject to certain limited exceptions, the order issued by a bankruptcy court confirming a plan provides for
 the treatment of the debtor’s liabilities in accordance with the terms of the confirmed plan.

           B.    Why are the Debtors sending me this Disclosure Statement?

         The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting
 acceptances of the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure
 statement containing adequate information of a kind, and in sufficient detail, to enable a hypothetical
 reasonable investor to make an informed judgment regarding acceptance of the Plan and to share such
 disclosure statement with all holders of claims or interests whose votes on the Plan are being solicited. This
 Disclosure Statement is being submitted in accordance with these requirements.

           C.    Am I entitled to vote on the Plan?

         Your ability to vote on, and your distribution (if any) under, the Plan depends on what type of
 Claim or Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of
 the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s
 respective voting status is set forth below:


        Class         Claim / Interest                  Status                       Voting Rights


                                                                                   Not Entitled to Vote
         1          Other Secured Claims             Unimpaired
                                                                                  (Presumed to Accept)

                                                                                   Not Entitled to Vote
         2          Other Priority Claims            Unimpaired
                                                                                  (Presumed to Accept)

                     Secured Term Loan                                             Not Entitled to Vote
         3                                           Unimpaired
                           Claims                                                 (Presumed to Accept)


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      Class            Claim / Interest                 Status                        Voting Rights


       4A         Aegean Unsecured Claims              Impaired                      Entitled to Vote


                  General Unsecured Claims                                         Not Entitled to Vote
       4B                                             Unimpaired
                  against All Other Debtors                                       (Presumed to Accept)
                                                                                   Not Entitled to Vote
        5           Intercompany Claims         Unimpaired / Impaired        (Presumed to Accept / Deemed to
                                                                                         Reject)
                                                                                   Not Entitled to Vote
        6           Intercompany Interests      Unimpaired / Impaired        (Presumed to Accept / Deemed to
                                                                                         Reject)

        7           Section 510(b) Claims              Impaired                      Entitled to Vote


        8            Interests in Aegean               Impaired                      Entitled to Vote


         D.       What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Allowed Claims
 and Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may vary
 from the final amounts allowed by the Bankruptcy Court. Your ability to receive distributions under the
 Plan depends on the ability of the Debtors to obtain Confirmation and meet the conditions necessary to
 consummate the Plan.

          Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan
 the treatment described below in full and final satisfaction, compromise, settlement, release, and discharge
 of, and in exchange for, such Holder’s Allowed Claim or Allowed Interest, except to the extent different
 treatment is agreed to by the Debtors (with Mercuria’s consent, or the Reorganized Debtors, as applicable)
 and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
 Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the later of
 the Effective Date and the date such Holder’s Claim or Interest becomes an Allowed Claim or Allowed
 Interest (or as soon as reasonably practicable following either of such dates).

         The classification, treatment, and the projected recoveries of classified Claims set forth in the table
 below are estimates only and therefore are subject to material change. In particular, recoveries available to
 the Holders of Aegean Unsecured Claims are estimates based on information known to the Debtors as of
 the date hereof and actual recoveries could differ materially based on, among other things, the actual
 realized recoveries as to any one or more of the Litigation Claims, which are highly speculative and
 contingent upon successful prosecution of the Litigation Claims, and whether the amount of Claims actually
 allowed against the applicable Debtor exceed the estimates provided below. The recoveries available to
 Holders of Aegean Unsecured Claims could be materially lower when compared to the estimates provided
 below.

          To the extent any inconsistency exists between the summaries contained in this Disclosure
 Statement and the Plan, the terms of the Plan shall govern. For a complete description of the Debtors’
 classification and treatment of Claims and Interests, reference should be made to the Plan.


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                                           SUMMARY OF EXPECTED RECOVERIES
                   Claim /                                                                          Projected            Projected
     Class                                     Treatment of Claim / Interest
                   Interest                                                                         Amount               Recovery
     1          Other Secured      As determined by the Debtors but subject in each case               $0                  100%
                Claims             to Mercuria’s reasonable consent, or the Reorganized
                                   Debtors, as applicable, either: (i) payment in full in
                                   Cash by the Reorganized Debtors on the later of the
                                   Effective Date or in the ordinary course; (ii)
                                   Reinstatement; (iii) the collateral securing any such
                                   Claim and payment of any interest required under
                                   section 506(b) of the Bankruptcy Code; or (iv) such
                                   other treatment rendering such Claim Unimpaired.

     2          Other Priority     Payment in full in Cash by the Reorganized Debtors                    $0                100%
                Claims             on the later of the Effective Date or in the ordinary
                                   course.

     3          Secured Term       As determined by the Debtors and Mercuria, or the                  $206.6               100%
                Loan Claims        Reorganized Debtors, as applicable, either: (i)                    million
                                   payment in full in Cash by the Reorganized Debtors
                                   the later of the Effective Date or in the ordinary
                                   course; (ii) Reinstatement; (iii) the collateral securing
                                   any such Claim and payment of any interest required
                                   under section 506(b) of the Bankruptcy Code; or
                                   (iv) such other treatment rendering such Claim
                                   Unimpaired.

     4A         Aegean             Pro Rata share of the Aegean Unsecured Claims Cash                 $294.5               13.6%,
                Unsecured          Pool and the Class A Litigation Trust Units.                       million              plus the
                Claims                                                                                                 distributions,
                                                                                                                        if any, from
                                                                                                                       the Litigation
                                                                                                                                  2
                                                                                                                            Trust

     4B         General            Payment in full in Cash by the Reorganized Debtors                  $7.1                100%
                Unsecured          on the later of the Effective Date or in the ordinary              million
                Claims             course or such other treatment as agreed to by the
                against All        applicable Debtor but subject in each case to
                Other Debtors      Mercuria’s reasonable consent or the applicable
                                   Reorganized Debtor rendering such Claim
                                   Unimpaired.




 2
          The projected recovery of 13.6% represents a baseline recovery for Holders of Class 4A Aegean Unsecured Claims and does
          not include amounts that may be distributed on account of prosecution of the Litigation Claims, which are unliquidated and
          not reasonably calculable at this time. As a result, the actual recovery may be significantly higher. This projected recovery
          assumes that the Aegean Unsecured Claims Pool will be shared Pro Rata among all Holders of Aegean Unsecured Claims.
          For the avoidance of doubt, all Holders of Class 4A Aegean Unsecured Claims will receive their Pro Rata share of Class A
          Litigation Trust Units and will share in any distributions therefrom in accordance with the waterfall set forth in Article V of
          the Plan.



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                                          SUMMARY OF EXPECTED RECOVERIES
                   Claim /                                                                          Projected           Projected
     Class                                    Treatment of Claim / Interest
                  Interest                                                                          Amount              Recovery
     5         Intercompany       As determined by the Debtors and Mercuria, or the                   N/A               100% / 0%
               Claims             Reorganized Debtors, as applicable, either Reinstated
                                  or canceled and released (including by way of capital
                                  contribution) without any distribution on account of
                                  such Claims.

     6         Intercompany       As determined by the Debtors and Mercuria, or the                     N/A             100% / 0%
               Interests          Reorganized Debtors, as applicable, either Reinstated
                                  or canceled and released without any distribution on
                                  account of such Interests.
                                                                                                           3
     7         Section            Pro Rata share of Class B Litigation Trust Units                      $0             Contingent /
                                                                                                                                4
               510(b) Claims      provided, that for purposes of receiving the treatment                                Unknown
                                  provided herein, each Holder shall be treated as if
                                  such Holder held a number of Allowed Class 8
                                  Aegean Interests equal in value (determined based on
                                  the Aegean Interest Distribution Value) to the
                                  amount of its Allowed Section 510(b) Claim.

     8         Interests in       Pro Rata share of Class B Litigation Trust Units.              Approximately         Contingent /
                                                                                                                                6
               Aegean                                                                            53.19 million          Unknown
                                                                                                          5
                                                                                                    shares


              E.        What will I receive if I hold an Allowed Administrative Claim or an Allowed Priority
                        Tax Claim?

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims (including
 DIP Credit Facility Claims), Professional Fee Claims, and Priority Tax Claims have not been classified and,

 3
         No projected claim amount is provided for Class 7 Section 510(b) Claims, which are unliquidated and not reasonably
         calculable at this time. Article III.146 of the Plan defines Section 510(b) Claims as “any Claim against any Debtor: (a) arising
         from the rescission of a purchase or sale of a Security of any Debtor or an Affiliate of any Debtor; (b) for damages arising
         from the purchase or sale of such a Security; (c) for reimbursement or contribution allowed under section 502 of the
         Bankruptcy Code on account of such a Claim; or (d) derived from, based upon, relating to, or arising under the subject matter
         of that certain securities litigation styled as In re Aegean Marine Petroleum Network Inc. Securities Litigation, No. 1:18-cv-
         04993 (NRB), currently pending in the United States Court for the Southern District of New York.”
 4
         No recovery percentage is included for Class 7 Section 510(b) Claims because any such recovery is contingent on the
         prosecution of the Litigation Claims, which are unliquidated and not reasonably calculable at this time. For the avoidance of
         doubt, all Holders of Class 7 Section 510(b) Claims will receive their Pro Rata share of Class B Litigation Trust Units and
         will share in any distributions therefrom in accordance with the waterfall set forth in Article V of the Plan.
 5
         Aegean had a market capitalization of approximately $43.6 million, which is the product of (a) the volume-weighted average
         price of $0.75 per Aegean Interest on the Trading Day prior to the Petition Date, and (b) approximately 53.19 million Aegean
         Interests outstanding on the Trading Day prior to the Petition Date.
 6
         No recovery percentage is included for Class 8 Interests in Aegean because any such recovery is contingent on the prosecution
         of the Litigation Claims, which are unliquidated and not reasonably calculable at this time. For the avoidance of doubt, all
         Holders of Class 8 Interests in Aegean will receive their Pro Rata share of Class B Litigation Trust Units and will share in any
         distributions therefrom in accordance with the waterfall set forth in Article V of the Plan.



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 thus, are excluded from the Classes of Claims and Interests set forth in Article III of the Plan.
 Administrative Claims, DIP Credit Facility Claims, Professional Fee Claims, and Priority Tax Claims will
 be satisfied as set forth in Article II of the Plan.

         F.      What happens to my recovery if the Plan is not confirmed or does not go effective?

         In the event that the Plan is not confirmed or does not go effective, there is no assurance that the
 Debtors will be able to implement the Restructuring Transactions contemplated by the Plan. It is possible
 that any alternative may provide Holders of Claims or Interests with less than they would have received
 pursuant to the Plan. For a more detailed description of the consequences of an extended chapter 11 case,
 or of a liquidation scenario, see Article IX.B of this Disclosure Statement, entitled “Best Interests of
 Creditors/Liquidation Analysis,” and the Liquidation Analysis attached hereto as Exhibit D.

         G.      If the Plan provides that I get a distribution, do I get it upon Confirmation or when
                 the Plan goes effective, and what is meant by “Confirmation,” “Effective Date,” and
                 “Consummation?”

          “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court. Confirmation
 of the Plan does not guarantee that you will receive the distribution indicated under the Plan. After
 Confirmation of the Plan by the Bankruptcy Court, there are conditions that must be satisfied or waived so
 that the Plan can go effective. Initial distributions to Holders of Allowed Claims will only be made on the
 date the Plan becomes effective—the “Effective Date”—or as soon as reasonably practicable thereafter, as
 specified in the Plan. See Article IX of this Disclosure Statement, entitled “Confirmation of the Plan,” for
 a discussion of the conditions precedent to consummation of the Plan. “Consummation” means the
 occurrence of the Effective Date.

         H.      What are the sources of Cash and other consideration required to fund distributions
                 under the Plan?

          The distributions under the Plan will be funded by the following sources of cash and consideration:
 (i) Cash on hand, proceeds of the DIP Facilities, and/or Cash funded by Mercuria; (ii) the issuance and
 distribution of Reorganized Aegean Equity Interests and Litigation Trust Interests; and (iii) proceeds from
 the Exit Facility (if any).

         I.      Who supports the Plan?

         The Plan is supported by: (i) the Debtors; (ii) Mercuria, the Debtors’ primary prepetition secured
 lender, sole DIP Lender, and approximately 30 percent equity holder; (iii) the Committee, the statutory
 fiduciary for all of the Debtors’ general unsecured creditors; and (iv) the vast majority of Holders of Class
 4A Claims (Aegean Unsecured Claims), including (a) [59] percent of the principal amount outstanding of
 the Unsecured Notes issued by Aegean and (b) AmEx, the largest individual non-Unsecured Noteholder
 unsecured creditor at Aegean.

         J.      Is there potential litigation related to Confirmation of the Plan?

          Parties in interest may object to Confirmation of the Plan, which objections potentially could give
 rise to litigation. In addition, if it becomes necessary to confirm the Plan over the rejection of certain
 Classes, the Debtors may seek confirmation of the Plan notwithstanding the dissent of such rejecting
 Classes. The Bankruptcy Court may confirm the Plan pursuant to the “cramdown” provisions of the
 Bankruptcy Code, which allow the Bankruptcy Court to confirm a plan that has been rejected by an impaired



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 Class if it determines that the Plan satisfies section 1129(b) of the Bankruptcy Code. See Article X.B.4 of
 this Disclosure Statement, entitled “The Debtors May Not Be Able to Secure Confirmation of the Plan.”

         K.       Will there be releases and exculpation granted to parties in interest as part of the
                  Plan?

          Yes, Article IX of the Plan proposes to release the Released Parties and to exculpate the Exculpated
 Parties, subject to certain limitations and stakeholders’ ability to “opt out” from, object to, or otherwise
 consent to the Third Party Release. The Debtors’ releases, third party releases, and exculpation provisions
 included in the Plan are an integral part of the Debtors’ overall restructuring efforts and are an essential
 element of the Plan and the global settlement among the Debtors, Mercuria, the Committee, the Consenting
 Unsecured Noteholders, and AmEx in obtaining their support for the Plan.

          All of the Released Parties are either being consensually released, the Debtors have decided in their
 business judgment that they should be released, or they have made substantial and valuable contributions
 to the Debtors’ restructuring through efforts to negotiate and implement the Plan, which will maximize and
 preserve value for the benefit of all parties in interest. Accordingly, each of the Released Parties and the
 Exculpated Parties is entitled to the benefit of the release and exculpation provisions. Moreover, the
 exculpation provisions are appropriately limited to the Exculpated Parties’ participation in the chapter 11
 process and has no effect on liability resulting from actual fraud, willful misconduct, or gross negligence.
 The Debtor Release, Third Party Release, and Exculpation are each subject to certain carve outs in relation
 to the Litigation Claims, as described further herein.

          The Released Parties include: (a) the Debtors and Reorganized Debtors; (b) Mercuria; (c) the DIP
 Agents and DIP Lenders, (d) the Prepetition Secured Credit Facility Agents and Prepetition Secured Credit
 Facility Lenders, (e) the Committee and the Committee Members; (f) the Consenting Unsecured
 Noteholders; (g) the Unsecured Notes Indenture Trustees; (h) AmEx; (i) each other party to the
 Restructuring Support Agreement; (j) with respect to each of the foregoing entities in clauses (a) through
 (i), each such Entity’s current and former predecessors, successors, Affiliates (regardless of whether such
 interests are held directly or indirectly), subsidiaries, direct and indirect equityholders, funds, portfolio
 companies, and management companies; (k) with respect to each of the foregoing Entities in clauses
 (a) through (h), each of their respective current and former members, employees, partners, managers,
 independent contractors, agents, representatives, principals, professionals, consultants, financial advisors,
 attorneys, accountants, investment bankers, and other professional advisors; and (l) with respect to each of
 the foregoing Entities in clauses (a) through (k), each of their respective current and former directors,
 officers, members, employees, partners, managers, independent contractors, agents, representatives,
 principals, professionals, consultants, financial advisors, attorneys, accountants, investment bankers, and
 other professional advisors; provided, however, that any party in interest that opts out of, Files an objection
 to, or otherwise does not consent to the releases in the Plan shall not be a “Released Party”; provided,
 further, however, that notwithstanding anything to the contrary herein, the scope of “Released Parties” shall
 be subject to the limitations set forth in Article IX.F of the Plan.

          The Releasing Parties include: (a) the Debtors and Reorganized Debtors; (b) Mercuria; (c) the DIP
 Agents and DIP Lenders, (d) the Prepetition Secured Credit Facility Agents and Prepetition Secured Credit
 Facility Lenders, (e) the Committee and the Committee Members; (f) the Consenting Unsecured
 Noteholders; (g) the Unsecured Notes Indenture Trustees; (h) AmEx; (i) each other party to the
 Restructuring Support Agreement; (j) with respect to each of the foregoing Entities in clauses (a) through
 (i), each such Entity’s current and former predecessors, successors, Affiliates (regardless of whether such
 interests are held directly or indirectly), subsidiaries, direct and indirect equityholders, funds, portfolio
 companies, and management companies; (k) with respect to each of the foregoing Entities in clauses
 (a) through (j), each of their respective current and former directors, officers, members, employees,


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 partners, managers, independent contractors, agents, representatives, principals, professionals, consultants,
 financial advisors, attorneys, accountants, investment bankers, and other professional advisors; (l) all
 Holders of Claims and Interests that vote to accept the Plan; (m) all Holders of Claims and Interests that
 vote to reject the Plan but do not elect to opt out of the Third Party Release; and (n) all Holders of Claims
 and Interests not described in the foregoing clauses (a) through (m); provided, however, that any such
 Holder of a Claim or Interest that opts out of, Files an objection to, or otherwise does not consent to the
 releases in the Plan shall not be a “Releasing Party”; provided, further, however, that notwithstanding
 anything to the contrary herein, the scope of “Releasing Parties” shall be subject to the limitations set forth
 in Article IX.F of the Plan.

          The Exculpated Parties include: (a) the Debtors and Reorganized Debtors; (b) Mercuria; (c) the
 DIP Agents and DIP Lenders, (d) the Prepetition Secured Credit Facility Agents and Prepetition Secured
 Credit Facility Lenders, (e) the Committee and the Committee Members; (f) AmEx; (g) the Unsecured
 Notes Indenture Trustees; (h) with respect to each of the foregoing entities in clauses (a)-(g) each such
 Entity’s current and former predecessors, successors, Affiliates (regardless of whether such interests are
 held directly or indirectly), subsidiaries, direct and indirect equityholders, funds, portfolio companies,
 management companies, each of their respective current and former members, employees, partners,
 managers, independent contractors, agents, representatives, principals, professionals, consultants, financial
 advisors, attorneys, accountants, investment bankers, and other professional advisors (each solely in their
 capacity as such); and (i) with respect to each of the foregoing entities in clauses (a)-(h), each such Entity’s
 current and former predecessors, successors, Affiliates (regardless of whether such interests are held
 directly or indirectly), subsidiaries, direct and indirect equityholders, funds, portfolio companies,
 management companies, each of their respective current and former directors, officers, members,
 employees, partners, managers, independent contractors, agents, representatives, principals, professionals,
 consultants, financial advisors, attorneys, accountants, investment bankers, and other professional advisors
 (each solely in their capacity as such); provided, however, that, notwithstanding anything to the contrary
 herein, the scope of “Exculpated Parties” shall be subject to the limitations set forth in Article IX.F of the
 Plan.

         Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan are
 necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
 Appeals for the Second Circuit. Moreover, the Debtors will present evidence at the Confirmation Hearing
 to demonstrate the basis for and propriety of the release and exculpation provisions. The release,
 exculpation, injunction, and related provisions that are contained in the Plan are copied in Article VII.C of
 this Disclosure Statement, entitled “Releases.”

         L.       What is the deadline to vote on the Plan?

         The Voting Deadline is March [19], 2019 at 4:00 p.m. prevailing Eastern Time.

         M.       How do I vote for or against the Plan?

         Detailed instructions regarding how to vote on the Plan are contained on the ballots distributed to
 Holders of Claims or Interests that are entitled to vote on the Plan. For your vote to be counted, your ballot,
 or a master ballot including your vote, must be properly completed, executed, and delivered as directed, so
 it is actually received by Epiq Corporate Restructuring, LLC, on or before the Voting Deadline,
 i.e., March [19], 2019 at 4:00 p.m. prevailing Eastern Time. See Article VIII of this Disclosure
 Statement, entitled “Solicitation and Voting.”




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         N.       What is the Litigation Trust Loan and can I participate in it?

         The Litigation Trust Loan is a commitment by the Litigation Trust Funders to provide $15 million
 of funding for the Litigation Trust to pursue collection of the Litigation Claims. The Litigation Trust Loan
 Funders will receive the Litigation Trust Funding Fee (i.e., $3 million, in the aggregate), as compensation
 for providing the Litigation Trust Loan. The repayment of the Litigation Trust Loan and the Litigation
 Trust Funding Fee to the Litigation Trust Loan Funders is first in priority from the proceeds of the Litigation
 Claims and before any distributions of such proceeds are made to the Litigation Trust Class A Units, as
 described further herein. Subject to certain limitations set forth in the Litigation Trust Documents, each
 Holder of an Allowed Aegean Unsecured Claim may participate in the Litigation Trust Loan if, prior to the
 Voting Deadline, such Holder indicates its intent to so participate by following the appropriate instructions
 on such Holder’s ballot and then, prior to the Confirmation Hearing, executes the Restructuring Support
 Agreement and otherwise joins and executes any applicable Litigation Trust Documents.

         O.       Why is the Bankruptcy Court holding a Confirmation Hearing?

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing on
 confirmation of the Plan and recognizes that any party in interest may object to Confirmation of the Plan.

         P.       When is the Confirmation Hearing set to occur?

         The Bankruptcy Court has scheduled the Confirmation Hearing for March [26], 2019 at [●] a.m.
 prevailing Eastern Time. The Confirmation Hearing may be adjourned from time to time without further
 notice.

          Objections to Confirmation must be filed and served on the Debtors, and certain other parties, by
 no later than March [19], 2019 at 4:00 p.m. prevailing Eastern Time in accordance with the notice of the
 Confirmation Hearing that accompanies this Disclosure Statement and the Disclosure Statement Order.

         Q.       What is the purpose of the Confirmation Hearing?

         The purpose of the Confirmation Hearing is to assess whether the Plan complies with each required
 provision of the Bankruptcy Code. If approved, the confirmation of a plan of reorganization by a
 bankruptcy court binds the debtor, any issuer of securities under a plan of reorganization, any person
 acquiring property under a plan of reorganization, any creditor or equity interest holder of a debtor, and any
 other person or entity as may be ordered by the bankruptcy court in accordance with the applicable
 provisions of the Bankruptcy Code. Subject to certain limited exceptions, the order issued by the
 bankruptcy court confirming a plan of reorganization discharges a debtor from any debt that arose before
 the confirmation of such plan of reorganization and provides for the treatment of such debt in accordance
 with the terms of the confirmed plan of reorganization.

         R.       Who do I contact if I have additional questions with respect to this Disclosure
                  Statement or the Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the
 Debtors’ Notice and Claims Agent, Epiq Corporate Restructuring, LLC, via one of the following methods:

                  By regular mail at:
                  Epiq Corporate Restructuring, LLC
                  Re: Aegean Marine Petroleum Network Inc., et al.
                  P.O. Box 4422


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                  Beaverton, OR 97076-4422

                  By hand delivery or overnight mail at:
                  Epiq Corporate Restructuring, LLC
                  Re: Aegean Marine Petroleum Network Inc., et al.
                  10300 SW Allen Boulevard
                  Beaverton, OR 97005

                  By electronic mail at:
                  tabulation@epiqglobal.com
                  Note: Please reference “Aegean” within the subject line of your electronic mail.

                  By telephone at:
                  (888) 418-0324 (toll free)
                  (503) 520-4423 (International)

         Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in the Chapter
 11 Cases are available upon written request to the Debtors’ Notice and Claims Agent, Epiq Corporate
 Restructuring, LLC at the address above or by downloading the exhibits and documents from the website
 of the Notice and Claims Agent at https://dm.epiq11.com/Aegean (free of charge) or the Bankruptcy
 Court’s website at https://ecf.nysb.uscourts.gov (for a fee).

         S.       Do the Debtors recommend voting in favor of the Plan?

          Yes. The Debtors believe that the Plan provides for a larger distribution to the Debtors’ creditors
 than would otherwise result from any other available alternative. The Debtors believe that the Plan is in
 the best interest of all Holders of Claims or Interests, and that any other alternatives (to the extent they
 exist) fail to realize or recognize the value inherent under the Plan.

 IV.     BUSINESS DESCRIPTION AND BACKGROUND TO THE CHAPTER 11 CASES

         A.       Corporate History and General Background

           Aegean was incorporated as a Marshall Islands holding company under the Marshall Islands
 Business Corporations Act in June 2005. On December 13, 2006, Aegean executed an initial public offering
 of common stock and listed on the New York Stock Exchange under the ticker “ANW.” Since 2006, the
 Debtors and their non-Debtor affiliates (collectively, “Aegean Marine”) have expanded their global reach,
 and today operate as one of the world’s largest physical suppliers of marine fuel with a sizable, modern
 fleet of bunkering vessels, storage facilities/terminals, and service centers dedicated to bunkering operations
 around the globe.

         Aegean Marine maintains offices around the world in the various markets where they conduct
 physical supply operations. Aegean Marine’s corporate offices are located in Athens, Greece, where the
 company oversees certain corporate, financial and accounting, marketing, sales, and ship-management
 functions, and New York, New York, where the company oversees corporate, financial and accounting,
 marketing, sales and other functions for its U.S. operations. Aegean Marine maintains station-level offices
 in various countries and cities around the world where the company conducts local bunkering operations.
 Aegean Marine’s offices are generally leased, except for owned office space in Kingston, Jamaica.




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         B.        Business Operations

         Aegean Marine’s core business is the physical supply of marine fuel (known as “bunkers”) to many
 types of vessels, including: container ships, dry bulk carriers, cruise ships, oil tankers, and ferries.
 Vessel-to-vessel delivery is accomplished via a specialized “bunkering” tanker or barge that delivers
 bunkers directly to a recipient vessel, in port, at sea, on rivers or other waterways.

         As set forth in the illustrative corporate structure chart attached hereto as Exhibit B, Aegean is the
 ultimate parent company of each Debtor in these chapter 11 cases. The remaining Debtors and non-Debtors
 can be grouped into four main categories: bunkering operations; management; marketing and
 administrative; and vessel-owning entities.

         •    Bunkering Operations. Aegean Marine principally transacts bunkering operations through
              Debtor Aegean Marine Petroleum S.A. (“AMPSA”) and Debtor Aegean Bunkering (USA)
              LLC (“ABUSA”) and operate locally in various jurisdictions through Debtor and non-Debtor
              direct or indirect subsidiaries. Non-Debtor entities Aegean NEW N.V., OBAST Bunkering &
              Trading GmbH, and Aegean Bunkering Germany GmbH conduct the company’s operations in
              the ARA Region (as defined below) and Germany.

         •    Ship Management. Aegean Marine provides for the management of bunkering vessels
              through: (a) Aegean Bunkering Services Inc. (“ABS”) for vessels operating outside Greek
              territorial waters and (b) Aegean Management Services M.C., (“AMS”) for vessels operating
              within Greek territorial waters.

         •    Marketing and Administrative Services. Aegean Marine provides general marketing and
              administrative services for bunkering operations through Aegean Oil (USA), LLC and AMPN
              USA, LLC.

         •    Vessel-Owning Entities. Numerous vessel-owning entities are direct or indirect subsidiaries of
              Aegean Shipholdings Inc. and one vessel-owning entity is an indirect subsidiary of Aegean
              Holdings S.A.

                   1.        Vessels and Ship Management

         As a physical supplier, Aegean Marine purchases bunkers on the spot market or pursuant to supply
 contracts, takes possession of the inventory for a limited period of time, ultimately reselling and delivering
 bunkers directly to customers. To deliver bunkers, Aegean Marine operates a large, modern fleet of
 bunkering vessels of diverse sizes and types, ranging from inland waterway tankers and barges to
 ocean-going offshore bunkering tankers. As of the Petition Date, Aegean Marine owned 41 vessels (the
 “Owned Vessels”), with an aggregate capacity of 316,778 deadweight tonnage (“dwt”).7 The Owned
 Vessels are comprised of 37 double hull bunkering tankers, three double hull bunkering barges, and one
 single hull tanker. In certain regions, specifically the ARA Region (as defined below) and Germany,
 Aegean Marine supplements its owned fleet by chartering-in additional vessels. In the U.S., Aegean Marine
 contracts with third-party barge operators to deliver bunkers. As of the Petition Date, Aegean Marine
 chartered-in 12 double hull bunkering tankers, three double hull in-land waterway bunkering tankers, and
 one bunkering barge, having an aggregate capacity of 58,219 dwt (the “Charter-In Vessels”).



 7
     Deadweight tonnage is a measure of the carrying capacity of a vessel.



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          Aegean Marine typically enters into an intragroup management agreement between the corporate
 entity that owns the Owned Vessel and either ABS or AMS, to provide for the management of a vessel.
 ABS provides management services for Owned Vessels and Charter-In Vessels in territorial waters outside
 of Greece and AMS provides management safety services for Owned Vessels operating in Greek territorial
 waters. The ABS intragroup management agreement typically provides that ABS assume the technical
 management and the provision of services for the vessel for purposes of the International Safety
 Management Code. In return for the services they provide, ABS and AMS are paid a flat monthly
 management fee which steps up annually over the life of the agreement.

                   2.        Storage Facilities

         To assist with bunkering operations, Aegean Marine utilizes 13 land-based storage facilities where
 the company stores marine fuel in terminals to supply bunkering operations, with an aggregate storage
 capacity of over 1,000,000 cubic meters. The storage facilities, the majority of which are leased, are located
 in the U.S., Morocco, the Canary Islands, Germany, and the United Arab Emirates, and have a storage
 capacity of approximately 350,000, 218,000, 65,000, 33,000, and 465,000 cubic meters, respectively.

                   3.        Physical Supply Locations

          Aegean Marine’s bunkering operations are coordinated through AMPSA and ABUSA, who are
 typically the Debtor counterparties to customer supply contracts and are the entities that procure the
 appropriate grade of bunker fuel from a supplier. Non-Debtor entities Aegean NEW N.V., OBAST
 Bunkering & Trading GmbH, and Aegean Bunkering Germany GmbH conduct the company’s operations
 in the ARA Region (as defined below) and Germany. The specific process of delivering bunkers to an end
 customer is generally managed at the station-level in a specific jurisdiction. As of the Petition Date, Aegean
 Marine conducts bunkering operations in the following locations.

         •    Germany. Aegean Marine operates three double hull bunkering tankers in Germany’s Baltic
              Sea and other North Sea ports and have access to approximately 33,000 cubic meters of onshore
              storage capacity. Bunkering operations are supported from offices in Hamburg and Rostock,
              which the company leases.

         •    Gibraltar/Morocco. Aegean Marine operates three double hull bunkering tankers in and
              around Gibraltar and store fuel at a storage facility with a capacity of 218,000 cubic meters,
              near the port of Tanger-Med in Tangiers, Morocco. Bunkering operations are supported from
              an office in Gibraltar, which the company leases.

         •    Greece. Aegean Marine charters-out numerous bunkering tankers and a floating storage
              facility to Aegean Oil S.A., which operates in Piraeus, Patras, and other parts of Greece.
              Bunkering operations are supported from an office in Athens, which the company leases.8

         •    Gulf of Mexico. Aegean Marine operates two double hull bunkering tankers in U.S. territorial
              waters and international waters in the Gulf of Mexico, supported by the Company’s New York,
              New York office, which the company leases.




 8
     Upon information and belief, Aegean Oil S.A. is owned and controlled by relatives of Mr. Dimitris Melisanidis, the founder
     and former majority shareholder of Aegean Marine. As of the Petition Date, Mr. Melisanidis had no known equity holdings
     in Aegean.



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         •   Las Palmas and Tenerife. Aegean Marine operates two double hull bunkering tankers in Las
             Palmas and own the Shell Las Palmas terminal, a 20,000 square meter facility that includes a
             lubricants plant, a 65,000 metric ton storage facility and on-site blending facilities to mix all
             grades of fuel oils and distillates. Bunkering operations are supported from an office in Las
             Palmas, which the company leases.

         •   Northern Europe and the Amsterdam-Rotterdam-Antwerp Region (“ARA Region”).
             Aegean Marine operates 12 double hull bunkering tankers both offshore and in numerous ports
             throughout Northern Europe, including the North Sea, Irish Sea (and St. George’s Channel),
             the French Atlantic, the English Channel, Ghent, and throughout the ARA Region. Bunkering
             operations are supported from an office near Antwerp, which the company leases.

         •   South Africa. Aegean Marine operates three double hull bunkering tankers and one floating
             storage facility near Port Elizabeth, South Africa. Bunkering operations are supported from an
             office in Port Elizabeth, which the company leases.

         •   Trinidad and Tobago. Aegean Marine operates two double hull bunkering tankers in the area
             of Port of Spain in Trinidad and Tobago. Bunkering operations are supported from an office
             in Port of Spain, which the company leases.

         •   United Arab Emirates. Aegean Marine charters-out two double hull bunkering tankers in the
             port of Fujairah region and store fuel in a storage facility with a capacity of 465,000 cubic
             meters in the port of Fujairah. Bunkering operations were historically supported from offices
             in Fujairah and Khor Fakken, which the company leased.

         •   U.S. East Coast. Aegean Marine operates in the ports of New York, Philadelphia, Baltimore,
             Norfolk, Savannah, and Charleston and have access to approximately 300,000 cubic meters of
             leased tank storage to conduct operations. Bunkering operations are supported from an office
             in New York, New York, which the company leases.

         •   U.S. Virgin Islands. Aegean Marine operates a service center in St. Croix, U.S. Virgin Islands
             pursuant to a cooperation agreement with Caribbean Bunkers LLC, a subsidiary of Freepoint
             Commodities LLC (“Freepoint”), which allows the company to market marine petroleum
             products supplied by Freepoint to customers calling on the Limetree Bay terminal in St. Croix.

         •   U.S. West Coast. Aegean Marine operates in the ports of Los Angeles and Long Beach and
             have access to approximately 50,000 cubic meters of leased tank storage to conduct operations.
             Bunkering operations are supported from an office in Los Angeles, California, which the
             company leases.

         •   Vancouver, Canada. Aegean Marine operates two double hull non self-propelled bunkering
             barges in the Port of Vancouver, British Columbia. Bunkering operations are supported from
             an office in Vancouver, British Columbia, which the company leases.

                 4.      Charter-Out Operations

         Aegean Marine also generates revenue by chartering certain Owned Vessels to third parties. These
 revenues, and the associated costs of chartering are recognized over the duration of the charter. As of the
 Petition Date, 15 Owned Vessels were chartered to third parties on a time-charter basis and one Owned
 Vessel was chartered on a voyage basis.


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         C.      Employees

          As of the Petition Date, Aegean Marine employed approximately 850 employees in more than 20
 countries across the globe, including 507 employees offshore that are involved in the day-to-day operations
 of the company’s vessels and approximately 342 employees onshore that support the company’s
 enterprise-wide operations. The company’s employees have unique skills, knowledge, and an
 understanding of operations and infrastructure, which are essential to preserving operational stability and
 efficiency.

         Certain of Aegean Marine’s offshore employees are residents of nations with
 government-mandated collective bargaining (i.e., the Republic of the Philippines, Greece, Romania, and
 Russia), which require the utilization of pre-approved employment contracts that typically have a term of
 four to six months. Certain of Aegean Marine’s onshore employees in six countries—Greece, Africa,
 Brazil, Canada, the Canary Islands, and Gibraltar—are subject to collective bargaining agreements
 mandated by law. The Debtors have no defined benefit pension plans. Certain of Aegean Marine’s
 employees operate or have generated information in countries or regions with heightened privacy laws,
 some of which are relatively untested.

         D.      Senior Management

       Set forth below are the names, position(s) and biographical information of members of senior
 management who oversee the business and Aegean Marine’s affairs as of the Petition Date.

         Kostas Polydakis, Chief Operating Officer. Mr. Polydakis has more than 20 years of experience
 in the shipping industry, including nearly 12 years at the Company. Prior to his appointment as Chief
 Operating Officer in August 2018, Mr. Polydakis served as Managing Director of Shipping, a role in which
 he oversaw the creation and growth of the company’s shipping division. In that role, Mr. Polydakis
 completed over 40 sale and purchase transactions and multiple newbuilding projects and successfully
 reduced fleet operating expenses. In Mr. Polydakis’s previous positions as Technical Manager and Deputy
 General Manager of the company’s Bunkering Services division from 2006 to 2017, Mr. Polydakis was
 responsible for the performance and day-to-day operations of all division departments.

         John G. Mystakidis, Interim Chief Financial Officer. Mr. Mystakidis has more than 25 years of
 experience in financial reporting, financial management and auditing, and has supported and advised clients
 with significant cross-border presences and foreign operations. During 11 years at Ernst & Young, Mr.
 Mystakidis acted as Lead Partner to multiple large Greek and multinational companies, helping them to
 address and resolve critical financial issues. In May 2018, Mr. Mystakidis began serving as a full-time
 consultant to the company and was appointed Chief Financial Officer in August 2018. Prior to Ernst &
 Young, Mr. Mystakidis was an Assurance and Business Advisory Partner at Arthur Andersen, where he
 supervised audits and due diligence reviews for a number of Greek and multinational clients.

          Salvatore Drago, Global Director of Supply and Trading. Mr. Drago has over 25 years of
 experience trading fuel oil, feedstock and fuel blending components for key global bunkering locations.
 Mr. Drago previously served as Global Director of Supply and Trading, the position to which he recently
 returned, leading the company’s arbitrage cargo movements, fuel oil blending and risk management efforts.
 Previously, Mr. Drago spent nine years at Hess Corporation, where he was Managing Director, Fuel Oil
 and Feedstock Trading. At Hess, Mr. Drago led the company’s transition from a fuel oil wholesaler to a
 fully integrated supply and trading organization, with retail bunkering operations in five U.S. ports.

        Spyridon Fokas, General Counsel. Mr. Fokas has served as the General Counsel since June 2005.
 Mr. Fokas has been practicing maritime law since 1982 and began representing Aegean Marine in 1998.


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 Mr. Fokas is a member of the Greek Maritime Law Association and the Hellenic Society of Maritime
 Lawyers. Mr. Fokas holds a law degree from the University of Athens School of Law and has undertaken
 post-graduate studies in shipping law at the University College London.

         E.      Aegean Board of Directors

         As of the date of this Disclosure Statement, the following persons comprise the board of directors
 of Aegean Marine Petroleum Network Inc.: Donald Moore (Chairman of the Board); Tyler Baron
 (Director); Raymond Bartoszek (Director); Spyridon Fokas (Director); George J. Konomos (Director);
 Konstantinos Koutsomitopoulos (Director); Yannis N. Papanicolaou (Director); and David Gallagher
 (Director).

         F.      Prepetition Capital Structure

        As of the Petition Date, the Debtors were liable for approximately $855 million in aggregate funded
 debt. The Debtors’ prepetition capital structure is summarized as follows:

                       Indebtedness                            Balance Outstanding as of Petition Date
  Global Credit Facility                                                                        $249,569,260
  U.S. Credit Facility                                                                          $131,338,116
  2017 Secured Term Loan                                                                         $13,500,000
  2017 South Africa Secured Term Loan                                                             $5,984,585
  2015 Fujairah Secured Term Loan                                                                $90,335,430
  2008 Newbuilding Secured Term Loan                                                             $18,717,000
  2007 Newbuilding Secured Term Loan                                                              $9,158,800
  First 2006 Newbuilding Secured Term Loan                                                       $33,459,740
  Second 2006 Newbuilding Secured Term Loan                                                       $6,564,028
  Third 2006 Newbuilding Secured Term Loan                                                       $12,200,500
  2005 Newbuilding Secured Term Loan                                                             $11,670,000
  2018 Barge Secured Term Loan                                                                    $5,000,000
  4.00% Convertible Unsecured Notes due 2018                                                     $94,550,000
  4.25% Convertible Unsecured Notes due 2021                                                    $172,500,000
                                             TOTAL                                              $854,547,459

 These obligations are generally summarized below:

                 1.       Working Capital Credit Facilities

                                  Global Credit Facility

          As of the Petition Date, the Debtors had a total of $249,569,260 aggregate principal amount
 outstanding, including letters of credit, under that certain Facility Agreement for a Borrowing Base Facility,
 dated as of November 30, 2017 (as amended, restated, modified, or supplemented from time to time), by
 and among Aegean Marine Petroleum S.A., Aegean Petroleum International Inc., Aegean NWE N.V.,
 Aegean Bunkering Germany GmbH, OBAST Bunkering & Trading GmbH and Aegean Petroleum Uruguay
 S.A., as co-borrowers and guarantors, Aegean, as guarantor, ABN AMRO Bank N.V., as arranger,
 documentation bank, facility agent, collateral management agent, security agent, and certain financial
 institutions, as lender, issuing banks, and overdraft banks thereto (the “Global Credit Facility”).
 Borrowings under the Global Credit Facility will mature, and lending commitments thereunder will
 terminate on, November 30, 2020, and all obligations and the guarantees of those obligations are secured
 by a first priority lien on certain assets of each co-borrower that make up the borrowing base assets,
 including certain inventory, receivables and goods as well as the assignment of documents and agreements

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 and pledge of certain accounts of the co-borrowers. In August 2018, Mercuria Energy Trading S.A. became
 the sole lender under the Global Credit Facility. Pursuant to the Final Order (as defined below), all
 obligations and amounts owing under the Global Credit Facility have been rolled up into the DIP Facilities
 on a final basis.

                                    U.S. Credit Facility

         As of the Petition Date, the Debtors had a total of $131,688,116 aggregate principal amount
 outstanding, including letters of credit, under that certain Second Amended and Restated Security
 Uncommitted Credit Agreement, dated as of August 3, 2017 (as amended, restated, modified, or
 supplemented from time to time), by and among Aegean Bunkering (USA) LLC, as borrower, ABN AMRO
 Capital USA, as administrative agent, collateral agent, syndication agent, and the lender thereto (the “U.S.
 Credit Facility”). Borrowings under the U.S. Credit Facility would have matured on November 8, 2018.
 All obligations under the U.S. Credit Facility are secured by a first priority lien on all of the assets of Aegean
 Bunkering (USA) LLC as well as a pledge of 100 percent of the equity of Aegean Bunkering (USA) LLC
 owned by its parent, AMPNI Holdings Co. Limited. In August 2018, Mercuria US Asset Holdings, LLC
 became the sole lender under the U.S. Credit Facility. Pursuant to the Final Order (as defined below), all
 obligations and amounts owing under the U.S. Credit Facility have been rolled up into the DIP Facilities
 on a final basis.

                  2.       Secured Term Loans

                                    2017 Secured Term Loan

         As of the Petition Date, the Debtors had a total of $13,500,000 aggregate principal outstanding
 under that certain Loan Agreement, dated as of November 30, 2017 (as amended, restated, modified, or
 supplemented from time to time), by and among Aegean Bunkering Services Inc., as borrower, Aegean,
 Amorgos Maritime Inc., Kimolos Maritime Inc., Milos Shipping (Pte.) Ltd., Mykonos I Maritime Limited
 and Tinos Marine Inc., as co-guarantors, and Piraeus Bank S.A., as lender (the “2017 Secured Term Loan”).
 The 2017 Secured Term Loan matures on November 30, 2022, and all obligations under the 2017 Secured
 Term Loan are secured by a first priority mortgage on certain vessels—Amorgos, Kimolos, Milos, Mykonos
 and Syros—as well as a pledge of certain earning and retention accounts.

                                    2017 South Africa Secured Term Loan

          As of the Petition Date, the Debtors had a total of $5,984,585 aggregate principal outstanding under
 that certain Loan Agreement, dated as of November 20, 2017 (as amended, restated, modified, or
 supplemented from time to time), by and among Aegean Bunkering Services Inc. and Nevado Navigation
 S.A., as co-borrowers, Aegean, Aegean Management Services M.C., Aegean Ship III Maritime Company,
 Aegean Ship VIII Maritime Company, Aegean Ace Maritime Company and Aegean Tanking S.A., as
 co-guarantors, and Piraeus Bank S.A., as lender (the “2017 South Africa Secured Term Loan”). The 2017
 South Africa Secured Term Loan matures three years from the Drawdown Date (as that term is defined in
 the 2017 South Africa Secured Term Loan Agreement), and all obligations under the 2017 South Africa
 Secured Term Loan are secured by a first priority mortgage on certain vessels—Aegean III, Aegean VIII,
 Aegean Ace, and Umnenga I—as well as a pledge of certain earnings accounts and specific assignments of
 charterparty documents.

                                    2015 Fujairah Secured Term Loan

         As of the Petition Date, the Debtors had a total of $90,335,430 aggregate principal outstanding
 under that certain Term Loan Facility Agreement, dated as of October 7, 2015 (as amended, restated,


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 modified, or supplemented from time to time), by and among Aegean Oil Terminal Corporation, as
 borrower, Aegean, as guarantor, United Arab Bank P.J.S.C., as agent, security agent and lender thereto (the
 “2015 Fujairah Secured Term Loan”). The 2015 Fujairah Secured Term Loan matures on September 30,
 2023, and all obligations under the 2015 Fujairah Term Loan Facility are secured by substantially all of the
 assets of Aegean Oil Terminal Corporation.

                                  2008 Newbuilding Secured Term Loan

           As of the Petition Date, the Debtors had a total of $18,717,000 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of April 24, 2008 (as amended, restated, modified,
 or supplemented from time to time), by and among Kassos Navigation S.A., Symi Navigation S.A., Halki
 Navigation S.A. and Tilos Shipping (PTE.) LTD., as co-borrowers, Aegean and Aegean Shipholdings Inc.,
 as co-guarantors, Aegean Baltic Bank S.A., as arranger, agent, security agent, account bank, and lender
 thereto (the “2008 Newbuilding Secured Term Loan”). The 2008 Newbuilding Secured Term Loan matures
 on June 30, 2020, and all obligations under the 2008 Newbuilding Secured Term Loan are secured by a
 first priority mortgage on certain vessels—Kassos, Tilos, Halki, and Symi— as well as a pledge of certain
 operating accounts and assignments of certain contracts and refund guarantees.

                                  2007 Newbuilding Secured Term Loan

           As of the Petition Date, the Debtors had a total of $9,158,800 million aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of July 5, 2007 (as amended, restated, modified,
 or supplemented from time to time), by and among Andros Marine Inc., Dilos Marine Inc., Ios Shipping
 Ltd, Sifnos Marine Inc. and Aegean VII Shipping Ltd., as co-borrowers, Aegean, as guarantor, and Orix
 Investment and Management Private Ltd., as lender thereto (the “2007 Newbuilding Secured Term Loan”).
 The 2007 Newbuilding Secured Term Loan matures in part on February 3, 2020, May 4, 2020 and
 September 7, 2020, and all obligations under the 2007 Newbuilding Secured Term Loan are secured by a
 first priority mortgage on certain vessels—Andros, Dilos, Ios I, Anafi and Sikinos—as well as a pledge of
 certain operating accounts, and assignments of certain contracts and refund guarantees.

                                  First 2006 Newbuilding Secured Term Loan

          As of the Petition Date, the Debtors had a total of $33,459,740 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of October 1, 2006 (as amended, restated,
 modified, or supplemented from time to time), by and among Kerkyra Marine S.A., Ithaki Marine S.A.,
 Cephallonia Marine S.A., Paxoi Marine S.A., Zakynthos Marine S.A., Ios Marine Inc. and Kythira Marine
 S.A., as co-borrowers, Aegean, Aegean Shipholdings Inc., Aegean Breeze Maritime Company and Aegean
 Tiffany Maritime Company, as co-guarantors, Aegean Baltic Bank S.A., as arranger, agent, security agent,
 account bank, and lender thereto (the “First 2006 Newbuilding Secured Term Loan”). The First 2006
 Newbuilding Secured Term Loan matures on December 31, 2019, and all obligations under the First 2006
 Newbuilding Secured Term Loan are secured by a first priority mortgage on certain vessels—Kerkyra,
 Ithaki, Kefalonia, Paxoi, Zakynthos, Lefkas, Kythira, Aegean Tiffany, and Aegean Breeze—as well as a
 pledge of certain operating accounts, and assignments of certain contracts and refund guarantees.

                                  Second 2006 Newbuilding Secured Term Loan

         As of the Petition Date, the Debtors had a total of $6,564,028 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of October 27, 2006 (as amended, restated,
 modified, or supplemented from time to time), by and among Tasman Seaways Inc. and Santon Limited,
 as co-borrowers, Aegean and Aegean Bunkering Services Inc., as co-guarantors, and the National Bank of
 Greece S.A., as lender thereto (the “Second 2006 Newbuilding Secured Term Loan”). The Second 2006


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 Newbuilding Secured Term Loan matures in part on November 30, 2018 and April 30, 2020, and all
 obligations under the Second 2006 Newbuilding Secured Term Loan are secured by a first priority mortgage
 on certain vessels—Kalymnos and Leros—as well as certain operating account pledges, and assignments
 of certain contracts and refund guarantees.

                                 Third 2006 Newbuilding Secured Term Loan

          As of the Petition Date, the Debtors had a total of $12,200,500 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of October 25, 2006 (as amended, restated,
 modified, or supplemented from time to time), by and among Eton Marine LTD., Benmore Services S.A.
 and Ingram Enterprises Co., as co-borrowers, Aegean, Aegean Shipholdings Inc. and Sealand Navigation
 Inc., as co-guarantors, and Aegean Baltic Bank S.A. as arranger, agent, security agent, account bank, and
 lender thereto (the “Third 2006 Newbuilding Secured Term Loan”). The Third 2006 Newbuilding Secured
 Term Loan matures on December 31, 2019, and all obligations under the Third 2006 Newbuilding Secured
 Term Loan are secured by a first priority mortgage on certain vessels—Patmos, Nisyros, Karpathos—as
 well as certain operating account pledges, and assignments of certain contracts and refund guarantees.

                                 2005 Newbuilding Secured Term Loan

          As of the Petition Date, the Debtors had a total of $11,670,000 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of August 30, 2005 (as amended, restated,
 modified, or supplemented from time to time), by and among Kithnos Maritime Inc., Lefkas Marine S.A.,
 Paros Maritime Inc., Santorini I Maritime Limited and Serifos Shipping (Pte.) Ltd., as co-borrowers,
 Aegean, Aegean Shipholdings Inc., Aegean Bunkering Services Inc. and Tempest Shiptrade Ltd., as
 co-guarantors, and Aegean Baltic Bank S.A. as arranger, agent, security agent, account bank, and lender
 thereto (the “2005 Newbuilding Secured Term Loan”). The 2005 Newbuilding Secured Term Loan matures
 on January 7, 2019, and all obligations under the Third 2005 Newbuilding Secured Term Loan are secured
 by a first priority mortgage on certain vessels—Kithnos, Naxos, Paros I, Santorini and Serifos—as well as
 certain operating account pledges, and assignments of certain contracts and refund guarantees.

                                 2018 Barge Secured Term Loan

         As of the Petition Date, the Debtors had a total of $5,000,000 aggregate principal amount
 outstanding under that certain Loan Agreement, dated as of September 7, 2018 (as amended, restated,
 modified, or supplemented from time to time), by and among AMPSA, as borrower, Aegean and I.C.S.
 Petroleum Limited, as co-guarantors, and Mercuria Energy Trading S.A., as lender thereto (the “2018 Barge
 Secured Term Loan”). The 2018 Barge Secured Loan matures on January 31, 2019, and all obligations
 under the 2018 Barge Secured Term Loan are secured by a first priority mortgage on certain vessels—PT22
 and PT40.

                 3.      Unsecured Convertible Notes

                                 4.00% Unsecured Convertible Notes due 2018

         As of the Petition Date, Aegean had approximately $94,550,000 principal amount outstanding
 4.00% convertible senior unsecured notes due 2018, issued pursuant to that certain Senior Indenture, dated
 as of October 23, 2013 (as amended, restated, modified, or supplemented from time to time), by and among
 Aegean Marine, as issuer, and Deutsche Bank Trust Company Americas, as trustee (the “4.00% Unsecured
 Convertible Notes”). The 4.00% Unsecured Convertible Notes matured on November 1, 2018 and require
 semi-annual coupon payments at an interest rate of 4.00% per year.



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                                  4.25% Unsecured Convertible Notes due 2021

        As of the Petition Date, Aegean had approximately $172,500,000 principal amount outstanding
 4.25% convertible senior unsecured notes due 2021, issued pursuant to that certain Indenture, dated as of
 December 19, 2016 (as amended, restated, modified, or supplemented from time to time), by and among
 Aegean Marine, as issuer, and U.S. Bank National Association, as trustee (the “4.25% Unsecured
 Convertible Notes”). The 4.25% Unsecured Convertible Notes mature on December 15, 2021 and require
 semi-annual coupon payments at an interest rate of 4.25% per year.

                 4.       Aegean’s Publicly-Trade Common Stock

          As of Petition Date, Aegean had approximately 58.19 million shares of common stock, par value
 $0.01, issued and outstanding. Aegean’s common stock trades on the NYSE under the ticker “ANW.” As
 of the Petition Date, approximately 30 percent of Aegean’s outstanding common stock was held by
 Mercuria Asset Holdings (Hong Kong) Limited.

 V.      EVENTS LEADING TO THE CHAPTER 11 CASES

         A confluence of factors contributed to the Debtors’ need to commence these chapter 11 cases.
 These factors included rising oil prices, limited liquidity after lenders under the Global Credit Facility and
 U.S. Credit Facility reduced the borrowing limits under each facility and imposed other conditions further
 limiting borrowing capacity, changes in trade terms provided by certain fuel vendors, the Debtors’ failure
 to timely file audited financial statements, and the June 4, 2018 announcement that approximately $200
 million of account receivables may be written off because the underlying transactions were likely without
 economic substance.

         A.      Prepetition Challenges

         Beginning in the third quarter and continuing through the fourth quarter of 2017, the Debtors’
 operational and financial performance began to deteriorate, with a sharp decline in bunker sales volumes,
 operating losses, and negative EBITDA. Operationally, the Debtors’ struggles resulted from increased
 competition in certain supply markets which decreased sales volumes and compressed margins.
 Financially, the Debtors’ results were hampered by certain non-recurring expense charges resulting from
 the wind down of physical supply operations in certain jurisdictions and $12 million in losses on hedging
 contracts as oil prices climbed higher in late 2017. Results in the first quarter of 2018 remained in a
 depressed but steady state compared to the fourth quarter of 2017, as industry competition persisted which
 forced the Debtors to restrain sales volumes in ports and business lines with lower profit margins.

         On February 20, 2018, the Debtors announced the proposed acquisition of all outstanding shares
 of H.E.C. Europe Limited (“H.E.C.”) from the shareholders of H.E.C. for aggregate consideration of
 approximately $367 million, including the assumption of certain debt. The Debtors proposed to fund the
 H.E.C. acquisition via the issuance of 20 million newly issued shares of Aegean common stock, cash, an
 unsecured note, and certain accounts receivable that were not included as collateral under either the Global
 Credit Facility or the U.S. Credit Facility. The significant dilution resulting from the to-be-issued common
 stock caused Aegean’s common stock to drop close to 40 percent on the day the Debtors’ announced the
 H.E.C. acquisition. The announcement of the H.E.C. acquisition also raised concerns among the Debtors’
 lenders regarding the genesis of the accounts receivable not included as collateral under with the Global
 Credit Facility or U.S. Credit Facility.

      In a letter dated February 28, 2018, the Debtors requested that ABN AMRO Bank N.V. (“ABN
 AMRO”), the agent under the Global Credit Facility, and the lenders thereto (the “Global Credit Facility


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 Lenders”) consent and agree to the H.E.C. acquisition and waive certain provisions under the relevant
 financing agreement and financing documents related to the Global Credit Facility so that the Debtors could
 pursue the proposed H.E.C. acquisition. In a separate letter on the same date, the Debtors also sought the
 waiver and consent of ABN AMRO and the Global Credit Facility Lenders regarding the Debtors’ breach
 of the interest coverage ratio under the Global Credit Facility. ABN AMRO responded to the Debtors’
 letters on March 6, 2018, and notified the Debtors that they were also in breach of various covenants
 requiring the timely delivery of financial statements, a default that, together with the default under the
 interest rate coverage ratio, would be temporarily waived if the Debtors agreed to certain conditions,
 including a reduction of borrowing base availability under the Global Credit Facility and delivery of daily
 reporting regarding the Debtors’ borrowings, among other things, and setting a March 16, 2018 deadline
 by which the Debtors must fully remedy such defaults.9

          The reduction of available borrowings under the Global Credit Facility constrained the Debtors’
 ability to operate efficiently because the Debtors lacked sufficient liquidity to purchase enough fuel to
 achieve breakeven levels, given its fixed costs, and to satisfy customer orders at a time when fuel prices
 were increasing.

          During the same time period, certain fuel suppliers that had previously provided open credit to the
 Debtors began requesting that the Debtors post a letter of credit or even prepay when purchasing fuel; an
 impossible request given the Debtors’ lack of liquidity. Concerns about the Debtors’ credit quality
 continued to gain traction in the marketplace when certain credit insurance companies serving the marine
 fuels space cancelled their coverage of receivables from the Debtors due to Aegean’s inability to file audited
 financials, which was reported to the SEC on April 30, 2018. This contagion also spread to Aegean
 Marine’s customer base, as inquiries to quote and purchase bunkers dropped precipitously during May
 2018. Some customers communicated that they would delay further purchases from the Debtors until the
 company demonstrated more stability, while others reported having been notified by their banks that the
 company was in distress. These issues had a cascading effect on the Global Credit Facility, eroding
 borrowing availability first via reduced fuel inventory levels and later by reduced accounts receivable,
 which in turn reduced the overall value of the borrowing base and eliminated the Debtors’ ability to secure
 letters of credit to purchase fuel. As volumes fell, gross profit could not cover fixed costs leading to
 negative free cash flow. While accounts receivable were converting to cash, this cash was consumed by
 operating costs such that less liquidity was available to procure additional fuel. The lack of liquidity was
 exacerbated by the burden of professional fees related to the Debtors’ advisors and those of the lenders
 under the Global Credit Facility.

         Then, on June 4, 2018, the Debtors disclosed that $200 million of accounts receivable would likely
 be written off because the underlying transactions were likely without economic substance, causing
 Aegean’s common stock to close down approximately 75 percent that day. Following this disclosure, the
 Debtors experienced additional deterioration in customer activity. But even when the Debtors had customer
 orders to satisfy, the Debtors often, as noted above, lacked sufficient liquidity to procure fuel for delivery.




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     On March 8, 2018, RBM Holdings LLC (“RBM”) filed a complaint in the United States District Court for the Southern District
     of New York, seeking, among other things, preliminary and final injunctive relief to enjoin Aegean from entering into the
     H.E.C. acquisition. RBM’s members were Tyler Baron, Justin Moore, and August Roth. Aegean and RBM reached a
     settlement in April 2018 that resulted in the appointment of three new independent members of the board of directors (the
     “New Independent Directors” as defined and used herein), agreements regarding the composition of certain committees of the
     board of directors, and other agreements in exchange for the voluntary dismissal of RBM’s complaint. Prior to the settlement,
     on March 27, 2018, Aegean announced that all necessary approvals to consummate the H.E.C. acquisition had not been
     satisfied or waived and thus the H.E.C. acquisition was terminated in accordance with its terms.



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 In fact, on multiple business days during June 2018, the company had zero borrowing base availability and
 thus no liquidity, causing fuel inventories in certain critical supply hubs to virtually run dry.

           Further exacerbating matters, the Debtors and their advisors had to negotiate daily with the
 syndicate of lenders under the Global Credit Facility and U.S. Credit Facility regarding short term waivers
 of continuing covenant defaults under these facilities. These negotiations, however, did not provide the
 Debtors with additional liquidity. Instead, these lenders required the Debtors to submit to extensive and
 ongoing financial reporting requirements, and urgently pursue strategic alternatives and contingency
 planning initiatives by certain milestones, while at the same time formally reducing the size of the credit
 facilities yet further. By the end of June 2018, the size of the Global Credit Facility had been reduced from
 $750 million to $300 million and size of the U.S. Credit Facility had been reduced from $250 million to
 $155 million. Below is a graphic representation of the challenges the Debtors faced through June 2018.




          B.       Appointment of Independent Directors and Composition of the Audit Committee

         On May 2, 2018, the Debtors announced that Donald Moore, Tyler Baron, and Raymond Bartoszek,
 (the “New Independent Directors”), had been appointed to Aegean’s board of directors (the “Board of
 Directors”), effective immediately. The appointment of the New Independent Directors increased the
 number of independent directors on the Board of Directors to six members.10 On May 22, 2018, the Debtors
 announced that Donald Moore had been appointed to serve as Chairman of the Board of Directors. On June
 4, 2018, the Debtors announced that the audit committee of the Board of Directors (the “Audit Committee”)
 had been recomposed of only the New Independent Directors, with Tyler Baron serving as Chair of the
 Audit Committee.

          C.       Prepetition Initiatives

          Recognizing the substantial challenges facing the company, and the need to explore all
 restructuring initiatives, the Debtors retained Ernst & Young LLP (“E&Y”) as their restructuring advisor,
 and Kirkland & Ellis LLP (“Kirkland”) as their legal advisor in the spring of 2018, and then Moelis &

 10   The other independent directors on Aegean’s Board of Directors at that time were Yiannis N. Papanicolaou, George J.
      Konomos, and Konstantinos Koutsomitopoulos.



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 Company (“Moelis”) as their financial advisor and investment banker in early July 2018. Together, these
 advisors assisted the Debtors with financial and operational initiatives, lender negotiations, and contingency
 planning, including reviewing and analyzing potential sale and/or financing transactions both out-of-court
 and in-court.

          During June and July 2018, the Debtors and their advisors engaged in good-faith negotiations with
 certain third party financial and strategic investors as well as an ad hoc committee of Unsecured Noteholders
 (the “Ad Hoc Group”) to explore and evaluate strategic alternatives and possible liquidity-generating
 transactions. These discussions included discussions with multiple financial investors regarding potential
 sale-leaseback and second lien financing transactions and multiple strategic investors regarding partnership
 opportunities such as a trade finance facility, joint venture, and/or acquisition. Of these strategic investors,
 seven executed non-disclosure agreements and five submitted diligence requests. One of these strategic
 investors was Mercuria.

        In early July 2018, the Debtors determined after good faith, hard-fought negotiations that a proposal
 provided by Mercuria provided the best available path forward. At the time this decision was made, the
 Debtors had significantly reduced ordinary course operations due to the lack of liquidity and the splintering
 of many customer and supplier relationships.

                  1.      Mercuria Transaction

         On July 5, 2018, Aegean announced the entry of a memorandum of understanding (the “MOU”)
 with Mercuria Energy Group Limited (“MEG”), which contemplated, among other things, refinancing the
 U.S. Credit Facility and Global Credit Facility by August 15, 2018, the provision of interim credit support
 to enhance liquidity, and other terms predicated on a potential future global strategic partnership between
 Mercuria and Aegean Marine. The MOU granted Mercuria limited exclusivity, subject to certain key
 carve-outs (including with respect to the Ad Hoc Group), to explore the strategic partnership. On August
 21, 2018, Aegean filed a Form 6-K announcing that Mercuria had: (a) become the sole lender under both
 the U.S. Credit Facility and Global Credit Facility after acquiring all interests of the prior facility lenders
 in each of these facilities; (b) agreed to extend existing default waiver agreements for these facilities; and
 (c) agreed to provide $30 million of additional liquidity to Aegean Marine by way of amendments and
 waivers to the facilities and other financing arrangements. Mercuria also agreed to support operations by
 “sleeving” inventory (as described below) and providing other liquidity enhancing measures. In return,
 Aegean issued to an affiliate of MEG new common stock constituting 30 percent of Aegean’s then
 outstanding common stock on a pro-forma basis and the Board of Directors unanimously agreed to expand
 the Board of Directors, and appoint a representative of Mercuria—David Gallagher—to the board.

          Mercuria’s injection of liquidity was a literal lifeline at a point when the Debtors’ operations had
 all but ground to a halt. The Debtors and Mercuria then worked diligently in the weeks following both the
 announcement and completion of the transaction to reestablish customer relationships, increase sales
 volumes, improve cash flows, and regenerate the borrowing base.

                  2.      Cost-Cutting Initiatives

          Subsequent to executing the MOU, the Debtors also implemented internal cost-cutting and
 restructuring initiatives. In particular, the Debtors decreased onshore employee headcount by 14 percent,
 substantially reduced corporate overhead expenses, and realized or will realize substantial cost reductions
 from the following internal restructuring initiatives: (a) exiting bunkering operations in Fujairah, U.A.E.
 and Piraeus, Greece; (b) reconfiguration of bunkering vessels in and around Gibraltar and in the ARA
 Region; (c) winding down certain of the Debtors’ (i) back-to-back trading operations’, including four sales



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 offices related to these operations, and (ii) marine lubricants business; and (d) relocating the company’s
 corporate offices in Greece.

         D.       Audit Committee Investigation

          Following the June 4 announcement of the potential $200 million accounts receivable write-off,
 the Audit Committee began working closely with Arnold & Porter Kaye Scholer LLP (“Arnold & Porter”)
 to accelerate the investigation (the “Investigation”) which had formally commenced in December 2017. To
 date, the Audit Committee and Arnold & Porter have committed substantial resources and efforts to the
 Investigation, and have plenary authority to review related party transactions and to follow leads wherever
 they go. Moreover, no legacy member of the Board of Directors has any role on the Audit Committee or
 oversight of the Investigation.

        On November 2, 2018, the Debtors and the Audit Committee issued a press release and 6-K
 announcing the results of the Investigation as of the date of the filing. Pursuant to that press release, the
 Audit Committee alleged the following:

         •    The Audit Committee believes up to $300 million of the Debtors’ cash and other assets may
              have been misappropriated through fraudulent activities. The Audit Committee believes that
              the principal beneficiary of the alleged misappropriation is OilTank Engineering & Consulting
              Ltd. (“OilTank”), a company based in Fujairah, United Arab Emirates and incorporated on
              March 15, 2010 in the Marshall Islands. On March 31, 2010, OilTank entered into a contract
              with a subsidiary of Aegean to oversee the construction of the Fujairah Oil Terminal Facility
              (the “Fujairah Facility”). The Audit Committee believes that this contract may have been used
              to misappropriate the Debtors’ funds through inflated contracts and fraudulent pricing. The
              Audit Committee has reason to believe that OilTank is controlled by a former affiliate of the
              Debtors (the “Former Affiliate”).

         •    As of December 31, 2017, the Debtors and their subsidiaries had an aggregate of approximately
              $200 million in accounts receivable that arose from purported commercial transactions in 2015,
              2016, and 2017 that may have lacked economic substance, as the relevant counterparties were
              shell companies owned or controlled by former employees or affiliates of the Debtors with no
              material assets or operations. The Audit Committee believes that the receivables may have
              been improperly recorded as part of a potential scheme to facilitate and conceal an alleged
              extensive misappropriation of the Debtors’ assets channeled to OilTank, but accounted for as
              transactions with these shell companies. The Audit Committee has further confirmed that the
              approximately $200 million of receivables are uncollectible and will be written off.

         •    The Investigation also uncovered additional potential actions to defraud the Debtors and its
              subsidiaries, including prepayments for future oil deliveries that were never made. These
              potential fraudulent activities appear to have commenced as early as 2010.

         •    The alleged misappropriation of the Debtors’ assets, and the alleged fraudulent accounting
              entries and fictitious documentation designed to conceal it, involved over a dozen employees,
              including former members of senior management. The employees who directed the alleged
              scheme, which involved the creation of falsified and forged documents, including bank
              statements, audit confirmations, contracts, invoices and third party certifications, among others,
              have been terminated.




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         •    The Audit Committee believes that this alleged misconduct occurred in part because the Former
              Affiliate exerted control over personnel and assets through inappropriate means, including
              threats of economic retaliation and physical violence.

          In that same press release on November 2, 2018, the Audit Committee and the Debtors stated that
 the Debtors intend to take appropriate steps to seek redress from responsible individuals and other parties
 for the harm to the Debtors caused by their involvement in the activities described above, including
 instituting legal proceedings and seeking to seize assets in applicable jurisdictions wherever feasible and
 appropriate. The Audit Committee and the Debtors also stated that they had previously voluntarily reported
 their preliminary findings to the SEC and the U.S. Department of Justice and that on October 3, 2018, the
 Debtors had received a grand jury subpoena from the U.S. Attorney’s Office for the Southern District of
 New York in connection with suspected felonies. The Debtors have received an administrative subpoena
 from the SEC. The Debtors continue to cooperate with the government and respond to their requests.

          Given the impact of the foregoing, the Audit Committee concluded that the Debtors’ financial
 statements for (i) the fiscal years ended December 31, 2015 and December 31, 2016 included in the annual
 reports on Form 20-F for such years, (ii) the interim periods within such fiscal years included in the reports
 on Form 6-K for such periods, (iii) the periods ended March 31, 2017, June 30, 2017, September 30, 2017
 included in the reports on Form 6-K for such periods, and (iv) related press releases describing the Debtors’
 financial results for such periods, as well as the fourth quarter of each of 2015, 2016 and 2017 (and the year
 ended December 31, 2017), should no longer be relied upon.

         E.       The DIP Financing and Chapter 11 Filing

          Notwithstanding the benefits achieved through the transactions completed with Mercuria following
 the MOU and the cost-cutting and restructuring measures undertaken by the Debtors, substantial challenges
 faced the Debtors, which led them to explore restructuring alternatives. One such alternative was to pursue
 a restructuring through a chapter 11 process.

         Beginning in September 2018, the Debtors and their advisors began focusing on procuring
 debtor-in-possession financing (“DIP financing”) to sustain operations during these chapter 11 cases. In
 October 2018, Moelis engaged with 24 potential financing sources, of which nine signed non-disclosure
 agreements. Of the nine who signed non-disclosure agreements, six parties expressed some interest in
 potentially providing DIP financing, although none of these six parties ultimately submitted a DIP financing
 proposal.

         In parallel, the Debtors engaged with existing creditors Mercuria and the Ad Hoc Group to provide
 DIP financing. Negotiations with these parties accelerated significantly in the weeks before the Petition
 Date, and ultimately, both Mercuria and the Ad Hoc Group provided DIP financing proposals that were
 each tied to restructuring transactions. For Mercuria, the proposed transaction was a sale process with
 Mercuria serving as stalking horse bidder through a credit bid of Mercuria’s prepetition secured debt and
 $15 million of cash consideration. For the Ad Hoc Group, the proposed transaction was a restructuring
 support agreement between the Debtors and the Ad Hoc Group that memorialized the plan treatment for
 each proposed class of creditors.

                  1.      Ad Hoc Group DIP Financing Proposal

         The Ad Hoc Group provided a DIP financing proposal that contemplated (i) an asset-backed
 revolving loan credit facility provided by Goldman Sachs Lending Partners LLC or an affiliate (“GSLP”)
 and other institutions participating in the facility, (ii) a “first in last out” term loan, provided and fully
 backstopped by certain Holders of the Unsecured Notes, and (iii) a second lien term loan provided by certain


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 Holders of the Unsecured Notes. This DIP financing proposal was tied to a restructuring support agreement
 that contemplated a standalone reorganization via a chapter 11 plan, the terms of which involved rolling
 certain of the DIP financing facilities into exit financing, the reinstatement of the Secured Term Loans,
 reinstatement or payment in full of all general unsecured claims at entities other than Aegean, and a split of
 equity, warrants, and additional consideration for all general unsecured claims at Aegean (including the
 Unsecured Notes). Ultimately, the Ad Hoc Group was, inter alia, unable to obtain committed financing
 from GSLP or another third party to provide DIP financing as of the Petition Date and thus there was no
 actionable DIP financing proposal ever made by the Ad Hoc Group.

                      2.        Mercuria DIP Financing Proposal

          The DIP financing proposal provided by Mercuria involved Mercuria rolling up the Prepetition
 Secured Credit Facilities into the postpetition DIP Facilities consisting of a (i) $160 million U.S. revolving
 credit facility, (ii) $72 million multiple delayed draw term loan credit facility, and (iii) $300 million global
 revolving credit facility. The Mercuria proposal also contemplated the continuation of other liquidity
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 enhancing measures such as hedging and sleeving. This proposal was tied to a sale process, the terms of
 which were memorialized in bidding procedures and a stalking horse asset purchase agreement (the
 “Stalking Horse Sale Process”) which the Debtors filed shortly after the Petition Date.

 VI.        EVENTS OF THE CHAPTER 11 CASES

            A.        First Day Pleadings and Other Case Matters

                      1.        First Day Pleadings

          To facilitate the administration of the chapter 11 cases and minimize disruption to the Debtors’
 business operations, the Debtors filed certain motions with the Bankruptcy Court on the Petition Date
 seeking certain relief summarized below. The relief sought in the “first day” pleadings facilitated the
 Debtors’ seamless transition into chapter 11 and preserved the value the Debtors’ enterprise. Further
 information and a brief description of each of the first day motions and the evidence in support thereof is
 set forth in the Declaration of Andrew Hede, Restructuring Advisor to Aegean Marine Petroleum Network
 Inc., in Support of the Chapter 11 Petitions and First Day Motions [Docket No. 9] (the “Hede First Day
 Declaration”). The first day motions included the following:

            •    Wages. On November 9, 2018, the Bankruptcy Court entered an interim order authorizing, but
                 not directing, the Debtors to (a) pay prepetition wages, salaries, other compensation, and
                 reimbursable expenses and (b) continue employee benefits programs in the ordinary course of
                 business, including payment of certain prepetition obligations related thereto [Docket No. 53].
                 On December 6, 2018, the Bankruptcy Court granted such relief on a final basis [Docket No.
                 155].




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       The term “sleeving” refers to a credit enhancement transaction commonly used in the commodity trading industry where one
       party (X) with a strong balance sheet provides “credit” to another party (Y) whose liquidity is limited or may be otherwise
       unavailable from other sources. The sleeving transaction could be a purchase or sale transaction and most commonly occurs
       where either (i) Y seeks to have X acquire inventory from a third party (Z) and sell that inventory to Y on extended credit
       terms or for delivery to Y at a later date (thereby having X carry the inventory on its balance sheet and relieving Y of this
       obligation), or (ii) X purchases inventory from Y on shorter payment terms (or on an immediate pay basis) and X delivers
       product to Z on standard credit terms, alleviating the need for Y to carry the inventory on its balance sheet or to reduce the
       timing for turnover.



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      •   Cash Management. On November 9, 2018, the Bankruptcy Court entered an interim order
          approving the Debtors’ motion seeking authority to (i) operate their cash management system
          and maintain their existing bank accounts, including honoring certain prepetition obligations
          thereto and (ii) continue intercompany transactions and funding consistent with the Debtors’
          historical practices [Docket No. 53] (the “Cash Management Motion”). On November 27,
          2018, the Committee filed a limited objection to approval of the Cash Management Motion on
          a final basis [Docket No. 110]. Following negotiations regarding a global resolution of the
          issues raised in such objection (discussed further below), the Committee agreed, consistent
          with and subject to the Restructuring Support Agreement, to withdraw its objection to the relief
          requested in the Cash Management Motion. On December 17, 2018, the Bankruptcy Court
          granted such relief on a final basis [Docket No. 237].

      •   Insurance. On November 16, 2018, the Bankruptcy Court entered an interim order
          authorizing, but not directing, the Debtors to (a) continue their prepetition insurance coverage
          and surety bond program, (b) satisfy prepetition obligations thereto, (c) renew, supplement, or
          enter into new insurance policies and surety bonds in the ordinary course of business on a
          postpetition basis, and (d) continue to pay brokerage fees [Docket No. 85]. On December 6,
          2018, the Bankruptcy Court granted such relief on a final basis [Docket No. 153].

      •   Foreign Claims, Lien Claims, 503(b)(9) Claims, and HSE and Other Claims. On November
          9, 2018, the Bankruptcy Court entered an interim order (a) authorizing, but not directing, the
          Debtors to pay in the ordinary course of business all prepetition and postpetition amounts owing
          on account of (i) foreign claims, (ii) lien claims, (iii) 503(b)(9) claims, and (iv) HSE and other
          claims, and (b) confirming the administrative expense priority of certain outstanding purchase
          orders and authorizing the payment of such obligations in the ordinary course of business
          [Docket No. 54]. On December 6, 2018, the Bankruptcy Court granted such relief on a final
          basis [Docket No. 150].

      •   Taxes. On November 16, 2018, the Bankruptcy Court entered an interim order authorizing,
          but not directing, the Debtors to pay and remit (a) certain prepetition taxes and fees and (b)
          certain taxes and fees that arise in the ordinary course of business on a postpetition basis
          [Docket No. 81]. On December 6, 2018, the Bankruptcy Court granted such relief on a final
          basis [Docket No. 154].

      •   Hedging. On November 16, 2018, the Bankruptcy Court entered an interim order (a)
          authorizing, but not directing, the Debtors to (i) continue prepetition hedging practices, (ii)
          commence postpetition hedging practices, (iii) pay hedging obligations, whether they arose
          prepetition or postpetition, in the ordinary course of business, and (b) granting superpriority
          claims on account of postpetition hedging obligations [Docket No. 83]. On November 27,
          2018, the Committee filed a limited objection to approval of such relief on a final basis [Docket
          No. 111]. Following negotiations regarding a global resolution of the issues raised in such
          objection, the Committee agreed, consistent with and subject to the Restructuring Support
          Agreement, to withdraw its objection. On December 17, 2018, the Bankruptcy Court granted
          such relief on a final basis [Docket No. 238].

      •   Automatic Stay Enforcement. On November 16, 2018, the Bankruptcy Court entered an order
          granting the Debtors’ request for an order restating and enforcing the worldwide automatic
          stay, anti-discrimination provisions, and ipso facto provisions of the Bankruptcy Code and
          approving the form and manner of notice thereto [Docket No. 88].



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         •    Utilities. On December 6, 2018, the Bankruptcy Court entered an order granting the Debtors’
              request to (a) establish procedures for, among other things, determining adequate assurance for
              utility providers, (b) prohibit utility providers from altering, refusing, or discontinuing services,
              and (c) determine that the Debtors are not required to provide any additional adequate assurance
              [Docket No. 151].

 Each of the foregoing first day motions, the Hede First Day Declaration, and all orders for relief granted in
 these chapter 11 cases, can be viewed free of charge at https://dm.epiq11.com/Aegean.

         B.       Other Procedural and Administrative Motions

        To facilitate the efficient administration of the chapter 11 cases and to reduce the administrative
 burden associated therewith, the Debtors also filed and received authorization to implement several
 procedural and administrative motions:

         •    authorizing the joint administration of the chapter 11 cases [Docket No. 3];

         •    extending the time during which the Debtors may file certain schedules of assets and liabilities,
              schedules of executory contracts and unexpired leases, schedules of current income and
              expenditures, statements of financial affairs, and reports pursuant to Federal Rule of
              Bankruptcy Procedures 2015.3 [Docket No. 82];

         •    establishing certain notice, case management, and administrative procedures on an interim
              basis [Docket No. 109];

         •    allowing the Debtors to prepare a list of creditors in lieu of submitting separate mailing matrices
              and creditor lists for each Debtor and to file a consolidated list of the Debtors’ 30 largest
              creditors, as well as other related relief, on an interim basis [Docket No. 89] and on a final basis
              [Docket No. 152];

         •    allowing the Debtors to retain and compensate certain professionals utilized in the ordinary
              course of business [Docket No. 157]; and

         •    approving the procedures for the interim compensation and reimbursement of retained
              professionals in the chapter 11 cases [Docket No. 161].

         C.       Other Matters Relevant to these Chapter 11 Cases

                  1.       Retention of Debtors’ Chapter 11 Professionals

          The Debtors also filed several applications and obtained authority to retain various professionals to
 assist the Debtors in carrying out their duties under the Bankruptcy Code during these chapter 11 cases.
 These professionals include: (a) Kirkland & Ellis LLP, as legal counsel; (b) EY Turnaround Management
 Services LLC, as restructuring advisor; (c) Moelis & Company LLC, as financial advisor and investment
 banker; (d) Kobre & Kim LLP, as special asset recovery counsel; (e) Arnold & Porter Kaye Scholer LLP,
 as special counsel; and (f) Epiq Corporate Restructuring, LLC, as claims agent and administrative advisor.
 The Committee has also sought the retention of various professionals in these chapter 11 cases, as discussed
 below.




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                  2.      Schedules and Statements

          On January 2, 2019, the Debtors filed their Schedules of Assets and Liabilities and Statements of
 Financial Affairs. See, e.g., Docket Nos. 262-63. Interested parties may review the Schedules of Assets
 and Liabilities and Statements of Financial Affairs and any amendments thereto for Aegean free of charge
 at https://dm.epiq11.com/Aegean.

                  3.      Bar Date Motion

         On December 11, 2018, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Setting Bar
 Dates for Submitting Proofs of Claim, (II) Approving Procedures for Submitting Proofs of Claim, and (III)
 Approving Notice Thereof [Docket No. 199] (the “Bar Date Motion”). On December 18, 2018, the
 Bankruptcy Court entered an order granting the relief set forth in the Bar Date Motion [Docket No. 240]
 (the “Bar Date Order”), which established procedures and set deadlines for filing Proofs of Claim against
 the Debtors and approved the form and manner of the bar date notice (the “Bar Date Notice”).

          Pursuant to the Bar Date Order and the Bar Date Notice, the last date for certain persons and entities
 to file Proofs of Claim in these chapter 11 cases is February 21, 2019 at 5:00 p.m. Eastern Time (the
 “Bar Date”) and the last date for governmental units to file Proofs of Claim in the Debtors’ chapter 11 cases
 is May 6, 2019 at 5:00 p.m. Eastern Time. The Bar Date Notice was served on January 3, 2019 and
 published in The New York Times (national and international editions), Financial Times (international
 edition), and Tradewinds on January 7, 2019, January 8, 2019, and January 11, 2019, respectively.

                  4.      Pending Litigation Proceedings and Claims

          In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings,
 collection proceedings, and claims arising out of their business operations. The Debtors cannot predict with
 certainty the outcome or disposition of these lawsuits, legal proceedings, and claims, although the Debtors
 do not believe any reasonable outcome of any currently existing proceeding, even if determined adversely,
 would (a) have a material adverse effect on their businesses, financial condition, or results of operations or
 (b) interfere with the feasibility of the Plan.

          With certain exceptions, the filing of the chapter 11 cases operates as a stay with respect to
 the commencement or continuation of litigation against the Debtors that was or could have been
 commenced before the commencement of the chapter 11 cases. The Debtors’ liability with respect to
 litigation stayed by the commencement of the chapter 11 cases generally is subject to discharge, settlement,
 and release upon confirmation of a plan under chapter 11, with certain exceptions. Therefore, certain
 litigation Claims against the Debtors may be subject to discharge in connection with the chapter 11 cases.

         D.       Appointment of Official Committee of Unsecured Creditors

          On November 15, 2018, the U.S. Trustee filed the Notice of Appointment of Official Committee of
 Unsecured Creditors [Docket No. 80], notifying parties in interest that the U.S. Trustee had appointed a
 statutory committee of unsecured creditors (the “Committee”) in these chapter 11 cases. The Committee
 is currently composed of the following members: Deutsche Bank Trust Company Americas, U.S. Bank
 National Association, and AmEx. The Committee has filed several applications and obtained authority to
 retain various professionals to assist the Committee in carrying out its duties under the Bankruptcy Code.
 These professionals include: (a) Akin Gump Strauss Hauer & Feld LLP, as legal counsel, (b) PJT Partners,
 as investment banker, and (c) AlixPartners, LLP as financial advisor.




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          Since its formation, the Debtors have consulted with the Committee concerning the administration
 of these chapter 11 cases and the Committee has been an active participant in restructuring negotiations.
 The Debtors have also kept the Committee informed of, and have conferred with the Committee on, matters
 relating to the Debtors’ business operations to the extent the Committee’s constituency would be affected
 by proposed actions or transactions outside of the ordinary course of the Debtors’ businesses.

         E.       Debtor-in-Possession Financing

          The Debtors filed the Debtors’ Motion for Entry of Interim and Final Orders Pursuant to 11 U.S.C.
 § 105, 361, 362, 363, 364, 503, and 507 (I) Authorizing the Debtors to Obtain Senior Secured Priming
 Superpriority Postpetition Financing, (II) Granting Liens and Superpriority Administrative Expense
 Claims, (III) Authorizing Use of Cash Collateral, (IV) Granting Adequate Protection, (V) Modifying the
 Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 6] (the
 “DIP Motion”) on the Petition Date. The DIP Motion sought approval of $532 million in aggregate
 financing through a $160 million DIP U.S. Revolving Credit Facility, $72 million DIP U.S. Term Credit
 Facility, and $300 million DIP Global Credit Facility to be provided by Mercuria (collectively, the “DIP
 Financing”).

           On November 7, 2018, the Ad Hoc Group filed an objection to the DIP Financing [Docket No. 29].
 Among other things, the Ad Hoc Group objected to certain relief requested upon entry of the interim order,
 including the immediate roll up of 50 percent of the Debtors’ prepetition ABL obligations, the granting of
 liens on the Debtors’ unencumbered assets, including the Litigation Claims, and approval and payment of
 certain fees. The Ad Hoc Group also objected to provisions granting Mercuria the right to credit bid its
 prepetition debt in the proposed section 363 sale of the Debtors’ assets and the inclusion of certain
 sale-related milestones unrelated to the DIP Financing, including requiring an auction with respect to the
 sale of the Debtors’ assets within 75 days of the Petition Date. After a two-day contested hearing, the
 parties agreed to a revised form of interim order regarding the DIP Financing. Among other things, the
 revised form of interim order no longer provided for the immediate roll-up of the prepetition ABL
 obligations upon entry of the interim order, preserved the right of parties in interest to object to the granting
 of any liens or claims at Debtors that were not prepetition obligors, and no longer approved Mercuria’s
 right to credit bid. Other issues raised in the objection of the Ad Hoc Group were reserved for determination
 at the final hearing.

          On November 9, 2018, following resolution of the issues raised in the objection filed by the Ad
 Hoc Group to approval of the DIP Financing [Docket No. 29], the Bankruptcy Court entered the revised
 order approving the DIP Financing on an interim basis [Docket No. 51] (the “Interim Order”). Upon entry
 of the Interim Order, the Debtors had access to the full amount provided under the DIP U.S. Revolving
 Credit Facility and DIP Global Credit Facility, subject to borrowing base limitations under the DIP U.S.
 Credit Agreement and DIP Global Credit Agreement, and $40 million under the DIP U.S. Term Credit
 Facility. Following the entry of the Interim Order, the final hearing on the DIP Financing was scheduled
 for December 7, 2018.

          On November 27, 2018, the Committee filed an objection to approval of the DIP Financing on a
 final basis [Docket No. 113]. Among other things, the Committee opposed the granting of claims and liens
 to Mercuria, and the roll up of Mercuria’s prepetition debt, at Debtor entities that were not prepetition
 obligors. The Committee also objected to certain provisions in the DIP Financing that would limit the
 Committee’s ability to object to Mercuria’s stalking horse bid for the Debtors’ assets and that would
 potentially prevent the Debtors from modifying the sale procedures to maximize value for the Debtors’
 estates. Following significant discovery, the Debtors, the Committee and Mercuria entered into extensive,
 hard fought, arm’s length, and good faith negotiations for the resolution of the Committee’s objections to
 the DIP Financing, as well as the Committee’s objections to the Stalking Horse Sale Process [Docket No.


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 112]. At the courthouse immediately prior to the December 7, 2018 hearing, the Debtors, the Committee
 and Mercuria reached an agreement in principle for a global resolution that was generally announced to the
 Court at the December 7, 2018 hearing.

          While the parties were continuing to negotiate the documentation for the global resolution
 announced in open court, the Debtors and the Committee received a proposal from, and began discussions
 with, Oaktree Opportunities Fund Xb Holdings (Cayman), L.P. (“Oaktree”) and Hartree-OCM AMPN
 Holdings (Delaware), LLC (“Hartree”) regarding the terms of an alternative DIP facility and restructuring
 proposal. These discussions ultimately resulted in Oaktree and Hartree offering to provide a DIP facility
 that the Debtors and the Committee deemed to be on terms more favorable to the Debtors’ estates than the
 Mercuria proposal. A term sheet reflecting the Oaktree/Hartree proposal was presented to and approved
 by the Board of Directors on December 12, 2018. The term sheet included a $75 million DIP term loan
 facility (compared to $72 million already provided by Mercuria under the DIP Financing) and the same
 amount of financing under Mercuria’s DIP U.S. Revolving Credit Facility and DIP Global Credit Facility
 but did not contemplate the roll-up of prepetition obligations (as the Debtors had no prepetition obligations
 to Oaktree/Hartree) and allowing for greater sharing in the Litigation Claims and avoidance actions with
 Holders of Aegean Unsecured Claims.

          Once made aware of the Oaktree/Hartree proposal on December 12, 2018, Mercuria immediately
 provided to both the Committee and the Debtors confirmation of a topping proposal, including offering
 better terms on the DIP Financing (including better advance rates and term extension rates), meeting the
 $75 million DIP term loan facility value, providing the Holders of Aegean Unsecured Claims with 100
 percent of the recovery on the Litigation Claims, offering $40 million of Cash to the Holders of Aegean
 Unsecured Claims, and offering to provide initial funding to the Litigation Trust. After receiving
 confirmation of this offer from Mercuria on December 12, 2018, but before Mercuria had finished
 documenting its offer, on the morning of December 13, 2018, the Debtors filed a Notice of Filing of Revised
 Final DIP Order Pursuant to 11 U.S.C. §§ 105,361, 362, 362, 364, 503 And 507 (I) Authorizing The Debtors
 To Obtain Senior Secured Priming Superpriority Postpetition Financing, (ii) Granting Liens and
 Superpriority Administrative Expense Claims; (III) Authorizing Use of Cash Collateral, (IV) Granting
 Adequate Protection, (V) Modifying the Automatic Stay; and (VI) Granting Related Relief [Docket No. 205]
 (the “Oaktree/Hartree DIP”), and sought at a hearing before the Court hours later to replace the DIP
 Financing approved pursuant to the Interim Order with alternative DIP financing provided by
 Oaktree/Hartree.

          At the hearing on December 13, 2018, Mercuria informed the Court that it had made a topping offer
 and objected to approval of the Oaktree/Hartree DIP on the grounds that there was no emergency need to
 replace the DIP Financing, as sufficient availability existed to meet the then-current needs of the Debtors.
 The Court indicated that it would not approve the Oaktree/Hartree DIP on the terms proposed, including
 those contemplating a prepayment premium and linking approval of the Oaktree/Hartree DIP with approval
 of a related restructuring transaction sponsored by Oaktree and Hartree (as discussed below). Oaktree and
 Hartree indicated that the limitations to be imposed by the Court were unacceptable and announced that
 they were “withdrawing from the contest.”

         On December 15, 2018, following extensive negotiations with Mercuria and the Committee, and
 in connection with the parties’ entry into the Restructuring Support Agreement (as discussed below), the
 Debtors agreed to an Interim Bridge Order Pursuant to 11 U.S.C. § 105, 361, 362, 363, 364, 503, and 507
 (I) Authorizing the Debtors to Obtain Senior Secured Priming Superpriority Postpetition Financing,
 (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Authorizing Use of Cash
 Collateral, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling a Final
 Hearing, and (VII) Granting Related Relief [Docket No. 239] (the “Bridge Order”), that was entered by the
 Bankruptcy Court on December 17, 2018. The Bridge Order provided the Debtors with, among other

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 things, access to $11 million in incremental liquidity under the DIP U.S. Term Credit Facility (for a total
 of $51 million in availability under that facility when combined with the authority provided under the
 Interim Order) in order to fund the Debtors through January 14, 2019, when the Bankruptcy Court would
 conduct a hearing to consider entry of a Final Order (as defined below).

          On January 15, 2019, the Bankruptcy Court entered an order approving the Modified DIP
 Financing, including the roll up of all obligations and amounts owed under the U.S. Credit Facility and
 Global Credit Facility, on a final basis [Docket No. 290] (the “Final Order”). The Final Order further
 provides that, among other things, certain parties are or may be entitled to object to or otherwise challenge
 the roll up of the U.S. Credit Facility and Global Credit Facility and the validity of related claims and liens.
 However, in accordance with the Final Order, the Confirmation Order shall expressly provide that, among
 other things, all parties’ rights, if any, to bring any such objection or challenge shall be irrevocably
 extinguished, released, and discharged upon the occurrence of the Effective Date.

                     1.        Adequate Protection Stipulations

          Pursuant to the DIP Motion, the Debtors also requested authority to enter into adequate protection
 stipulations and consent orders with certain of the Debtors’ prepetition secured lenders under the Secured
 Term Loans. Interim orders granting the requested relief were entered for Aegean Baltic Bank S.A. [Docket
 No. 63], the National Bank of Greece, S.A. [Docket No. 64], and United Arab Bank P.J.S.C. [Docket No.
 68] on November 13, 2018. Final orders granting the requested relief were entered for Aegean Baltic Bank
 S.A. [Docket No. 242], the National Bank of Greece, S.A. [Docket No. 243], United Arab Bank P.J.S.C.
 [Docket No. 244], Piraeus Bank S.A. [Docket No. 241], and Orix Investment and Management PTE. LTD.
 [Docket No. 245] on December 18, 2018.

           F.        Sale Process Motion

          In parallel with the negotiations regarding the DIP Financing, prior to the Petition Date, the Debtors
 and Mercuria engaged in hard-fought negotiations surrounding the terms of a section 363 sale of certain
 Debtors’ assets, with Mercuria to serve as stalking horse bidder. The parties intensely debated a number of
 key terms, including whether the sale would be structured as an all-asset sale “free and clear” of all liens,
 claims, and encumbrances, which Mercuria preferred, or an all-equity sale, which the Debtors preferred.
 In the end, Mercuria and the Debtors agreed to a mixture of the two, affording Mercuria the right to acquire
 the assets of certain Debtors and the equity of 45 Aegean Marine entities. In addition, Mercuria initially
 sought to acquire the Litigation Claims through a credit bid premised on the Litigation Claims, as assets of
 Aegean, being collateral under the DIP Financings; however, the Debtors did not want to sell such assets
 without receiving cash consideration. This issue was heavily contested and resulted in the Debtors delaying
 the filing of their bankruptcy petitions by approximately a week while negotiations continued. Through
 extensive, good-faith negotiations, Mercuria ultimately agreed to include a cash component in its stalking
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 horse bid as compensation for the acquisition of 100 percent of the Litigation Claims. Once the Debtors
 and Mercuria reached an agreement, the Debtors were able to file their chapter 11 cases with financing in
 place and a baseline bid to set the floor for an auction.

        On November 9, 2018, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Establishing
 Bidding Procedures and Section 365 Procedures, (II) Approving the Sale of Substantially All of the
 Debtors’ Assets, (III) Authorizing the Entry Into and Performance Under the Stalking Horse Asset Purchase

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      Mercuria’s proposed acquisition of the Litigation Claims was offered as an alternative means of offsetting liabilities and
      obligations Mercuria would or might incur as a result of the acquisition of the equity of the 45 Aegean Marine entities and the
      absence of the Debtors to otherwise be able to provide any substantive indemnification for these liabilities and obligations.



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 Agreement, and (IV) Granting Related Relief (the “Sale Process Motion”) [Docket No. 59]. Pursuant to the
 Sale Process Motion, the Debtors sought Bankruptcy Court authorization to commence a sale process for
 certain of the Debtors’ assets, with Mercuria serving as stalking horse bidder.

          Subsequent to the filing of the Sale Process Motion, the Committee filed an objection to the relief
 sought therein [Docket No. 112]. Among other things, the Committee objected to the inclusion of the
 Litigation Claims in the assets to be sold, the lack of information made available to prospective bidders
 regarding the value of the Debtors’ assets, and the inability of potential bidders to bid on the Debtors’ assets
 on an asset-by-asset basis under the proposed bidding procedures. The Committee also objected to the
 proposed $19 million break-up fee and uncapped expense reimbursement in favor of Mercuria, and the
 failure of Mercuria’s stalking horse bid to allocate the proposed credit bid on an asset-by-asset basis.

         The Committee objection led to further negotiations among the Debtors, Mercuria, and the
 Committee. The hearing on the Sale Process Motion and the DIP Financing, scheduled for December 7,
 2018, was postponed based on the agreement in principle reached among the parties, the terms of which
 contemplated a global settlement and sale of the Debtors in the context of a chapter 11 plan versus the
 proposed auction process (as discussed above). Under this revised structure, Mercuria would provide
 substantially more value than under its stalking horse bid, including a larger cash component to be paid to
 holders of unsecured claims at Aegean and an agreement to share with the unsecured creditors at Aegean
 the proceeds of the Debtors’ Litigation Claims. Consistent with and subject to the Restructuring Support
 Agreement, the Debtors agreed to withdraw the Sale Process Motion and to terminate the stalking horse
 asset purchase agreement with Mercuria.

         G.       Restructuring Support Agreements

          After announcing an agreement in principle regarding a global settlement among the Debtors, the
 Committee, and Mercuria at the December 7, 2018 hearing, the parties worked intensely over the following
 days to document the deal. As discussed above, a DIP financing and restructuring proposal was received
 from Oaktree and Hartree, which the Debtors and Committee determined, consistent with their fiduciary
 duties, included improved terms for the Debtors’ estates and unsecured creditors, compared to the Sale
 Process Motion and DIP Financing provided by Mercuria. Also as discussed above, after Mercuria was
 informed of this proposal, Mercuria made a topping proposal on December 12, 2018: Mercuria increased
 the cash component of its offer, agreed that unsecured creditors at Aegean could receive the entirety of the
 proceeds of the Litigation Claims (as opposed to a percentage), and offered to acquire the equity of all of
 Aegean’s subsidiaries. The Debtors’ and the Committees’ advisors informed the Committee that
 Mercuria’s offer was higher and better than the Oaktree/Hartree proposal.

         In the early morning hours of December 13, 2018, after Mercuria had confirmed its topping
 proposal but before it had finished documenting it, the Debtors filed a Notice of Filing of Restructuring
 Support Agreement, by and among the Debtors, the Committee, Oaktree, Hartree, AmEx, and certain
 holders of the Unsecured Notes (the “Oaktree/Hartree RSA”) [Docket No. 206]. The Oaktree/Hartree RSA
 contemplated a restructuring of the Debtors premised on the recapitalization of Aegean Marine and
 unimpaired treatment of all creditors at subsidiary Debtors other than Aegean, as well as the
 Oaktree/Hartree DIP to replace the DIP Financing provided by Mercuria.

         At the hearing before the Bankruptcy Court on December 13, 2018, the Debtors sought approval
 of the Oaktree/Hartree DIP pursuant to the Oaktree/Hartree RSA. Mercuria, still in the process of finalizing
 documentation of its restructuring proposal, appeared at the December 13 hearing and requested that the
 Court not approve the Oaktree/Hartree DIP. Mercuria argued that there was no emergency need for the
 Oaktree/Hartree DIP to be implemented, as sufficient availability existed under the DIP Financing to meet
 the then-current needs of the Debtors, and informed the Court that Mercuria had a superior restructuring


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 proposal. After the Bankruptcy Court indicated that it would not approve the Oaktree/Hartree DIP on the
 terms proposed therein, Oaktree and Hartree indicated that they no longer supported the restructuring
 transactions contemplated by the Oaktree/Hartree RSA and were “withdrawing from the contest” to sponsor
 a chapter 11 plan of reorganization and to provide funding pursuant to the Oaktree/Hartree DIP. The
 Debtors and the Committee believe the Oaktree/Hartree RSA has been terminated by its own terms and
 also sent notices of termination to Oaktree and Hartree. Oaktree and Hartree reserved rights in connection
 therewith at a subsequent hearing before the Bankruptcy Court on December 17, 2018.

          Following the December 13, 2018 hearing, the Debtors, the Committee, and Mercuria engaged in
 negotiations regarding the terms of the restructuring proposal made by Mercuria on December 12, 2018.
 On December 15, 2018, the Debtors entered into the Restructuring Support Agreement, attached hereto as
 Exhibit C, and also continued the hearing on DIP Financing to January 14, 2019. The Restructuring
 Support Agreement is the byproduct of hard-fought, arm’s-length, good faith negotiations among the
 Debtors, Mercuria, and the Committee, and resolves all disputed issues between these parties related to DIP
 Financing, the Sale Process Motion (which has been withdrawn), the initial funding for and allocation of
 beneficial units in a litigation trust, and cash consideration to be distributed pro rata to Holders of Allowed
 Aegean Unsecured Claims. In addition, the Consenting Unsecured Noteholders, representing more than
 [59] percent in principal amount outstanding of the Unsecured Notes issued by Aegean, and AmEx, the
 largest individual non-Unsecured Noteholder unsecured creditor at Aegean, are also signatories to the
 Restructuring Support Agreement and support the transactions contemplated therewith and the Plan.

          The Plan implements the Restructuring Transactions contemplated by the Restructuring Support
 Agreement and the restructuring term sheet attached thereto. Importantly, the global settlement embodied
 in the Restructuring Support Agreement eliminates costly protracted litigation during these chapter 11 cases
 and paves the way for an efficient, cost-effective confirmation process and consummation of a
 value-maximizing transaction vis-à-vis the Plan. The Debtors urge all Holders of Claims and Interests
 entitled to vote on the Plan to vote to accept the Plan.

 VII.    SUMMARY OF THE PLAN

 THIS ARTICLE VII IS INTENDED ONLY TO PROVIDE A SUMMARY OF THE KEY TERMS,
 STRUCTURE, CLASSIFICATION, TREATMENT, AND IMPLEMENTATION OF THE PLAN,
 AND IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE ENTIRE PLAN AND
 EXHIBITS THERETO.       ALTHOUGH THE STATEMENTS CONTAINED IN THIS
 DISCLOSURE STATEMENT INCLUDE SUMMARIES OF THE PROVISIONS CONTAINED IN
 THE PLAN AND IN DOCUMENTS REFERRED TO THEREIN, THIS DISCLOSURE
 STATEMENT DOES NOT PURPORT TO BE A PRECISE OR COMPLETE STATEMENT OF
 ALL SUCH TERMS AND PROVISIONS, AND SHOULD NOT BE RELIED ON FOR A
 COMPREHENSIVE DISCUSSION OF THE PLAN. INSTEAD, REFERENCE IS MADE TO THE
 PLAN AND ALL SUCH DOCUMENTS FOR THE FULL AND COMPLETE STATEMENTS OF
 SUCH TERMS AND PROVISIONS. THE PLAN ITSELF (INCLUDING ATTACHMENTS) WILL
 CONTROL THE TREATMENT OF CREDITORS AND EQUITY SECURITY HOLDERS UNDER
 THE PLAN. TO THE EXTENT THERE ARE ANY INCONSISTENCIES BETWEEN THIS
 ARTICLE VII AND THE PLAN (INCLUDING ATTACHMENTS), THE LATTER SHALL
 GOVERN.

         A.       Overview

         Article III of the Plan provides a summary of the classification and treatment of Claims and Interests
 under the Plan and Article IV of the Plan provides a summary of the structure and means for implementation



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 of the Plan. The discussion herein is qualified in its entirety by reference to the Plan (as well as the exhibits
 thereto and the definitions therein).

         Generally speaking, the Plan contemplates, among other things, a recapitalization of the Debtors
 and the establishment of a Litigation Trust to pursue collection of the Litigation Claims and fund recoveries
 for Holders of Aegean Unsecured Claims and, potentially, Section 510(b) Claims and Interests in Aegean
 (to the extent any Litigation Trust proceeds remain following Payment in Full of Allowed Aegean
 Unsecured Claims). The Plan includes the following key terms, among others described herein and therein:

                  1.       General Settlement of Claims and Interests

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration
 for the classification, distributions, releases, and other benefits provided under the Plan, upon the Effective
 Date, the provisions of the Plan shall constitute a good faith compromise and settlement of all Claims and
 Interests and controversies resolved pursuant to the Plan, including resolution of intercompany liabilities,
 allocation of value among the Debtors, and treatment of Holders of General Unsecured Claims against each
 of the Debtors. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
 the compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by the
 Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their Estates,
 and Holders of Claims and Interests and is fair, equitable, and is within the range of reasonableness. Subject
 to Article VII of the Plan, all distributions made to Holders of Allowed Claims and Interests in any Class
 are intended to be and shall be final.

                  2.       Classification and Treatment of Claims and Interests

          Pursuant to section 1122 of the Bankruptcy Code, the Plan designates the Classes of Claims and
 Interests as set forth in Article III of the Plan and as described in Article III.C of this Disclosure Statement,
 entitled “Am I entitled to vote on the Plan?” The Plan provides that a Claim or Interest is placed in a
 particular Class for the purposes of voting on the Plan and will receive distributions pursuant to the Plan
 only to the extent that such Claim or Interest has not been paid, released, withdrawn or otherwise settled
 before the Effective Date.

          Article III.E of the Plan provides that certain of the Debtors may not have Holders of Claims or
 Interests in a particular Class or Classes, and such Classes shall be deemed eliminated for purposes of voting
 to accept or reject the Plan and for purposes of determining acceptance or rejected of the Plan by such Class
 pursuant to section 1129(a)(8) of the Bankruptcy Code.

                  3.       Recoveries to Certain Holders of Claims and Interests

        The recoveries to Holders of Claims and Interests is described in Article III.D of this Disclosure
 Statement, entitled “What will I receive from the Debtors if the Plan is consummated?”

                  4.       Restructuring Transactions

          Following the Confirmation Date or as soon as reasonably practicable thereafter, the Debtors may
 take all actions as may be necessary or appropriate as reasonably determined by the Debtors and Mercuria,
 prior to the Effective Date and thereafter the Reorganized Debtors, to effectuate any transaction described
 in, approved by, contemplated by, or necessary to effectuate or in furtherance of implementing the Plan
 (the “Restructuring Transactions”). The Restructuring Transactions may include one or more of the
 following: (1) the execution and delivery of appropriate agreements or other documents of merger,
 amalgamation, consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance,


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 dissolution, sale, purchase, or liquidation containing terms that are consistent with the terms of the Plan;
 (2) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation
 of any asset, property, right, liability, debt, or obligation on terms consistent with the terms of the Plan;
 (3) the filing of appropriate certificates or articles of incorporation, reincorporation, merger, consolidation,
 conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or other
 law; and (4) all other actions as reasonably determined by the Debtors and Mercuria to be necessary,
 including making filings or recordings that may be required by applicable law in connection with the Plan;
 provided that, the Restructuring Transactions shall not materially and adversely impact any Litigation
 Claim[; provided further, that the foregoing proviso shall not modify any rights of the Debtors and the
 Reorganized Debtors to modify their organizational documents to eliminate any indemnification
 obligations of any former officer or director not serving in such capacity on the Petition Date but solely to
 the extent such modification has no adverse impact on the ability of the Litigation Trust to obtain recovery
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 from the proceeds of the D&O Insurance Policies in connection with the Litigation Claims]. To the extent
 known, any such Restructuring Transactions may be summarized in the Description of Restructuring
 Transactions, and in all cases, such transactions shall be subject to the terms and conditions of this Plan as
 reasonably determined by the Debtors and Mercuria. The Confirmation Order shall and shall be deemed
 to, pursuant to sections 1123 and 363 of the Bankruptcy Code, authorize, among other things, all actions as
 may be necessary or appropriate to effect any transaction described in, approved by, contemplated by, or
 necessary to effectuate the Plan, including the Restructuring Transactions.

                   5.       Means for Implementation of the Plan

          Article IV of the Plan sets forth the means for implementation of the Plan, including, but not limited
 to, the issuance and distribution of Reorganized Aegean Equity Interests, the Exit Facilities (if any), and
 the establishment of the Aegean Unsecured Claims Cash Pool, while Article V of the Plan discusses the
 Litigation Trust.

                   6.       Aegean Unsecured Claims Cash Pool

          On or prior to the Effective Date, the Aegean Unsecured Claims Cash Pool shall be funded with
 Cash on hand and/or provided by Mercuria, a portion of which Cash may be deposited into a segregated
 account in connection with a Disputed Claims Reserve maintained by the Litigation Trustee as provided
 herein. On the Effective Date, such portion of the Aegean Unsecured Claims Cash Pool that is not
 segregated into the Disputed Claims Reserves shall be distributed Pro Rata by the Debtors or Reorganized
 Debtors to Holders of Allowed Aegean Unsecured Claims. After the Effective Date, the Litigation Trustee
 shall be responsible for reconciling Disputed Class 4A Aegean Unsecured Claims and distributing any
 funds in the Disputed Claims Reserve as Disputed Class 4A Aegean Unsecured Claims are compromised,
 settled, allowed, or disallowed.

                   7.       Exit Facilities

          Reorganized Aegean and one or more Reorganized Debtors may enter into Exit Financing on the
 Effective Date, as reasonably determined by the Debtors and Mercuria, on terms set forth in the Exit
 Facilities Documents. To the extent applicable, the Exit Facilities Documents shall be included in the Plan
 Supplement.




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      The Debtors, Mercuria, and the Committee continue to negotiate the extent of assumed Indemnification Obligations in
      connection with the D&O Liability Insurance Policies with respect to former directors and officers.



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          On the Effective Date, the Exit Facilities Documents (if any) shall constitute legal, valid, binding,
 and authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms. The
 financial accommodations to be extended pursuant to the Exit Facilities Documents are being extended,
 and shall be deemed to have been extended, in good faith, for legitimate business purposes, are reasonable,
 shall not be subject to avoidance, recharacterization, or subordination (including equitable subordination)
 for any purposes whatsoever, and shall not constitute preferential transfers, fraudulent conveyances, or
 other voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law. On the
 Effective Date, all of the Liens and security interests to be granted in accordance with the Exit Facilities
 Documents (if any) (1) shall be deemed to be granted, (2) shall be legal, binding, and enforceable Liens on,
 and security interests in, the collateral granted thereunder in accordance with the terms of the Exit Facilities
 Documents, (3) shall be deemed automatically perfected on the Effective Date (without any further action
 being required by the Debtors, the Reorganized Debtors, the applicable agent or any lender), having the
 priority set forth in the Exit Facilities Documents and subject only to such Liens and security interests as
 may be permitted under the Exit Facilities Documents, and (4) shall not be subject to avoidance,
 recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
 shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
 Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities granted
 such Liens and security interests are authorized to make all filings and recordings, and to obtain all
 governmental approvals and consents necessary to establish and perfect such Liens and security interests
 under the provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign)
 that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
 perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such filings,
 recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
 filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
 and security interests to third parties.

                   8.       Litigation Trust

          On the Effective Date, the Litigation Trust Funders shall fund the Litigation Trust Loan, the Debtors
 shall transfer to the Litigation Trust all of their rights, title and interest in and to all of the Litigation Claims,
 and the Litigation Trustee shall execute the Litigation Trust Agreement and take all steps necessary to
 establish the Litigation Trust in accordance with the Plan and the Litigation Trust Agreement. Such
 transfers shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use, or other similar
 tax. The Litigation Trust shall be governed by the Litigation Trust Agreement and administered by the
 Litigation Trustee in accordance therewith. In the event of any conflict between the terms of the Plan and
 the terms of the Litigation Trust Agreement, the terms of the Litigation Trust Agreement shall govern.

          The Litigation Trust shall be established for the purpose of liquidating the Litigation Trust Assets,
 distributing the Litigation Trust Loan Payments, reconciling and objecting, if necessary, to Disputed
 Aegean Unsecured Claims in Class 4A, and distributing the proceeds of the Litigation Claims to the
 Litigation Trust Beneficiaries and is intended to qualify as a liquidation trust pursuant to Treasury
 Regulation section 301.7701-4(d), with no objective to continue or engage in the conduct of a trade or
 business, except to the extent reasonably necessary and consistent with, the purpose of the Litigation Trust.

         The Litigation Trust shall be funded from the proceeds of the Litigation Trust Loan and proceeds
 of the Litigation Trust Assets. Any Holder of an Allowed Aegean Unsecured Claim that is a party to the
 Restructuring Support Agreement on or before the commencement of the Confirmation Hearing in respect
 of the Plan shall be entitled to participate in the Litigation Trust Loan, subject to the terms set forth in the
 Restructuring Support Agreement and Litigation Trust Documents. Holders of Class 4A Aegean Unsecured
 Claims will be given the option on their respective Ballot to become a party to the Restructuring Support
 Agreement and elect to participate in the funding of the Litigation Trust Loan. Holders of Class 4A Aegean

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 Unsecured Claims who validly and timely exercise their participation rights as set forth in the Disclosure
 Statement Order will be contacted after the Voting Deadline to exercise their right to fund a portion of the
 Litigation Trust Loan before the Confirmation Hearing.

         The Litigation Trust Agreement generally will provide for, among other things: (a) the payment of
 the Litigation Trust expenses; (b) the payment of other reasonable expenses of the Litigation Trust,
 including the cost of pursuing the Litigation Claims; (c) the retention of counsel, accountants, financial
 advisors or other Professionals and the payment of their reasonable compensation; (d) the investment of
 Cash by the Litigation Trustee within certain limitations, including those specified in the Plan; (e) the
 orderly liquidation of the Litigation Trust Assets; and (f) litigation of the Litigation Claims, which may
 include the prosecution, settlement, abandonment or dismissal of any such Litigation Claims.

                                   Litigation Trustee

           The Litigation Trustee shall be selected by the Committee and the Requisite Consenting Unsecured
 Noteholders acting together and shall be appointed on the Effective Date. The Litigation Trustee shall be
 compensated on terms acceptable to the Committee and the Requisite Consenting Unsecured Noteholders.
 The Litigation Trustee shall be a professional person or a financial institution having trust powers with
 experience administering other litigation trusts. The Litigation Trustee shall not have voting rights with
 respect to the governance of the Litigation Trust and shall retain professionals approved by (x) if determined
 prior to the Effective Date, a unanimous decision of the Committee and the Requisite Consenting Unsecured
 Noteholders acting together, and (y) if determined after the Effective Date, the unanimous consent of the
 Litigation Trust Advisory Board.

          The Litigation Trust Agreement shall also specify the powers, rights and responsibilities of the
 Litigation Trustee and shall include the authority and responsibility to, among other things, take the actions
 set forth in Article V of the Plan. The Litigation Trustee shall hold and distribute the Litigation Trust Assets
 in accordance with the provisions of the Plan and the Litigation Trust Agreement.

                                   Litigation Trust Advisory Board

          The Litigation Trust shall be governed by the Litigation Trust Advisory Board as set forth in the
 Litigation Trust Agreement. The Debtors or Reorganized Debtors shall be permitted to appoint a single ex
 officio member of the Litigation Trust Advisory Board who shall not have voting rights. If and when the
 holders of Class A Litigation Trust Units have received Payment in Full, the members appointed by the
 Committee and Requisite Consenting Unsecured Noteholders may be replaced by new members designated
 by holders of Class B Litigation Trust Units. The members of the Litigation Trust Advisory Board shall
 not be entitled to compensation for service on the Litigation Trust Advisory Board unless otherwise
 determined by the Committee and the Requisite Consenting Noteholders or the Litigation Trust Advisory
 Board.

                                   Litigation Trust Assets

          On the Effective Date, the Debtors shall transfer to the Litigation Trust all of their rights, title and
 interest in and to all of the Litigation Trust Claims. Pursuant to the Plan, the definition of “Litigation
 Claims” is as follows:

         •    “Litigation Claims” means all of the following claims and Causes of Action belonging to any
              of the Debtors or their Non-Debtor Subsidiaries, and existing at any time on or prior to the
              Petition Date: (a) claims and Causes of Action relating to the events, circumstances, and
              conduct described in the June 4, 2018, and November 2, 2018, Form 6-K disclosures of Aegean


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          including conduct concerning improper accounting for or recordation of accounts receivable,
          as well as the right of any of the Debtors or their Non-Debtor Subsidiaries to the proceeds of
          or recovery in any suit, prosecution, investigation, settlement, enforcement proceeding, fine,
          penalty, or other proceeding or action by any government or governmental agency in
          connection with the foregoing; (b) claims and Causes of Action relating to the construction and
          maintenance of Aegean Oil Terminal Corp.’s fuel oil terminal located in Fujairah, UAE, as
          well as the right of any of the Debtors or their Non-Debtor Subsidiaries to the proceeds of or
          recovery in any suit, prosecution, investigation, settlement, enforcement proceeding, fine,
          penalty, or other proceeding or action by any government or governmental agency in
          connection with the foregoing; (c) claims and Causes of Action relating to misstated accounting
          records, fraudulent misappropriation of funds by Dimitris Melissanidis, claims against auditors
          and other professionals related to misappropriation of funds, any related conspiracy to defraud
          Aegean or investors in Aegean, claims against Quality Solutions related to construction fraud
          or other fraud, misconduct, malpractice, or other malfeasance by any director, officer,
          employee, or agent of any of the Debtors or their Non-Debtor Subsidiaries in connection with
          any of the foregoing; (d) claims and Causes of Action brought by any of the Debtors or their
          Non-Debtor Subsidiaries, as Plaintiffs, against Hess Corporation, as Defendant, commenced in
          the Supreme Court of the State of New York, County of New York: Part 39, Index Number
          653887/2014, including any appeals in connection with the foregoing; (e) claims and Causes
          of Action concerning unpaid invoices for marine fuels supplied through agreements entered
          into with O.W. Group and any affiliate thereof; (f) claims and Causes of Action concerning
          HSFO product loaded from Petrotrin in Trinidad in December 2016; (g) claims and Causes of
          Action arising from the repurchase of any equity interests in Aegean; (h) claims and Causes of
          Action against any of any of the Debtors’ or their Non-Debtor Subsidiaries’ directors or officers
          or other person covered by applicable D&O Liability Insurance Policies, including for breach
          of fiduciary duty; (i) [Reserved] ; (j) claims and Causes of Action of any of the Debtors or their
          Non-Debtor Subsidiaries in connection with the Related Party Transactions described in the
          Form 20-F of Aegean for the fiscal year ended December 31, 2016; and (k) Avoidance Actions,
          with the exception of claims and Causes of Action to avoid and recover preferential transfers
          pursuant to Bankruptcy Code section 547; provided, however, that, notwithstanding anything
          to the contrary contained herein, the scope of “Litigation Claims” shall be expressly subject to
          the limitations set forth in Article IX.F of the Plan. The “Litigation Claims” shall not include
          any Cause of Action that is not identified in clauses (a) - (k) of the foregoing sentence or any
          Cause of Action against Mercuria, David Gallagher, any Reorganized Debtor or Non-Debtor
          Subsidiary, or any other parties or entities described in the first sentence of the second
          paragraph of Article IX. F of the Plan.

      For reference, certain of the Litigation Claims are briefly summarized below.

      •   The Debtors’ litigation against Hess Corporation is currently on appeal following an August 3,
          2018 judgment pursuant to which the presiding justice of the New York Supreme Court
          declined to award the Debtors any damages. In its complaint (as amended), the Debtors
          asserted claims against Hess Corporation arising out of the purchase and sale agreement
          executed on November 12, 2013 among the parties, and sought compensatory damages in the
          amount of $27.9 million, plus interest, reasonable attorneys’ fees, costs, and disbursements.

      •   The Debtors have certain ongoing litigation related to unpaid invoices for marine fuels supplied
          through agreements entered into with O.W. Group and affiliates. This litigation is currently
          pending in courts in Greece and the United States, with certain of the claims in Greece on
          appeal following the rejection of the Debtors’ claims. The Debtors reached final settlement or


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             judgment with regard to certain claims prior to the Petition Date. Asserted claims for active
             matters total approximately $3.0 million.

         •   The Debtors’ claims for reimbursement against the Petroleum Company of Trinidad and
             Tobago Limited, or Petrotrin, the state-owned oil company of the Republic of Trinidad and
             Tobago, relate to off-spec marine fuel supplied by Petrotrin to certain of the Debtors’ vessels
             in December 2016. This off-spec marine fuel was supplied to certain of the Debtors’ customers,
             who thereafter submitted claims to the Debtors. The Debtors seek reimbursement from
             Petrotrin for approximately $700,000 paid by the Debtors to their customers related to
             Petrotrin’s delivery of the off-spec marine fuel.

          As soon as reasonably practicable following the establishment of the Litigation Trust, the Litigation
 Trustee shall determine the value of the assets transferred to the Litigation Trust, based on the good-faith
 determination of the Litigation Trust Advisory Board, and the Litigation Trustee shall apprise, in writing,
 the Litigation Trust Beneficiaries of such valuation. The valuation shall be used consistently by all parties
 (including the Litigation Trustee and the Litigation Trust Beneficiaries) for all federal income tax purposes.

          In connection with the preparation of the valuation contemplated by the Plan and the Litigation
 Trust Agreement, the Litigation Trust shall be entitled to retain such professionals and advisors as the
 Litigation Trust shall determine to be appropriate or necessary, subject to the direction of the Litigation
 Trust Advisory Board, and the Litigation Trustee shall take such other actions in connection therewith as it
 determines to be appropriate or necessary. The Litigation Trust shall bear all of the reasonable costs and
 expenses incurred in connection with determining such value, including the fees and expenses of any
 professionals retained in connection therewith.

                                  Cooperation of the Reorganized Debtors

          To effectively investigate, prosecute, compromise, and/or settle the Litigation Claims on behalf of
 the Litigation Trust, the Litigation Trustee and its counsel may require reasonable access to the Debtors’
 and Reorganized Debtors’ documents, information and work product relating to the Litigation Trust Assets,
 and, in such event, must be able to exchange such information with the Reorganized Debtors on a
 confidential basis and as protected by the common interest privilege without being restricted by or waiving
 any applicable work product, attorney-client, or other privilege. Accordingly, the Litigation Trust
 Agreement shall provide for the Litigation Trust to have reasonable access to copies of the Debtors’ and
 Reorganized Debtors’ records and information relating to the Litigation Trust Assets, including, electronic
 records, documents or work product related to the Litigation Claims, to the extent consistent with applicable
 law, but shall further provide that any records or information so shared shall continue to be protected by
 the attorney-client, work product, or common interest privilege and the Litigation Trust’s access thereto
 shall not waive any of the Debtors’, the Reorganized Debtors’, or Mercuria’s privileges or similar
 protections referenced in this paragraph. The Litigation Trust Agreement shall also provide that the
 Litigation Trust may not waive any privileges referenced in this paragraph belonging to or shared with the
 Debtors, the Reorganized Debtors, or Mercuria in respect of such records and documents, and that the
 Debtors, the Reorganized Debtors, and Mercuria shall be provided with reasonable notice and an
 opportunity to protect their rights with respect to any subsequent disclosure and the terms of any protective
 order, confidentiality stipulation, or similar agreement relating to such disclosure.

         The Reorganized Debtors shall preserve all records, documents or work product (including all
 electronic records, documents or work product) related to the Litigation Claims until the earlier of (1) such
 time as the Litigation Trustee notifies the Reorganized Debtors in writing that such records are no longer
 required to be preserved, or (2) the termination of the Litigation Trust. The Reorganized Debtors shall
 reasonably cooperate with the Litigation Trustee with reasonable requests for interviews of current and


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 former officers, directors, employees, and professionals of the Debtors in order to facilitate prosecution of
 the Litigation Claims; provided, however, that the Reorganized Debtors shall be reimbursed for any
 reasonable and documented out-of-pocket expenses in connection with such cooperation.

                                    Fiduciary Duties

          The Litigation Trustee and each member of the Litigation Trust Advisory Board shall owe fiduciary
 duties to the holders of Litigation Trust Interests of the type that an official committee of unsecured creditors
 would owe to unsecured creditors, and shall have in place under the Litigation Trust Agreement applicable
 indemnity and waiver provisions to protect the Litigation Trustee and each member of the Litigation Trust
 Advisory Board from being personally liable for any claims or causes of action asserted by the Holders of
 Litigation Trust Interests, except for any clams of fraud, gross negligence, or willful misconduct.

                                    Securities Law Considerations

          Litigation Trust Interests shall be passive and shall not have voting, consent or other
 shareholder-like control rights with respect to the Litigation Trust. Litigation Trust Interests may be
 structured not to be securities and may or may not be transferable, in each case subject to applicable law
 and as otherwise determined (x) prior to the Effective Date, by the Committee and the Requisite Consenting
 Unsecured Noteholders, or (y) after the Effective Date, by the Litigation Trust Advisory Board as provided
 in the Litigation Trust Agreement.

                                    Tax Treatment

           For all U.S. federal income tax purposes, all parties (including the Aegean Parties, the Litigation
 Trustee and the Litigation Trust Beneficiaries) shall treat the transfer of the Litigation Trust Assets to the
 Litigation Trust for the benefit of the Litigation Trust Beneficiaries, whether their Claims are Allowed on
 or after the Effective Date, including any amounts or other assets subsequently transferred to the Litigation
 Trust (but only at such time as actually transferred) as (i) a transfer of the Litigation Trust Assets (subject
 to any obligations relating to such Litigation Trust Assets) directly to the Litigation Trust Beneficiaries and,
 to the extent the Litigation Trust Assets are allocable to Disputed Class 4A Claims that are the responsibility
 of the Litigation Trust to resolve, to the Disputed Claims Reserve, followed by (ii) the transfer by the
 Litigation Trust Beneficiaries to the Litigation Trust of the Litigation Trust Assets (other than the Litigation
 Trust Assets allocable to the Disputed Claims Reserve) in exchange for Litigation Trust Interests.
 Accordingly, the Litigation Trust Beneficiaries shall be treated for U.S. federal income tax purposes as the
 grantors and owners of their respective share of the Litigation Trust Assets (other than such Litigation Trust
 Assets as are allocable to the Disputed Claims Reserve). The foregoing treatment shall also apply, to the
 extent permitted by applicable law, for state and local income tax purposes.

          Subject to contrary definitive guidance from the Internal Revenue Service or a court of competent
 jurisdiction (including the receipt by the Litigation Trustee of a private letter ruling if the Litigation Trustee
 so requests, or the receipt of an adverse determination by the Internal Revenue Service upon audit if not
 contested by the Litigation Trustee), the Litigation Trustee may (A) timely elect to treat any Disputed
 Claims Reserve as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and
 (B) to the extent permitted by applicable law, report consistently with the foregoing for state and local
 income tax purposes. The Litigation Trust, the Litigation Trustee and the Litigation Trust Beneficiaries
 shall report for U.S. federal, state and local income tax purposes consistently with the foregoing.




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                                          Distribution to Litigation Trust Beneficiaries

         Distributions of proceeds from the Litigation Claims shall be made by the Litigation Trustee
 according to the following priorities:

           •    First, to the Litigation Trust Funders to repay the Litigation Trust Loan plus the Litigation
                Trust Funding Fee.

           •    Second, on a Pro Rata basis to the holders of Class A Litigation Trust Units until such Holders
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                receive Payment in Full.

           •    Third, on a Pro Rata basis to the holders of Class B Litigation Trust Units.

          Notwithstanding the foregoing, after repayment in full of the Litigation Trust Loan and the
 Litigation Trust Funding Fee, the Litigation Trust Advisory Board in the exercise of its business judgment
 may elect to withhold proceeds from the prosecution or settlement of Litigation Claims to pay reasonable
 projected costs and expenses of the Litigation Trust. For the avoidance of doubt, the Litigation Trustee
 may pay accrued and unpaid reasonable and documented expenses of the Litigation Trust with proceeds of
 the Litigation Trust Loan prior to the receipt of any proceeds from any Litigation Claims.

          The Litigation Trustee may deduct and withhold and pay to the appropriate taxing authority all
 amounts required to be deducted or withheld pursuant to the Tax Code or any provision of any state, local
 or non-U.S. tax law with respect to any payment or distribution to the Litigation Trust Beneficiaries.
 Notwithstanding the above, each holder of an Allowed Claim that is to receive a distribution under the Plan
 shall have the sole and exclusive responsibility for the satisfaction and payment of any taxes imposed on
 such holder by any governmental authority, including income, withholding and other tax obligations, on
 account of such distribution. All such amounts withheld and paid to the appropriate taxing authority shall
 be treated as amounts distributed to such Litigation Trust Beneficiaries for all purposes of this Agreement.
 The Litigation Trustee shall be authorized to collect such tax information from the Litigation Trust
 Beneficiaries (including social security numbers or other tax identification numbers) as it, in its sole
 discretion, deems necessary to effectuate the Plan, the Confirmation Order and the Litigation Trust
 Agreement. As a condition to receive distributions under the Plan, all Litigation Trust Beneficiaries will
 need to identify themselves to the Litigation Trustee and provide tax information and the specifics of their
 holdings, to the extent the Litigation Trustee deems appropriate, including an IRS Form W-9 or, in the case
 of Litigation Trust Beneficiaries that are not United States persons for federal income tax purposes,
 certification of foreign status on an applicable IRS Form W-8. This identification requirement may, in
 certain cases, extend to holders who hold their securities in street name. The Litigation Trustee may refuse
 to make a distribution to any Litigation Trust Beneficiary that fails to furnish such information in a timely
 fashion, until such information is delivered; provided, however, that, upon the delivery of such information
 by a Litigation Trust Beneficiary, the Litigation Trustee shall make such distribution to which the Litigation
 Trust Beneficiary is entitled, without interest; and, provided, further, that, if the Litigation Trustee fails to
 withhold in respect of amounts received or distributable with respect to any such holder and the Litigation
 Trustee is later held liable for the amount of such withholding, such holder shall reimburse the Litigation
 Trustee for such liability. If the holder fails to comply with such a request for tax information within 180
 days, the Litigation Trustee shall file a document with the Bankruptcy Court that will provide 21 days’


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      Article I.112 of the Plan defines Payment in Full as “payment in full of each Allowed Aegean Unsecured Claim, including
      postpetition interest at the applicable default contract rate for the period from the Petition Date through the Effective Date and
      if no such contract rate exists, at the federal judgment rate plus fees, costs, and expenses under such contract, if applicable.”



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 notice before such distribution shall be deemed an unclaimed distribution and treated in accordance with
 Article VII.D.5 of the Plan.

         B.      Treatment of Executory Contract and Unexpired Leases

                 1.       Assumption and Rejection of Executory Contract and Unexpired Leases

         On the Effective Date, except as otherwise provided in the Plan, all Executory Contracts or
 Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
 Reorganized Debtor in accordance with the provisions and requirements of sections 365 and 1123 of the
 Bankruptcy Code, other than: (a) those that are identified on the Rejected Executory Contracts and
 Unexpired Leases Schedule; (b) those that have been previously rejected by a Final Order; (c) those that
 have been previously assumed by a Final Order; (d) those that are the subject of a motion to reject Executory
 Contracts or Unexpired Leases that is pending on the Confirmation Date; or (e) those that are subject to a
 motion to reject an Executory Contract or Unexpired Lease pursuant to which the requested effective date
 of such rejection is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
 assumptions, assumptions and assignments, or rejections of such Executory Contracts or Unexpired Leases
 as set forth in the Plan, the Rejected Executory Contracts and Unexpired Leases Schedule, pursuant to
 sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set forth herein,
 assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
 as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by
 Bankruptcy Court order but not assigned to a third party before the Effective Date shall re-vest in and be
 fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms, except as
 such terms may have been modified by the provisions of the Plan or any order of the Bankruptcy Court
 authorizing and providing for its assumption under applicable federal law. To the extent any provision in
 any Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports
 to restrict or prevent, or is breached or deemed breached by, the assumption of such Executory Contract or
 Unexpired Lease (including any “change of control”, “assignment”, or similar provision), then such
 provision shall be deemed modified such that the transactions contemplated by the Plan, including the
 Restructuring Transactions shall not entitle the non-Debtor party thereto to terminate such Executory
 Contract or Unexpired Lease or to exercise any other default, breach, violation or acceleration rights with
 respect thereto. For the avoidance of doubt, no Restructuring Transaction shall be deemed to violate the
 terms of any assumed Unexpired Lease of non-residential real property. Any motions to assume Executory
 Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval by a Final Order
 of the Bankruptcy Court on or after the Effective Date but may be withdrawn, settled, or otherwise
 prosecuted by the Reorganized Debtors.

         The Debtors, with the reasonable consent of Mercuria, or the Reorganized Debtors, as applicable,
 may alter, amend, modify, or supplement the Rejected Executory Contracts and Unexpired Leases
 Schedules (each, an “Amended Rejected Executory Contracts and Unexpired Leases Schedule”) at any time
 through and including the date that is sixty (60) days after the Effective Date, which amended schedule
 shall be Filed with the Bankruptcy Court; provided, however, after the Effective Date, the Reorganized
 Debtors may not alter, amend, modify, or supplement the Rejected Executory Contracts and Unexpired
 Leases with respect to Executory Contracts or Unexpired Leases of Aegean without the reasonable consent
 of the Litigation Trustee. The Debtors or Reorganized Debtors, as applicable, shall provide notice of any
 amendments to the Amended Rejected Executory Contracts and Unexpired Leases Schedule to the parties
 to the Executory Contracts or Unexpired Leases affected thereby.




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          Any objection to the assumption or rejection of an Executory Contract or Unexpired Lease under
 the Plan must be Filed with the Bankruptcy Court, served, and actually received by the Debtors on or before
 the deadline to object to Confirmation or, in the case of an Executory Contract or Unexpired Lease that is
 identified on any Amended Rejected Executory Contract and Unexpired Lease Schedule, on the date that
 is fourteen (14) days following the Filing of such amended schedule. Any counterparty to an Executory
 Contract or Unexpired Lease that fails to timely object to the proposed assumption, including any proposed
 cure amount, of any Executory Contract or Unexpired Lease will be deemed to have consented to such
 assumption, including any proposed cure amount.

                 2.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or
 Unexpired Leases, if any, must be filed with the Bankruptcy Court within thirty (30) days after the date of
 entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection.
 Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed within
 such time will be disallowed upon an order of the Bankruptcy Court, forever barred from assertion,
 and shall not be enforceable against, as applicable, the Debtors, the Reorganized Debtors, the Estates,
 the Litigation Trust, or property of the foregoing parties, without the need for any objection by the
 Debtors or the Reorganized Debtors, as applicable, or further notice to, or action, order, or approval
 of the Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the
 Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and discharged,
 notwithstanding anything in the Schedules, if any, or a Proof of Claim to the contrary. Claims arising
 from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
 Unsecured Claims and shall be treated in accordance with Article III of the Plan.

                 3.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

          The Debtors or the Reorganized Debtors, as applicable, shall pay Cure Claims, if any, on the
 Effective Date or as soon as reasonably practicable thereafter, or on such other terms as the parties to such
 Executory Contracts or Unexpired Leases may otherwise agree. Any Cure Claim shall be deemed fully
 satisfied, released, and discharged upon payment by the Debtors or the Reorganized Debtors of such Cure
 Claim, as applicable; provided that nothing herein shall prevent the Reorganized Debtors, from paying any
 Cure Claim despite the failure of the relevant counterparty to file such request for payment of such Cure
 Claim. The Reorganized Debtors may settle any Cure Claim on account of any Executory Contract or
 Unexpired Lease without any further notice to or action, order, or approval of the Bankruptcy Court.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
 result in the full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
 including defaults of provisions restricting the change in control or ownership interest composition or other
 bankruptcy-related defaults, arising under any Assumed Executory Contract or Unexpired Lease at any
 time before the date that the Debtors assume such Executory Contract or Unexpired Lease. Any Proofs of
 Claim Filed with respect to an Executory Contract or Unexpired Lease that has been assumed shall be
 deemed disallowed and expunged, without further notice to or action, order, or approval of the Bankruptcy
 Court.

                 4.       Dispute Resolution

         In the event of a dispute between the Debtors and a non-Debtor counterparty to any Executory
 Contract or Unexpired Lease to be assumed or assumed and assigned regarding (a) the amount of any Cure
 Claim, (b) the ability of the Reorganized Debtors or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract


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 or Unexpired Lease to be assumed, or (c) any other matter pertaining to assumption, assumption and
 assignment or the cure payments required by section 365(b)(1) of the Bankruptcy Code, such dispute shall
 be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation Order) or as may
 be agreed upon in writing by the Debtors, with the reasonable consent of Mercuria, or the Reorganized
 Debtors, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. Cure payments
 required by section 365(b)(1) of the Bankruptcy Code shall be made following: (i) the entry of a Final
 Order or orders resolving the dispute and approving the assumption or assumption and assignment, which
 Final Order or orders may, for the avoidance of doubt, be entered (and any related hearing may be held)
 after the Effective Date, or (ii) upon the written, consensual resolution between the counterparty to any
 Executory Contract or Unexpired Lease and the Debtors or Reorganized Debtors, as applicable. The
 Debtors, with the reasonable consent of Mercuria, or Reorganized Debtors, as applicable, reserve the right
 to reject any Executory Contract or Unexpired Lease in resolution of any cure disputes. If the Bankruptcy
 Court determines that the Allowed Cure Claim with respect to any Executory Contract or Unexpired Lease
 is greater than the amount set forth in the applicable Cure Notice, the Debtors, with the reasonable consent
 of Mercuria, or Reorganized Debtors, as applicable, will have the right to add such Executory Contract or
 Unexpired Lease to the Rejected Executory Contracts and Unexpired Leases Schedule, in which case such
 Executory Contract or Unexpired Lease will be deemed rejected as of the Effective Date; provided,
 however, the Reorganized Debtors may not add an Executory Contract or Unexpired Lease of Aegean to
 the Rejected Executory Contracts and Unexpired Leases Schedule after the Effective Date without the
 reasonable consent of the Litigation Trustee.

                 5.      Indemnification Obligations

         Except as otherwise provided herein or identified on the Rejected Executory Contracts and
 Unexpired Leases Schedule, each Indemnification Obligation shall be assumed by the applicable Debtor,
 effective as of the Effective Date, pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise,
 shall remain in full force and effect, shall not be modified, reduced, discharged, impaired, or otherwise
 affected in any way, and shall survive Unimpaired and unaffected, irrespective of when such obligation
 arose.

         The Debtors shall assume the Indemnification Obligations for the current directors, officers,
 managers, employees, and other professionals of the Debtors, in their capacities as such. Notwithstanding
 the foregoing, nothing shall impair the ability of Reorganized Debtors to modify indemnification
 obligations (whether in the bylaws, certificates of incorporation or formation, limited liability company
 agreements, other organizational or formation documents, board resolutions, indemnification agreements,
 employment contracts, or otherwise) arising after the Effective Date; provided that none of the Reorganized
 Debtors shall amend or restate any Reorganized Aegean Organizational Documents before or after the
 Effective Date to terminate or adversely affect any of the Indemnification Obligations.

                 6.      Collective Bargaining Agreements

         All of the Debtors’ collective bargaining agreements and any agreements, documents, or
 instruments relating thereto, are treated as and deemed to be Executory Contracts under the Plan. On the
 Effective Date, the Debtors shall be deemed to have assumed all such agreements.

                 7.      Modifications, Amendments, Supplements, Restatements, or Other
                         Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed
 shall include all modifications, amendments, supplements, restatements, or other agreements that in any
 manner affect such Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases


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 related thereto, if any, including easements, licenses, permits, rights, privileges, immunities, options, rights
 of first refusal, and any other interests, unless any of the foregoing agreements has been previously rejected
 or repudiated or is rejected or repudiated under the Plan.

          Modifications, amendments, and supplements to, or restatements of, prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall
 not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
 priority, or amount of any Claims that may arise in connection therewith.

                  8.      Reservation of Rights

          Neither the inclusion of any Executory Contract or Unexpired Lease on the Debtors’ schedules of
 assets, or the Rejected Executory Contracts and Unexpired Leases Schedule, nor anything contained in the
 Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact an Executory
 Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If there is a
 dispute regarding whether a contract or lease is or was executory or unexpired at the time of assumption or
 rejection, the Debtors, or, after the Effective Date, the Reorganized Debtors, shall have thirty (30) days
 following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease.

                  9.      Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
 with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases of
 nonresidential real property pursuant to section 365(d)(4) of the Bankruptcy Code.

         C.       Releases

          The Plan contains certain releases, as described in Article III.K of this Disclosure Statement,
 entitled “Will there be releases and exculpation granted to parties in interest as part of the Plan?“ The
 release, exculpation, and injunction provisions that are contained in Article IX of the Plan are copied in
 pertinent part below.

                  1.      Release of Liens

          Except (a) with respect to the Liens securing the Exit Facilities (if any), and to the extent elected
 by the Debtors, in consultation with Mercuria, with respect to an Allowed Other Secured Claim in
 accordance with Article III.B.1, of the Plan or (b) as otherwise provided in the Plan or in any contract,
 instrument, release, or other agreement or document created pursuant to the Plan, on the Effective Date, all
 mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates,
 other than the Liens and security interests securing the DIP Facilities which, if not otherwise paid in full in
 Cash, shall remain in full force and effect and shall secure all obligations arising under, shall be fully
 released and discharged, and the holders of such mortgages, deeds of trust, Liens, pledges, or other security
 interests shall execute such documents as may be reasonably requested by the Debtors or the Reorganized
 Debtors, as applicable, to reflect or effectuate such releases, and all of the right, title, and interest of any
 holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the
 Reorganized Debtor and its successors and assigns.

                  2.      Debtor Release

       EFFECTIVE AS OF THE EFFECTIVE DATE, AND EXCEPT AS OTHERWISE
 SPECIFICALLY PROVIDED IN THE PLAN, PURSUANT TO SECTION 1123(B) OF THE


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 BANKRUPTCY CODE, FOR GOOD AND VALUABLE CONSIDERATION, ON AND AFTER
 THE EFFECTIVE DATE, EACH RELEASED PARTY IS DEEMED RELEASED AND
 DISCHARGED BY THE DEBTORS, THE REORGANIZED DEBTORS, AND THEIR ESTATES
 FROM ANY AND ALL CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
 INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED BY OR ON BEHALF OF THE
 DEBTORS, THAT THE DEBTORS, THE REORGANIZED DEBTORS, OR THEIR ESTATES
 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT
 (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF
 ANY CLAIM AGAINST, OR INTEREST IN, A DEBTOR OR OTHER ENTITY, BASED ON OR
 RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART:
 (I) THE DEBTORS (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION
 THEREOF), THE DEBTORS’ IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS,
 INTERCOMPANY       TRANSACTIONS,    THE    FORMULATION,      PREPARATION,
 DISSEMINATION, NEGOTIATION, ENTRY INTO, OR FILING OF THE RESTRUCTURING
 TRANSACTIONS; (II) ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT,
 RELEASE, OR OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING LEGAL
 OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT,
 INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN
 OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE CONFIRMATION
 ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED INTO IN
 CONNECTION WITH THE DISCLOSURE STATEMENT OR THE PLAN; (III) THE CHAPTER
 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF THE CHAPTER 11
 CASES, THE RESTRUCTURING SUPPORT AGREEMENT, THE PURSUIT OF
 CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE
 PLAN OR ANY OTHER RELATED AGREEMENT; OR (IV) ANY OTHER ACT OR OMISSION,
 TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON
 OR BEFORE THE EFFECTIVE DATE.        NOTWITHSTANDING ANYTHING TO THE
 CONTRARY IN THE FOREGOING OR IN THE PLAN, OTHER THAN WITH RESPECT TO
 THE REORGANIZED DEBTORS AND THE NON-DEBTOR SUBSIDIARIES THEMSELVES,
 THE RELEASES SET FORTH ABOVE WILL NOT RELEASE (I) ANY LITIGATION CLAIMS
 (SUBJECT TO THE LIMITATIONS SET FORTH IN ARTICLE IX.F OF THE PLAN), OR (II)
 ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE
 PLAN, ANY TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
 (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
 IMPLEMENT THE PLAN. THE DEBTOR RELEASE DOES NOT WAIVE OR RELEASE ANY
 RIGHT, CLAIM, OR CAUSE OF ACTION (A) IN FAVOR OF ANY DEBTOR OR
 REORGANIZED DEBTOR, AS APPLICABLE, ARISING UNDER ANY CONTRACTUAL
 OBLIGATION OWED TO SUCH DEBTOR OR REORGANIZED DEBTOR NOT SATISFIED OR
 DISCHARGED UNDER THE PLAN OR (B) AS EXPRESSLY SET FORTH IN THE PLAN OR
 THE PLAN SUPPLEMENT.

               3.      Third Party Release

       EFFECTIVE AS OF THE EFFECTIVE DATE, AND EXCEPT AS OTHERWISE
 SPECIFICALLY PROVIDED IN THE PLAN, EACH RELEASING PARTY IS DEEMED TO
 HAVE RELEASED AND DISCHARGED EACH DEBTOR, REORGANIZED DEBTOR, AND
 RELEASED PARTY FROM ANY AND ALL CAUSES OF ACTION, WHETHER KNOWN OR
 UNKNOWN, INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED ON BEHALF OF THE
 DEBTORS, THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
 (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN

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 ANY MANNER ARISING FROM, IN WHOLE OR IN PART: (I) THE DEBTORS, THE
 DEBTORS’ IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS, OR INTERCOMPANY
 TRANSACTIONS; (II) ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT,
 RELEASE, OR OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING A LEGAL
 OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT,
 INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN
 OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE CONFIRMATION
 ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED INTO IN
 CONNECTION WITH THE DISCLOSURE STATEMENT OR THE PLAN; (III) THE CHAPTER
 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF THE CHAPTER 11
 CASES, THE RESTRUCTURING SUPPORT AGREEMENT, THE PURSUIT OF
 CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE
 PLAN OR ANY OTHER RELATED AGREEMENT; OR (IV) UPON ANY OTHER ACT, OR
 OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
 PLACE ON OR BEFORE THE EFFECTIVE DATE. NOTWITHSTANDING ANYTHING TO
 THE CONTRARY IN THE FOREGOING OR IN THE PLAN, OTHER THAN WITH RESPECT
 TO THE REORGANIZED DEBTORS AND THE NON-DEBTOR SUBSIDIARIES
 THEMSELVES, THE RELEASES SET FORTH ABOVE SHALL NOT RELEASE (I) ANY
 LITIGATION CLAIMS (SUBJECT TO THE LIMITATIONS SET FORTH IN ARTICLE IX.F OF
 THE PLAN) OR (II) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR
 ENTITY UNDER THE PLAN, ANY TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR
 AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED
 TO IMPLEMENT THE PLAN.

               4.      Exculpation

      EFFECTIVE AS OF THE EFFECTIVE DATE, TO THE FULLEST EXTENT
 PERMISSIBLE UNDER APPLICABLE LAW AND WITHOUT AFFECTING OR LIMITING
 EITHER THE DEBTOR RELEASE OR THE THIRD-PARTY RELEASE, AND EXCEPT AS
 OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO EXCULPATED PARTY SHALL
 HAVE OR INCUR, AND EACH EXCULPATED PARTY IS HEREBY RELEASED AND
 EXCULPATED FROM ANY CAUSE OF ACTION FOR ANY CLAIM RELATED TO ANY ACT
 OR OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF, THE
 CHAPTER 11 CASES, THE RESTRUCTURING SUPPORT AGREEMENT, THE DISCLOSURE
 STATEMENT, THE PLAN, THE PLAN SUPPLEMENT, OR ANY RESTRUCTURING
 TRANSACTION, CONTRACT, INSTRUMENT, RELEASE OR OTHER AGREEMENT OR
 DOCUMENT (INCLUDING PROVIDING ANY LEGAL OPINION REQUESTED BY ANY
 ENTITY REGARDING ANY TRANSACTION, CONTRACT, INSTRUMENT, DOCUMENT, OR
 OTHER AGREEMENT CONTEMPLATED BY THE PLAN OR THE RELIANCE BY ANY
 EXCULPATED PARTY ON THE PLAN OR THE CONFIRMATION ORDER IN LIEU OF SUCH
 LEGAL OPINION) CREATED OR ENTERED INTO IN CONNECTION WITH THE
 DISCLOSURE STATEMENT OR THE PLAN, THE FILING OF THE CHAPTER 11 CASES, THE
 PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
 ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE
 OF SECURITIES PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, EXCEPT FOR CLAIMS
 RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL ORDER TO
 HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
 REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR

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 DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN. THE EXCULPATED PARTIES
 HAVE, AND UPON COMPLETION OF THE PLAN SHALL BE DEEMED TO HAVE,
 PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE LAWS
 WITH REGARD TO THE SOLICITATION OF, AND DISTRIBUTION OF, CONSIDERATION
 PURSUANT TO THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH
 DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
 APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION OF
 ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE
 PURSUANT TO THE PLAN. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
 FOREGOING OR IN THE PLAN, OTHER THAN WITH RESPECT TO THE REORGANIZED
 DEBTORS AND THE NON-DEBTOR SUBSIDIARIES THEMSELVES, THE EXCULPATION
 SET FORTH ABOVE SHALL NOT RELEASE OR BE AN EXCULPATION WITH RESPECT TO
 (I) ANY LITIGATION CLAIMS (SUBJECT TO THE LIMITATIONS SET FORTH IN ARTICLE
 IX.F OF THE PLAN), OR (II) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY
 OR ENTITY UNDER THE PLAN, ANY TRANSACTION, OR ANY DOCUMENT, INSTRUMENT,
 OR AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT)
 EXECUTED TO IMPLEMENT THE PLAN.

               5.      Injunction

         EFFECTIVE AS OF THE EFFECTIVE DATE, PURSUANT TO SECTION 524(A) OF THE
 BANKRUPTCY CODE, TO THE FULLEST EXTENT PERMISSIBLE UNDER APPLICABLE
 LAW, AND EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
 OBLIGATIONS ISSUED OR REQUIRED TO BE PAID PURSUANT TO THE PLAN OR THE
 CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD, HOLD, OR MAY HOLD
 CLAIMS OR INTERESTS THAT HAVE BEEN RELEASED, DISCHARGED, OR ARE SUBJECT
 TO EXCULPATION ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE
 DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE,
 THE DEBTORS, THE REORGANIZED DEBTORS, THE EXCULPATED PARTIES, OR THE
 RELEASED PARTIES: (I) COMMENCING OR CONTINUING IN ANY MANNER ANY
 ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
 WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
 ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
 JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF
 OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
 (III) CREATING, PERFECTING, OR ENFORCING ANY LIEN OR ENCUMBRANCE OF ANY
 KIND AGAINST SUCH ENTITIES OR THE PROPERTY OR THE ESTATES OF SUCH
 ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
 SUCH CLAIMS OR INTERESTS; (IV) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION,
 OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
 ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
 CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS UNLESS
 SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED
 WITH THE BANKRUPTCY COURT EXPLICITLY PRESERVING SUCH SETOFF, AND
 NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT
 SUCH ENTITY ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF
 PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
 CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
 INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN. NOTWITHSTANDING
 ANYTHING TO THE CONTRARY IN THE FOREGOING OR IN THE PLAN, THE

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 INJUNCTION SET FORTH ABOVE SHALL NOT ENJOIN ANY LITIGATION CLAIMS
 (SUBJECT TO THE LIMITATIONS SET FORTH IN ARTICLE IX.F OF THE PLAN). FOR THE
 AVOIDANCE OF DOUBT, ANY CAUSES OF ACTION AGAINST MERCURIA, DAVID
 GALLAGHER, THE REORGANIZED DEBTORS OR THEIR NON-DEBTOR SUBSIDIARIES,
 OR ANY OTHER PARTY OR ENTITY DESCRIBED IN THE FIRST SENTENCE OF THE
 SECOND PARAGRAPH OF ARTICLE IX.F OF THE PLAN THAT OTHERWISE COULD HAVE
 BEEN COMMENCED, CONTINUED, OR OTHERWISE PROSECUTED OR PURSUED BY THE
 LITIGATION TRUST SHALL BE SUBJECT TO THE TERMS OF THE INJUNCTION IN THIS
 ARTICLE IX.E OF THE PLAN.

                 6.       Limitations with Respect to Litigation Claims

          The Debtor Release (Article IX.B of the Plan), Third Party Release (Article IX.C of the Plan), and
 Exculpation (Article IX.D of the Plan) are each subject to a carve out in respect of the Litigation Claims in
 the last sentence of each such provision (collectively, the “Litigation Claims Carve Out”). The Litigation
 Claims, as described in greater detail herein, shall be transferred to, reviewed by, and, potentially,
 prosecuted by the Litigation Trust as part of the global settlement reached by and among the Debtors,
 Mercuria, the Committee, the Consenting Unsecured Noteholders, AmEx, and any other party that joins the
 Restructuring Support Agreement. Notwithstanding anything to the contrary contained herein, the scope
 of the Litigation Claims Carve Out is set forth in Article IX.F of the Plan.

          The Litigation Claims Carve Out shall not extend to, limit, or otherwise modify the scope of the
 Debtor Release, Third Party Release, and Exculpation in relation to (1) Mercuria and each of its current and
 former directors, officers, members, employees, partners, managers, independent contractors, agents,
 representatives, principals, professionals, consultants, financial advisors, attorneys, accountants,
 investment bankers, and other professional advisors, each solely in their capacities as such, (2) David
 Gallagher, (3) any other current officer or director of the Debtors that began working for the Debtors after
 May 1, 2018, (4) each of the Debtors’ employees, partners, managers, independent contractors, agents,
 representatives, principals, professionals, consultants, financial advisors, attorneys, accountants,
 investment bankers, and other professional advisors that began working after May 1, 2018, or (5) the
 Professionals, excluding Professionals retained pursuant to the Order Authorizing the Retention and
 Compensation of Professionals Utilized in the Ordinary Course of Business [Docket No. 157]; provided,
 that, for the avoidance of doubt, each such entity or party referred to in subparts (1) - (5) are “Released
 Parties” and “Exculpated Parties” under this Plan. With respect to any current officer or director that began
 working for the Debtors before May 1, 2018, the Litigation Claims Carve Out shall modify the Debtor
 Release, Third Party, and Exculpation solely with respect to Litigation Claims, if any, against such parties
 for gross negligence, willful misconduct, fraud, or breach of fiduciary duty; provided, however, that each
 such party’s liability, if any, for breach of fiduciary duty shall be limited by and with recourse solely to
 available coverage under applicable D&O Liability Insurance Policies so long as such limitation does not
 limit the availability of such insurance; provided, further, that, for the avoidance of doubt, each such party
 otherwise remains a “Released Party” and “Exculpated Party” in relation to the Debtor Release, Third Party
 Release, and Exculpation except to the extent of the foregoing carve out for gross negligence, willful
 misconduct, or fraud.

         Except as expressly limited above, the definition of “Released Party” and “Exculpated Party” will
 not include any person or entity as and solely to the extent implicated in any way in any Litigation Claims
 or who or which may be liable in connection with any remedies available in connection with any Litigation
 Claims (including any immediate or mediate transferees connection with any Litigation Claims) and
 regardless of whether such implication or liability is known or unknown at any time. For the avoidance of
 doubt, any such party or entity that is also a “Released Party” and “Exculpated Party” in relation to the



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 Debtor Release, Third Party Release, or Exculpation shall remain so except as and to the extent implicated
 or liable as contemplated in the preceding sentence.

         In addition to the foregoing, no recovery in respect of a Litigation Claim shall result in a payment
 obligation, or any other liability, directly or indirectly, by the Reorganized Debtors, any of their
 subsidiaries, or Mercuria or David Gallagher. For the avoidance of doubt, the Litigation Claims Carve Out
 shall not extend to, limit, or otherwise modify the scope of the Debtor Release, Third Party Release, and
 Exculpation in relation to such payment obligations or any other liabilities described in the foregoing
 sentence.

 VIII.   SOLICITATION AND VOTING

         A.       Solicitation Packages

         On or about [●] [●], 2019, the Bankruptcy Court entered the Disclosure Statement Order. For
 purposes of this Article VIII, capitalized terms used but not defined herein shall have the meaning ascribed
 to such terms in the Disclosure Statement Order. Pursuant to the Disclosure Statement Order, Holders of
 Claims and Interests who are eligible to vote to accept or reject the Plan will receive appropriate solicitation
 materials (collectively, the ”Solicitation Package”), which will include, in part, the following:

         •    this Disclosure Statement, including the Plan as an exhibit thereto; and

         •    the appropriate ballot(s) and applicable voting instructions, or appropriate notices, together
              with a pre-addressed, postage pre-paid return envelope.

           The Solicitation Package may also be obtained: (1) from Epiq Corporate Restructuring, LLC by
 (a) visiting https://dm.epiq11.com/Aegean (free of charge), (b) writing to Aegean Marine Petroleum
 Network Inc., et al. c/o Epiq Corporate Restructuring, LLC at P.O. Box 4422, Beaverton, OR 97076-4422
 (regular first class mail) or (c) writing to Aegean Marine Petroleum Network Inc., et al. c/o Epiq Corporate
 Restructuring, LLC at 10300 SW Allen Boulevard, Beaverton, OR 97005 (overnight mail or hand delivery)
 or (d) calling (888) 418-0324 (toll free in the U.S.) or (503) 520-4423 (International); or (2) for a fee via
 PACER (except for ballots) at https://ecf.nysb.uscourts.gov.

         B.       Classes Entitled to Vote on the Plan

          Under the provisions of the Bankruptcy Code, not all holders of claims against or interests in a
 debtor are entitled to vote on a chapter 11 plan. The table in Article III.C of this Disclosure Statement,
 entitled “Am I entitled to vote on the Plan?“ provides a summary of the status and voting rights of each
 Class under the Plan.

         The following Classes are the only Classes entitled to vote to accept or reject the plan and thus the
 Debtors are soliciting votes to accept or reject the Plan only from Holders of Claims in Class 4A and Class
 7 and Interests in Class 8 (collectively, the “Voting Classes”).

                Class                           Claim / Interest                          Status

                  4A                                                                     Impaired
                                          Aegean Unsecured Claims

                   7                                                                     Impaired
                                             Section 510(b) Claims



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                      8                                                                   Impaired
                                                 Interests in Aegean

          The Holders of Claims and Interests in the Voting Classes are Impaired under the Plan and may, in
 certain circumstances, receive a distribution under the Plan. Accordingly, Holders of Claims and Interests
 in the Voting Classes have the right to vote to accept or reject the Plan.

          Holders of Class 4A Claims may also be entitled to participate in the Litigation Trust Loan if such
 Holder indicates its intent to so participate by following the instructions on such Holder’s ballot and then,
 prior to the Confirmation Hearing, executes the Restructuring Support Agreement and otherwise joins and
 executes any applicable Litigation Trust Documents.

         C.           Votes Required for Acceptance by a Class

         Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims or interests
 is determined by calculating the amount and, if a class of claims, the number, of claims and interests voting
 to accept, as a percentage of the allowed claims or interests, as applicable, that have voted. Each Class of
 Claims entitled to vote on the Plan will have accepted the Plan if: (a) the Holders of at least two-thirds in
 dollar amount of the Claims actually voting in each Class vote to accept the Plan; and (b) the Holders of
 more than one-half in number of the Claims actually voting in each Class vote to accept the Plan. Each
 Class of Interests entitled to vote on the Plan will have accepted the Plan if the Holders of at least two-thirds
 in amount of the Interests actually voting in such Class vote to accept the Plan.

         D.           Classes Not Entitled to Vote on the Plan

          Under the Bankruptcy Code, holders of claims and interests are not entitled to vote if their
 contractual rights are unimpaired by the proposed plan, in which case they are conclusively presumed to
 accept the proposed plan, or if they will receive no property under the plan, in which case they are deemed
 to reject the proposed plan. Accordingly, the following Classes of Claims and Interests are not entitled to
 vote to accept or reject the Plan:

              Class                      Claim                     Status                  Voting Rights

                                                                                        Not Entitled to Vote
               1                 Other Secured Claims            Unimpaired
                                                                                       (Presumed to Accept)

                                                                                        Not Entitled to Vote
               2                 Other Priority Claims           Unimpaired
                                                                                       (Presumed to Accept)

                                    Secured Term Loan                                   Not Entitled to Vote
               3                                                 Unimpaired
                                          Claims                                       (Presumed to Accept)

                                    General Unsecured
                                                                                        Not Entitled to Vote
               4B                   Claims against All           Unimpaired
                                                                                       (Presumed to Accept)
                                      Other Debtors

                                                                                        Not Entitled to Vote
               5                 Intercompany Claims       Unimpaired / Impaired       (Presumed to Accept /
                                                                                         Deemed to Reject)




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                                                                                       Not Entitled to Vote
                                   Intercompany
              6                                          Unimpaired / Impaired        (Presumed to Accept /
                                      Interests
                                                                                        Deemed to Reject)


         Therefore, the Debtors are not soliciting votes from holders of Claims or Interests in Classes 1, 2,
 3, 4B, 5, and 6.

         E.       Voting Record Date

          The Voting Record Date is February [12], 2019. The Voting Record Date is the date on which
 it will be determined which Holders of Claims or Interests in the Voting Classes are entitled to vote to
 accept or reject the Plan and whether Claims or Interests have been properly assigned or transferred under
 Bankruptcy Rule 3001(e) such that an assignee or transferee, as applicable, can vote to accept or reject the
 Plan as the holder of a Claim or Interest.

         F.       Voting on the Plan

         The Voting Deadline is March [19], at 4:00 p.m. (prevailing Eastern Time). To be counted as
 votes to accept or reject the Plan, all ballots must be properly executed, completed, and delivered as
 directed, so that your ballot or the master ballot containing your vote is actually received by Epiq Corporate
 Restructuring, LLC on or before the Voting Deadline.

         To vote, complete, sign, and date your ballot and return it (with an original signature) promptly in
 the enclosed reply envelope or as otherwise directed. Certain Holders of Claims may also be entitled to
 complete an E-Ballot.

                                                  BALLOTS

                  To be counted, all ballots and Master Ballot must be actually received by
                    Epiq Corporate Restructuring, LLC by the Voting Deadline, which is
                         March [19], 2019 at 4:00 p.m. (prevailing Eastern Time)
           If you have any questions, please call the Debtors’ restructuring hotline maintained by
                                  Epiq Corporate Restructuring, LLC at:
                   (888) 418-0324 (toll free in the U.S.) or (503) 520-4423 (International)

          More detailed instructions regarding how to vote on the Plan are contained on the ballots distributed
 to Holders of Claims or Interests that are entitled to vote to accept or reject the Plan. All votes to accept or
 reject the Plan must be cast by using the appropriate ballot. All ballots must be properly executed,
 completed, and delivered according to the voting instructions set forth in the applicable ballot. Any ballot
 that is properly executed by the Holder of a Claim or Interest entitled to vote that does not clearly indicate
 an acceptance or rejection of the Plan or that indicates both an acceptance and a rejection of the Plan will
 not be counted.

          Each Holder of a Claim or Interest entitled to vote to accept or reject the Plan may cast only one
 ballot for each Claim or Interest held by such Holder. By signing and returning a ballot, each Holder of a
 Claim or Interest entitled to vote will certify to the Bankruptcy Court and the Debtors that no other ballots
 with respect to such Claim or Interest has been cast or, if any other ballots have been cast with respect to
 such Claim or Interest, such earlier ballots are superseded and revoked.



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          All ballots will be accompanied by return envelopes. It is important to follow the specific
 instructions provided on each ballot, as failing to do so may result in your ballot not being counted.

           G.        Ballots Not Counted

          No ballot will be counted toward Confirmation if, among other things: (1) it is illegible or
 contains insufficient information to permit the identification of the Holder of the Claim or Interest; (2) it
 was transmitted by means other than as specifically set forth in the ballots; (3) it was cast by an entity that
 is not entitled to vote on the Plan; (4) it was cast for a Claim listed in the Debtors’ schedules as contingent,
 unliquidated, or disputed for which the applicable Bar Date has passed and no proof of claim was timely
 filed; (5) it was cast for a Claim that is subject to an objection pending as of the Voting Record Date (unless
 temporarily allowed in accordance with the Disclosure Statement Order); (6) it was sent to the Debtors, the
 Debtors’ agents/representatives (other than Epiq Corporate Restructuring, LLC), or the Debtors’ financial
 or legal advisors instead; (7) it is unsigned; or (8) it is not clearly marked to either accept or reject the Plan
 or it is marked both to accept and reject the Plan. Please refer to the Disclosure Statement Order for
 additional requirements with respect to voting to accept or reject the Plan.

         Any ballot received after the Voting Deadline or that is otherwise not in compliance with the
 Disclosure Statement Order will not be counted.

 IX.       CONFIRMATION OF THE PLAN

           A.        Confirmation Standards

          At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies the
 requirements of section 1129 of the Bankruptcy Code with respect to each of the Debtors. Because each of
 the Debtors must satisfy these requirements, it is possible that the Bankruptcy Court will enter a
 Confirmation Order with respect to certain Debtors and not others.15 The Debtors believe that the Plan
 satisfies or will satisfy all of the statutory requirements of chapter 11 of the Bankruptcy Code and that they
 have complied or will have complied with all of the requirements of chapter 11 of the Bankruptcy Code.
 Specifically, the Debtors believe that the Plan satisfies or will satisfy the applicable confirmation
 requirements of section 1129 of the Bankruptcy Code, including those set forth below.

           •    The Plan complies with the applicable provisions of the Bankruptcy Code.

           •    The Debtors, as the Plan proponents, have complied with the applicable provisions of the
                Bankruptcy Code.

           •    The Plan has been proposed in good faith and not by any means forbidden by law.

           •    Any payment made or to be made under the Plan for services or for costs and expenses in, or
                in connection with, the chapter 11 cases, or in connection with the Plan and incident to the
                chapter 11 cases, has been or will be disclosed to the Bankruptcy Court, and any such payment:
                (1) made before the Confirmation of the Plan is reasonable; or (2) is subject to the approval of
                the Bankruptcy Court as reasonable, if it is to be fixed after Confirmation of the Plan.

           •    With respect to each Class of Claims, each Holder of an Impaired Claim has accepted the Plan
                or will receive or retain under the Plan on account of such Claim property of a value as of the
 15    For example, the Bankruptcy Court may deny Confirmation for one or more of the Debtors if such Debtor fails to obtain the
       requisite acceptance of the Plan from its Classes, while still confirming the Plan with respect to the other Debtors.



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              Effective Date of the Plan that is not less than the amount that such Holder would receive or
              retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code. With
              respect to each Class of Interests, each Holder of an Impaired Interest has accepted the Plan or
              will receive or retain under the Plan on account of such Interest property of a value as of the
              Effective Date of the Plan that is not less than the amount that such Holder would receive or
              retain if the Debtors were liquidated on that date under chapter 7 of the Bankruptcy Code.

         •    Each Class of Claims or Interests that is entitled to vote on the Plan has either accepted the Plan
              or is not Impaired under the Plan, or the Plan can be confirmed without the approval of such
              voting Class of Claims pursuant to section 1129(b) of the Bankruptcy Code.

         •    Except to the extent that the Holder of a particular Claim will agree to a different treatment of
              its Claim, the Plan provides that: (i) Holders of Claims specified in sections 507(a)(2) will
              receive payment in full, in Cash; (ii) Holders of Claims specified in sections 507(a)(4),
              507(a)(5), or 507(a)(7) of the Bankruptcy Code will receive on account of such Claims payment
              in full, in Cash; and (iii) Holders of Claims specified in section 507(a)(8) of the Bankruptcy
              Code will receive on account of such Claim payment in full, in Cash.

         •    At least one Class of Impaired Claims has accepted the Plan, determined without including any
              acceptance of the Plan by any “insider,” as that term is defined by section 101(31) of the
              Bankruptcy Code, holding a Claim in that Class

         •    Confirmation of the Plan is not likely to be followed by the liquidation or the need for further
              financial reorganization of the Debtors or any successors thereto under the Plan, unless the Plan
              contemplates such liquidation or reorganization.

         •    The Debtors have paid or the Plan provides for the payment of the required filing fees pursuant
              to 28 U.S.C. § 1930 to the clerk of the Bankruptcy Court

         B.       Best Interests of Creditors/Liquidation Analysis

         Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a
 bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each
 impaired class, that each holder of a claim or an equity interest in such impaired class either (1) has accepted
 the plan or (2) will receive or retain under the plan property of a value that is not less than the amount that
 the non-accepting holder would receive or retain if the debtors liquidated under chapter 7.

          Attached hereto as Exhibit D and incorporated herein by reference is a liquidation analysis
 (the ”Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’ advisors.
 Notwithstanding that section 1129(a)(7) only applies to impaired classes, the Liquidation Analysis also
 provides liquidation recoveries for certain unimpaired classes, including Class 4B (General Unsecured
 Claims Against All Other Debtors), on a consolidated basis. As reflected in the Liquidation Analysis, the
 Debtors believe that liquidation of the Debtors’ businesses under chapter 7 of the Bankruptcy Code would
 result in substantial diminution in the value to be realized by Holders of Claims or Interests as compared to
 distributions contemplated under the Plan. Consequently, the Debtors and their management believe that
 Confirmation of the Plan will provide a substantially greater return to Holders of Claims or Interests than
 would a liquidation under chapter 7 of the Bankruptcy Code.




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         C.       Creditor Recoveries

         The Plan provides recoveries to, among others, the Holders of Claims in Class 4A (Aegean
 Unsecured Claims). As shown in the Debtors’ Liquidation Analysis, and as set forth in the Liquidation
 Analysis, such recoveries are higher than recoveries estimated to be available if the Debtors were liquidated
 under chapter 7 of the Bankruptcy Code.

         The recoveries described in this Disclosure Statement that are available to the Holders of Claims
 are estimates and actual recoveries could differ materially based on, among other things, whether the
 amount of Claims actually Allowed against the applicable Debtor exceeds the estimates provided herein.
 The Debtors believe that the treatment of Claims as provided by the Plan complies with the Bankruptcy
 Code and established case law.

         D.       Valuation

        The valuation information contained in this Disclosure Statement with regard to the
 Reorganized Debtors is not a prediction or guarantee of the actual market value that may be realized
 through the sale of any securities to be issued pursuant to the Plan.

          The Debtors’ advisors have undertaken the valuation analysis, attached hereto as Exhibit E (the
 “Valuation Analysis”), to determine the value available for distribution to Holders of Allowed Claims or
 Interests pursuant to the Plan, and to analyze and estimate the recoveries to such Holders thereunder.
 Accordingly, if the actual enterprise value of the Debtors differs from the estimated enterprise value in the
 Valuation Analysis, the actual distributions may be materially different than the estimations set forth herein.

         E.       Financial Feasibility

          Section 1129(a)(11) of the Bankruptcy Code requires that the Bankruptcy Court find that
 Confirmation is not likely to be followed by the liquidation of the Reorganized Debtors or the need for
 further financial reorganization, unless the Plan contemplates such liquidation or reorganization. For
 purposes of determining whether the Plan meets this requirement, the Debtors have analyzed their ability
 to meet their obligations under the Plan. As part of this analysis, the Debtors have prepared certain financial
 projections, which projections and the assumptions upon which they are based are attached hereto as
 Exhibit F (the “Financial Projections”). Based on these Financial Projections, the Debtors believe the
 deleveraging contemplated by the Plan meets the financial feasibility requirement. Moreover, the Debtors
 believe that sufficient funds will exist to make all payments required by the Plan. Accordingly, the Debtors
 believe that the Plan satisfies the feasibility requirement of section 1129(a)(11) of the Bankruptcy Code.

         F.       Acceptance by Impaired Classes

          The Bankruptcy Code requires, as a condition to confirmation, that, except as described in the
 following section, each class of claims or interests that is impaired under a plan accept the plan. A class
 that is not impaired under a plan is presumed to have accepted the plan and, therefore, solicitation of
 acceptances with respect to such class is not required. Pursuant to section 1124 of the Bankruptcy Code, a
 class is impaired unless the plan either: (i) leaves unaltered the legal, equitable, and contractual rights to
 which the claim or the interest entitles the holder of such claim or interest; or (ii) notwithstanding any
 contractual provision or applicable law that entitles the holder of such claim or interest to demand or receive
 accelerated payment of such claim or interest after the occurrence of a default—(A) cures any such default
 that occurred before or after the commencement of the case under this title, other than a default of a kind
 specified in section 365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2) expressly does not
 require to be cured; (B) reinstates the maturity of such claim or interest as such maturity existed before such


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 default; (C) compensates the holder of such claim or interest for any damages incurred as a result of any
 reasonable reliance by such holder on such contractual provision or such applicable law; (D) if such claim
 or such interest arises from any failure to perform a nonmonetary obligation, other than a default arising
 from failure to operate a nonresidential real property lease subject to section 365(b)(1)(A) of the Bankruptcy
 Code, compensates the holder of such claim or such interest (other than the debtor or an insider) for any
 actual pecuniary loss incurred by such holder as a result of such failure; and (E) does not otherwise alter
 the legal, equitable, or contractual rights to which such claim or interest entitles the holder of such claim or
 interest.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
 creditors as acceptance by holders of at least two-thirds in dollar amount and more than one-half in number
 of claims in that class, but for that purpose counts only those who actually vote to accept or to reject a plan.
 Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class of impaired interests as
 acceptance by holders of at least two-thirds in dollar amount of those interests who actually vote to accept
 or to reject a plan.

         Pursuant to Article III.F of the Plan, if a Class contains Claims or Interests eligible to vote and no
 Holders of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the Holders of
 such Claims or Interests in such Class shall be deemed to have accepted the Plan. Such “deemed
 acceptance” by an impaired class in which no class members submit ballots satisfies section 1129(a)(10) of
 the Bankruptcy Code.16

           G.        Confirmation without Acceptance by All Impaired Classes

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if all
 impaired classes have not accepted it; provided that the plan has been accepted by at least one impaired
 class. Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an impaired class’s rejection
 or deemed rejection of the plan, the plan will be confirmed, at the plan proponent’s request, in a procedure
 commonly known as a “cramdown” so long as the plan does not “discriminate unfairly” and is “fair and
 equitable” with respect to each class of claims or equity interests that is impaired under, and has not
 accepted, the plan.

          If any Impaired Class rejects the Plan, the Debtors reserve the right to seek to confirm the Plan
 utilizing the “cramdown” provision of section 1129(b) of the Bankruptcy Code. To the extent that any
 Impaired Class rejects the Plan or is deemed to have rejected the Plan, the Debtors will request Confirmation
 of the Plan, as it may be modified from time to time, under section 1129(b) of the Bankruptcy Code.

                     1.        No Unfair Discrimination

          The test for unfair discrimination applies to classes of claims or interests that are of equal priority
 and are receiving different treatment under the Plan. The test does not require that the treatment be the
 same or equivalent but that such treatment be “fair.” In general, courts consider whether a plan
 discriminates unfairly in its treatment of classes of claims of equal rank (e.g., classes of the same legal
 character). The Debtors do not believe the Plan discriminates unfairly against any Impaired Class of Claims
 or Interests. The Debtors believe that the Plan and the treatment of all Classes of Claims and Interests
 satisfy the foregoing requirements for non-consensual Confirmation.


 16   In re Tribune Co., 464 B.R. 126, 183 (Bankr. D. Del. 2011) (“Would ‘deemed acceptance’ by a non-voting impaired class, in
      the absence of objection, constitute the necessary ‘consent’ to a proposed ‘per plan’ scheme? I conclude that it may.” (footnote
      omitted)); see also In re Adelphia Commc’ns Corp., 368 B.R. 140, 259–63 (Bankr. S.D.N.Y. 2007).



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                    2.        Fair and Equitable Test

          The fair and equitable test applies to classes of different priority and status (e.g., secured versus
 unsecured) and includes the general requirement that no class of claims receive more than 100 percent of
 the amount of the allowed claims in such class. As to each non-accepting class, the test sets different
 standards depending on the type of claims or interests in such class. As set forth below, the Debtors believe
 that the Plan satisfies the “fair and equitable” requirement, notwithstanding the fact that certain Classes are
 deemed to reject the Plan.

                                       Secured Claims

          The condition that a plan be “fair and equitable” to a non-accepting class of secured claims may be
 satisfied, among other things, if a debtor demonstrates that: (i) (x) the holders of such secured claims retain
 the liens securing such claims to the extent of the allowed amount of the claims, whether the property
 subject to the liens is retained by the debtor or transferred to another entity under the plan, and (y) each
 holder of a secured claim in the class receives deferred cash payments totaling at least the allowed amount
 of such claim with a present value, as of the effective date of the plan, at least equivalent to the value of the
 secured claimant’s interest in the debtor’s property subject to the liens; or (ii) the holders of such secured
 claims realize the indubitable equivalent of such claims.17

                                       Unsecured Claims

          The condition that a plan be “fair and equitable” to a non-accepting class of unsecured claims
 includes the requirement that either: (i) the plan provides that each holder of a claim of such class receive
 or retain on account of such claim property of a value, as of the effective date of the plan, equal to the
 allowed amount of such claim; or (ii) the holder of any claim or any interest that is junior to the claims of
 such class will not receive or retain under the plan on account of such junior claim or junior interest in any
 property.18

                                       Interests

          The condition that a plan be “fair and equitable” to a non-accepting class of interests includes the
 requirements that either: (i) the plan provides that each holder of an interest in that class receives or retains
 under the plan on account of that interest property of a value, as of the effective date of the plan, equal to
 the greater of (x) the allowed amount of any fixed liquidation preference to which such holder is entitled,
 and (y) any fixed redemption price to which such holder is entitled; (ii) the value of such interest; or (iii) if
 the class does not receive the amount as required under clause (i) above, no class of interests junior to the
 non-accepting class may receive a distribution under the plan.19

          H.        The Debtor Releases, Third Party Releases, Exculpation, and Injunction Provisions

          Article IX.B of the Plan provides for releases of claims and Causes of Action the Debtors may hold
 against the Released Parties. The Released Parties are each of the following in their capacity as such: (a)
 the Debtors and Reorganized Debtors; (b) Mercuria; (c) the DIP Agents and DIP Lenders, (d) the Prepetition
 Secured Credit Facility Agents and Prepetition Secured Credit Facility Lenders, (e) the Committee and the

 17   See 11 U.S.C. § 1129(b)(2)(A).
 18   See 11 U.S.C. § 1129(b)(2)(B).
 19   See 11 U.S.C. § 1129(b)(2)(C).



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 Committee Members; (f) the Consenting Unsecured Noteholders; (g) the Unsecured Notes Indenture
 Trustees; (h) AmEx; (i) each other party to the Restructuring Support Agreement; (j) with respect to each
 of the foregoing entities in clauses (a) through (i), each such Entity’s current and former predecessors,
 successors, Affiliates (regardless of whether such interests are held directly or indirectly), subsidiaries,
 direct and indirect equityholders, funds, portfolio companies, and management companies; (k) with respect
 to each of the foregoing Entities in clauses (a) through (h), each of their respective current and former
 members, employees, partners, managers, independent contractors, agents, representatives, principals,
 professionals, consultants, financial advisors, attorneys, accountants, investment bankers, and other
 professional advisors; and (l) with respect to each of the foregoing Entities in clauses (a) through (k), each
 of their respective current and former directors, officers, members, employees, partners, managers,
 independent contractors, agents, representatives, principals, professionals, consultants, financial advisors,
 attorneys, accountants, investment bankers, and other professional advisors; provided, however, that any
 party in interest that opts out of, Files an objection to, or otherwise does not consent to the releases in the
 Plan shall not be a “Released Party”; provided, further, however, that notwithstanding anything to the
 contrary herein, the scope of “Released Parties” shall be subject to the limitations set forth in Article IX.Fof
 the Plan.

          Article IX.C of the Plan provides for the release of claims and Causes of Action of the Releasing
 Parties against the Released Parties in exchange for the good and valuable consideration and the valuable
 compromises made by the Released Parties (the “Third Party Release”). The Releasing Parties are each of
 the following in their capacity as such: (a) the Debtors and Reorganized Debtors; (b) Mercuria; (c) the DIP
 Agents and DIP Lenders, (d) the Prepetition Secured Credit Facility Agents and Prepetition Secured Credit
 Facility Lenders, (e) the Committee and the Committee Members; (f) the Consenting Unsecured
 Noteholders; (g) the Unsecured Notes Indenture Trustees; (h) AmEx; (i) each other party to the
 Restructuring Support Agreement; (j) with respect to each of the foregoing Entities in clauses (a) through
 (i), each such Entity’s current and former predecessors, successors, Affiliates (regardless of whether such
 interests are held directly or indirectly), subsidiaries, direct and indirect equityholders, funds, portfolio
 companies, and management companies; (k) with respect to each of the foregoing Entities in clauses
 (a) through (j), each of their respective current and former directors, officers, members, employees,
 partners, managers, independent contractors, agents, representatives, principals, professionals, consultants,
 financial advisors, attorneys, accountants, investment bankers, and other professional advisors; (l) all
 Holders of Claims and Interests that vote to accept the Plan; (m) all Holders of Claims and Interests that
 vote to reject the Plan but do not elect to opt out of the Third Party Release; and (n) all Holders of Claims
 and Interests not described in the foregoing clauses (a) through (m); provided, however, that any such
 Holder of a Claim or Interest that opts out of, Files an objection to, or otherwise does not consent to the
 releases in the Plan shall not be a “Releasing Party”; provided, further, however, that notwithstanding
 anything to the contrary herein, the scope of “Releasing Parties” shall be subject to the limitations set forth
 in Article IX.F of the Plan.

          Article IX.D of the Plan provides for the exculpation of each Exculpated Party for acts or omissions
 taken in connection with the chapter 11 cases. The Exculpated Parties are, collectively: (a) the Debtors and
 Reorganized Debtors; (b) Mercuria; (c) the DIP Agents and DIP Lenders, (d) the Prepetition Secured Credit
 Facility Agents and Prepetition Secured Credit Facility Lenders, (e) the Committee and the Committee
 Members; (f) AmEx; (g) the Unsecured Notes Indenture Trustees; (h) with respect to each of the foregoing
 entities in clauses (a)-(g) each such Entity’s current and former predecessors, successors, Affiliates
 (regardless of whether such interests are held directly or indirectly), subsidiaries, direct and indirect
 equityholders, funds, portfolio companies, management companies, each of their respective current and
 former members, employees, partners, managers, independent contractors, agents, representatives,
 principals, professionals, consultants, financial advisors, attorneys, accountants, investment bankers, and
 other professional advisors (each solely in their capacity as such); and (i) with respect to each of the
 foregoing entities in clauses (a)-(h), each such Entity’s current and former predecessors, successors,

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 Affiliates (regardless of whether such interests are held directly or indirectly), subsidiaries, direct and
 indirect equityholders, funds, portfolio companies, management companies, each of their respective current
 and former directors, officers, members, employees, partners, managers, independent contractors, agents,
 representatives, principals, professionals, consultants, financial advisors, attorneys, accountants,
 investment bankers, and other professional advisors (each solely in their capacity as such); provided,
 however, that, notwithstanding anything to the contrary herein, the scope of “Exculpated Parties” shall be
 subject to the limitations set forth in Article IX.F of the Plan.

          The Plan provides that all Holders of Claims or Interests who are entitled to vote on the Plan who
 vote to accept the Plan, abstain from voting, or reject the Plan and do not check the box to opt-out of the
 Third Party Release will be granting a release of any claims or rights they have or may have as against
 many individuals and Entities. The Plan also provides that all Holders of Claims or Interests who are not
 entitled to vote, and do not elect to opt out, will be granting a release of any claims or rights they have or
 may have as against many individuals and Entities. The release that these Holders of Claims or Interests
 will be giving is broad and it includes any and all claims that such Holders may have against the Released
 Parties, which in any way relate to the Debtors, their operations either before or after the chapter 11 cases
 began, any securities of the Debtors, whether purchased or sold, including sales or purchases which have
 been rescinded, and any transaction that these Released Parties had with the Debtors. Various Holders of
 Claims or Interests who are entitled to vote on the Plan may have claims against a Released Party and the
 Debtors express no opinion on whether a Holder has a claim or the value of the claim nor do the Debtors
 take a position as to whether a Holder should consent to grant this release.

          It is well-settled that debtors are authorized to settle or release their claims in a chapter 11 plan.20
 Debtor releases are granted by courts in the Second Circuit where the Debtors establish that such releases
 are in the “best interests of the estate.”21 Courts often find that releases pursuant to a settlement are
 appropriate.22 Additionally, in the Second Circuit, third party releases are permissible when they are
 consensual or where “truly unusual circumstances” render the release terms integral to the success of the
 plan.23 The determination is not a matter of “factors and prongs” but courts have provided some guidance
 for allowing third party releases. “Unusual circumstances” include instances in which: (a) the estate
 received a substantial contribution; (b) the enjoined claims were “channeled” to a settlement fund rather
 than extinguished;(c) the enjoined claims would indirectly impact the debtors’ reorganization by way of
 indemnity or contribution; (d) the plan otherwise provided for the full payment of the enjoined claims; and
 (e) the affected creditors consent.24 Courts typically allow releases of third party claims against non-debtors
 where there is the express consent of the party giving the release or where other circumstances in the case
 20   See In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289, 269 (Bankr. S.D.N.Y. 2007) (debtor may release its own
      claims); In re Oneida Ltd., 351 B.R. 79, 94 (Bankr. S.D.N.Y. 2006) (noting that a debtor’s release of its own claims is
      permissible).
 21   See In re Charter Commc’ns, 419 B.R. 221, 257 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a debtor’s plan, courts
      consider whether such releases are in the best interest of the estate.”).
 22   See, e.g., In re Spiegel, No. 03-11540 (BRL) 2005 WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving releases
      pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re AMR Corp., No. 11-15463 (SHL)
      (Bankr. S.D.N.Y. Oct. 22, 2013) (confirming chapter 11 plan containing releases of members, directors, officers and
      employees of the debtors as well as prepetition lenders that were party to a restructuring support agreement); see also In re
      Bally Total Fitness Holding Corp., 2007 WL 2779438, at *12 (“To the extent that a release or other provision in the Plan
      constitutes a compromise of a controversy, this Confirmation Order shall constitute an order under Bankruptcy Rule 9019
      approving such compromise.”); accord In re Adelphia Communications Corp., 368 B.R. 140, 263 n. 289 (Bankr. S.D.N.Y.
      2007) (“The Debtors have considerable leeway in issuing releases of any claims the Debtors themselves own.”).
 23   In re Metromedia Fiber Network, Inc., 416 F.3d 136, 142-43 (2d Cir. 2005).
 24   Id. at 141.



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 justify giving the release.25 Finally, exculpation provisions that extend to prepetition conduct and cover
 non-estate fiduciaries are regularly approved.26 In approving these provisions, courts consider a number of
 factors, including whether the beneficiaries of the exculpation have participated in good faith in negotiating
 the plan and bringing it to fruition, and whether the provision is integral to the plan.27

          “Most courts allow consensual [third party] releases to be included in a plan.”28 Courts in this
 district have found that parties consent to give releases when they vote in favor of the plan or when they
 abstain from voting but do not opt out of releases.29 Third party releases may also be deemed consensual
 for unimpaired creditors who are deemed to accept the plan.30 Here, the Third Party Releases are consensual
 with respect to all of the Released Parties. Importantly, the ballots distributed to holders of Claims or
 Interests entitled to vote on the Plan quoted the entirety of the Third Party Release and related provisions
 and definitions of the Plan, clearly informing holders of Claims or Interests entitled to vote of the steps they
 should take if they disagreed with the scope of the release.31 Thus, affected parties were on notice of Third
 Party Release, including the option to opt out of the Third Party Releases. As a result, the primary aspects
 of the Third Party Releases are consensual under the substantial majority of precedent in this jurisdiction,
 and the Court need not consider the other Metromedia factors with respect to such aspects.



 25   Id.
 26   See, e.g., Oneida, 351 B.R. at 94 & n.22 (considering an exculpation provision covering a number of prepetition actors with
      respect to certain prepetition actions, as well as postpetition activity).
 27   See In re Bearing Point, Inc., 435 B.R. 486, 494 (Bankr. S.D.N.Y. 2011) (“Exculpation provisions are included so frequently
      in chapter 11 plans because stakeholders all too often blame others for failures to get recoveries they desire; seek vengeance
      against other parties, or simply wish to second guess the decision makers.”); In re DBSD N. Am., Inc., 419 B.R. 179, 217
      (Bankr. S.D.N.Y. 2009) (same), aff’d, In re DBSD N. Am., Inc., No. 09-10156, 2010 WL 1223109 (S.D.N.Y. May 24, 2010),
      aff’d in part, rev’d in part, 634 F.3d 79 (2d Cir. 2011); In re Bally Total Fitness, 2007 WL 2779438, at *8 (finding exculpation,
      release, and injunction provisions appropriate because they were fair and equitable, necessary to successful reorganization,
      and integral to the plan); In re WorldCom, Inc., No. 02-13533, 2003 WL 23861928, at *28 (Bankr. S.D.N.Y. Oct. 31, 2003)
      (approving an exculpation provision where it “was an essential element of the [p]lan formulation process and negotiations”);
      Enron, 326 B.R. 497, 503 (S.D.N.Y. 2005) (excising similar exculpation provisions would “tend to unravel the entire fabric
      of the Plan, and would be inequitable to all those who participated in good faith to bring it into fruition”).
 28   In re Wool Growers Cent. Storage Co., 371 B.R. 768, 775 (Bankr. N.D. Tex. 2007); see also Indianapolis Downs, 486 B.R.
      at 305 (“Courts in this jurisdiction have consistently held that a plan may provide for a release of third party claims against a
      non-debtor upon consent of the party affected.”).
 29    See Metromedia, 416 F.3d at 142 (“Nondebtor releases may also be tolerated if the affected creditors consent.”); In re Calpine
      Corp., No. 05-60200 BRL, 2007 WL 4565223, at *10 (Bankr. S.D.N.Y. Dec. 19, 2007) (“Such releases by Holders of Claims
      and Interests provide for the release by Holders of Claims and Interests that vote in favor of the Plan, who abstain from voting
      and choose not to opt out of the releases, or who have otherwise consented to give a release, and are consensual.”);. DBSD N.
      Am., 419 B.R. at 218–19 (“Except for those who voted against the Plan, or who abstained and then opted out, I find the Third
      Party Release provision consensual and within the scope of releases permitted in the Second Circuit.”); Adelphia, 368 B.R. at
      268 (upholding non-debtor releases for creditors who voted to accept the plan because creditors consented to the releases
      through their vote to support the plan); In re Lear Corp., No. 09–14326, 2009 WL 6677955, at *7 (Bankr. S.D.N.Y. Nov. 5,
      2009) (finding that non-debtor releases for creditors who voted to accept the plan were permissible).
 30   See Indianapolis Downs, 486 B.R. at 306 (finding that the releases, which included releases of unimpaired creditors who were
      deemed to accept the plan, “may be properly characterized as consensual”).
 31   See, e.g., In re Crabtree & Evelyn, Ltd., No. 09-14267 (BRL), 2010 WL 3638369, at *8 (Bankr. S.D.N.Y. Jan 14. 2010)
      (finding that where creditors have accepted the plan and the non-debtor releases were appropriately disclosed by the debtors
      in both the disclosure statement and the ballot, the creditors have expressly consented to the non-debtor releases and therefore,
      the non-debtor releases satisfy the standards set forth in Metromedia for granting non-debtor releases and are fair to the
      releasing parties).



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         The Debtors believe that the releases, exculpations, and injunctions set forth in the Plan are
 appropriate because, among other things, each of the Released Parties has afforded value to the Debtors
 and aided in the reorganization process, which facilitated the Debtors’ ability to propose and pursue
 confirmation of the Plan. The Debtors believe that each of the Released Parties has played an integral role
 in formulating the Plan and has expended significant time and resources analyzing and negotiating the
 issues presented by the Debtors’ prepetition capital structure. The Debtors further believe that such
 releases, exculpations, and injunctions are a necessary part of the Plan. The Debtors will be prepared to
 meet their burden to establish the basis for the releases, exculpations, and injunctions for each Released
 Party and Exculpated Party as part of Confirmation of the Plan.

         The Third Party Releases are consensual and, therefore, appropriate. Moreover, the Third Party
 Releases are an integral part of the Plan and a material inducement to the Released Parties pledging their
 support and making the value-maximizing transaction contemplated by the Plan possible. Under these
 circumstances, the Third Party Releases are appropriate.

          The Debtors will demonstrate at the Confirmation Hearing that, given the significant consideration
 being provided by the Released Parties to the Debtors and other Releasing Parties, the Debtors’ releases in
 favor of the Released Parties are appropriate and within their reasonable business judgment. Furthermore,
 the third party releases are consensual because each class that is presumed to accept or deemed to reject, or
 votes to reject will be provided with an opt-out election form. Classes that are eligible to accept or reject
 the plan have the opportunity to affirmatively opt-out of granting the releases; provided, however that
 Holders of Claims or Interests that vote to accept the Plan or abstain from voting will be deemed a Releasing
 Party.

 X.      RISK FACTORS

      PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF
 CLAIMS AND INTERESTS SHOULD READ AND CAREFULLY CONSIDER THE FACTORS
 SET FORTH HEREIN, AS WELL AS ALL OTHER INFORMATION SET FORTH OR
 OTHERWISE REFERENCED IN THIS DISCLOSURE STATEMENT.

      ALTHOUGH THESE RISK FACTORS ARE MANY, THESE FACTORS SHOULD NOT
 BE REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH
 THE DEBTORS’ BUSINESSES OR THE PLAN AND ITS IMPLEMENTATION.

         A.       General

         The following provides a summary of various important considerations and risk factors associated
 with the Plan; however, it is not exhaustive. In considering whether to vote to accept or reject the Plan,
 holders of Claims and Interests should read and carefully consider the factors set forth below, as well as all
 other information set forth or otherwise referenced or incorporated by reference in this Disclosure
 Statement.

         B.       Certain Bankruptcy Law Considerations

         The occurrence or non-occurrence of any or all of the following contingencies, and any others,
 could affect distributions available to Holders of Allowed Claims and Interests under the Plan but will not
 necessarily affect the validity of the vote of the Impaired Classes to accept or reject the Plan or necessarily
 require a re-solicitation of the votes of Holders of Claims and Interests in such Impaired Classes.




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                  1.       Parties in Interest May Object to the Plan’s Classification of Claims and
                           Interests

          Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest
 in a particular class only if such claim or equity interest is substantially similar to the other claims or equity
 interests in such class. The Debtors believe that the classification of the Claims and Interests under the Plan
 complies with the requirements set forth in the Bankruptcy Code because the Debtors created Classes of
 Claims and Interests each encompassing Claims or Interests, as applicable, that are substantially similar to
 the other Claims or Interests, as applicable, in each such Class. Nevertheless, there can be no assurance
 that the Bankruptcy Court will reach the same conclusion.

                  2.       The Conditions Precedent to the Effective Date of the Plan May Not Occur

         As more fully set forth in Article X of the Plan, the Effective Date of the Plan is subject to a number
 of conditions precedent. If such conditions precedent are not waived or not met, the Effective Date will not
 take place, and it is unclear what distributions, if any, Holders of Allowed Claims or Interests would receive
 with respect to their Allowed Claims or Interests.

                  3.       The Debtors May Fail to Satisfy Vote Requirements

          If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm
 the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the
 event that sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan
 or transaction. There can be no assurance that the terms of any such alternative chapter 11 plan or other
 transaction would be similar or as favorable to the Holders of Interests and Allowed Claims as those
 proposed in the Plan, and the Debtors do not believe that any such transaction exists or is likely to exist that
 would be more beneficial to the Estates than the Plan.

                  4.       The Debtors May Not Be Able to Secure Confirmation of the Plan

          Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11
 plan, and requires, among other things, a finding by the Bankruptcy Court that: (a) such plan “does not
 unfairly discriminate” and is “fair and equitable” with respect to any non-accepting classes;
 (b) confirmation of such plan is not likely to be followed by a liquidation or a need for further financial
 reorganization unless such liquidation or reorganization is contemplated by the plan; and (c) the value of
 distributions to non-accepting holders of claims or equity interests within a particular class under such plan
 will not be less than the value of distributions such holders would receive if the debtors were liquidated
 under chapter 7 of the Bankruptcy Code.

          There can be no assurance that the requisite acceptances to confirm the Plan will be received. Even
 if the requisite acceptances are received, there can be no assurance that the Bankruptcy Court will confirm
 the Plan. A non-accepting Holder of an Allowed Claim might challenge either the adequacy of this
 Disclosure Statement or whether the balloting procedures and voting results satisfy the requirements of the
 Bankruptcy Code or Bankruptcy Rules. Even if the Bankruptcy Court determines that this Disclosure
 Statement, the balloting procedures, and voting results are appropriate, the Bankruptcy Court could still
 decline to confirm the Plan if it finds that any of the statutory requirements for Confirmation are not met.
 If a chapter 11 plan of reorganization is not confirmed by the Bankruptcy Court, it is unclear whether the
 Debtors will be able to reorganize their business and what, if anything, Holders of Interests and Allowed
 Claims against them would ultimately receive.




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         The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify the terms
 and conditions of the Plan as necessary for Confirmation. Any such modifications could result in less
 favorable treatment of any non-accepting class of Claims or Interests, as well as any class junior to such
 non-accepting class, than the treatment currently provided in the Plan. Such a less favorable treatment could
 include a distribution of property with a lesser value than currently provided in the Plan or no distribution
 whatsoever under the Plan.

                 5.       Nonconsensual Confirmation

          In the event that an impaired class of claims or interests does not accept a chapter 11 plan, a
 bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one impaired class
 (as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with such acceptance being
 determined without including the vote of any “insider” in such class), and, as to each impaired class that
 has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate unfairly”
 and is “fair and equitable” with respect to the dissenting impaired class. The Debtors believe that the Plan
 satisfies these requirements, and the Debtors may request such nonconsensual Confirmation in accordance
 with subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that the
 Bankruptcy Court will reach this conclusion. In addition, the pursuit of nonconsensual Confirmation or
 Consummation of the Plan may result in, among other things, increased expenses relating to professional
 compensation.

                 6.       Continued Risk Upon Confirmation

         Even if the Plan is consummated, the Debtors will continue to face a number of risks, including
 certain risks that are beyond their control, such as further industry deterioration or other changes in
 economic conditions, and increasing expenses. Some of these concerns and effects typically become more
 acute when a case under the Bankruptcy Code continues for a protracted period without indication of how
 or when the case may be completed. As a result of these risks and others, there is no guarantee that a
 chapter 11 plan of reorganization reflecting the Plan will achieve the Debtors’ stated goals.

                 7.       Filing of a Competing Plan

          At the outset of the Chapter 11 cases, the Bankruptcy Code provides the Debtors with the exclusive
 right to propose the Plan and prohibits creditors and others from proposing a plan. The Debtors have
 retained the exclusive right to propose the Plan upon filing their Petitions. If the Bankruptcy Court
 terminates that right, however, or the exclusivity period expires, there could be a material adverse effect on
 the Debtors’ ability to achieve confirmation of the Plan in order to achieve the Debtors’ stated goals because
 creditors and others may propose a plan.

                 8.       The Chapter 11 Cases May Be Converted to Cases under Chapter 7 of the
                          Bankruptcy Code

         If the Bankruptcy Court finds that it would be in the best interest of creditors or the debtor in a
 chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a case under chapter 7
 of the Bankruptcy Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the
 debtor’s assets for distribution in accordance with the priorities established by the Bankruptcy Code. The
 Debtors believe that liquidation under chapter 7 would result in significantly smaller distributions being
 made to creditors than those provided for in a chapter 11 plan because of (a) the likelihood that the assets
 would have to be sold or otherwise disposed of in a disorderly fashion over a short period of time, when
 commodities prices are at historically low levels, rather than reorganizing or selling the business as a going
 concern at a later time in a controlled manner, (b) additional administrative expenses involved in the


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 appointment of a chapter 7 trustee, and (c) additional expenses and Claims, some of which would be entitled
 to priority, that would be generated during the liquidation, including Claims resulting from the rejection of
 Unexpired Leases and other Executory Contracts in connection with cessation of operations.

                  9.      The Debtors May Object to the Amount or Classification of a Claim

           Except as otherwise provided in the Plan, the Debtors reserve the right to object to the amount or
 classification of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be
 relied upon by any Holder of a Claim where such Claim is subject to an objection. Any Holder of a Claim
 that is subject to an objection thus may not receive its expected share of the estimated distributions described
 in this Disclosure Statement.

                  10.     Risk of Non-Occurrence of the Effective Date

         Although the Debtors believe that the Effective Date may occur quickly after the Confirmation
 Date, there can be no assurance as to such timing or as to whether the Effective Date will, in fact, occur.

                  11.     Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
                          the Plan

          The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety
 of contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed
 Claims to be subordinated to other Allowed Claims. The occurrence of any and all such contingencies,
 which could affect distributions available to Holders of Allowed Claims under the Plan, will not affect the
 validity of the vote taken by the Impaired Classes to accept or reject the Plan or require any sort of revote
 by the Impaired Classes.

         The estimated Claims and creditor recoveries set forth in this Disclosure Statement are based on
 various assumptions, and the actual Allowed amounts of Claims may significantly differ from the estimates.
 Should one or more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed
 amounts of Claims may vary from the estimated Claims contained in this Disclosure Statement. Moreover,
 the Debtors cannot determine with any certainty at this time, the number or amount of Claims that will
 ultimately be Allowed. Such differences may materially and adversely affect, among other things, the
 percentage recoveries to Holders of Allowed Claims under the Plan.

                  12.     The Plan’s Release, Injunction, and Exculpation Provisions May Not Be
                          Approved

          Article IX of the Plan of provides for certain releases, injunctions, and exculpations, including a
 release of liens and third party releases that may otherwise be asserted against the Debtors, Reorganized
 Debtors, or Released Parties, as applicable. The releases, injunctions, and exculpations (including, for the
 avoidance of doubt, the definitions of Released Parties, Releasing Parties, and Exculpated Parties) provided
 in the Plan are subject to objection by parties in interest and may not be approved. If the releases are not
 approved, certain parties may not be considered Released Parties, Releasing Parties, or Exculpated Parties,
 and certain Released Parties may withdraw their support for the Plan.

                  13.     The Total Amount of Allowed Aegean Unsecured Claims May Be Higher
                          Than Anticipated By the Debtors

        With respect to Holders of Allowed Aegean Unsecured Claims, the claims filed against the
 Debtors’ estates may be materially higher than the Debtors have estimated.


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                  14.     The Total Amount of Allowed Administrative and Priority Claims May Be
                          Higher or the Amount of Distributable Cash may be Lower Than
                          Anticipated By the Debtors

         The amount of Cash the Debtors hold prior to and following the Effective Date may be lower than
 anticipated. Additionally, Allowed Administrative Claims and Allowed Priority Claims may be higher than
 anticipated. Accordingly, there is a risk that the Debtors will not be able to pay in full in Cash all
 Administrative Claims and Priority Claims on the Effective Date as is required to confirm a chapter 11 plan
 of reorganization. Mercuria has agreed to pay all Allowed Administrative and Priority Claims if the
 proceeds of the DIP Financing facilities is insufficient. Accordingly, there is a risk that neither the Debtors
 nor Mercuria will be able to pay Allowed Administrative and Priority Claims in full in Cash on the Effective
 Date.

                  15.     The Actual Amount Collected by the Debtors on Account of Their Accounts
                          Receivable and the Actual Timing of Such Collections May Materially Differ
                          Than that Anticipated By the Debtors

          The Debtors will require proceeds on account of their accounts receivable to satisfy Administrative
 Claims and Priority Claims in accordance with the Plan. The actual amount the Debtors realize on their
 accounts receivable and the actual timing for the receipt of such proceeds may materially differ from that
 anticipated by the Debtors. Accordingly, there is a risk that the Debtors will not be able to pay in full in
 cash all Administrative Claims and Priority Claims on the Effective Date as is required to confirm a chapter
 11 plan of reorganization. Mercuria has agreed to pay all Allowed Administrative and Priority Claims if
 the proceeds of the DIP Financing facilities is insufficient. Accordingly, there is a risk that neither the
 Debtors nor Mercuria will be able to pay Allowed Administrative and Priority Claims in full in Cash on the
 Effective Date.

                  16.     Certain Tax Implications of the Plan

          Holders of Allowed Claims should carefully review Article XII of this Disclosure Statement,
 entitled “Certain U.S. Federal Income Tax Consequences of the Plan,” to determine how the tax
 implications of the Plan and the chapter 11 cases may adversely affect certain Holders of Claims and
 Interests.

         C.       Risks Related to the Transaction

                  1.      The Support of the Parties to the Restructuring Support Agreement is
                          Subject to the Terms of the Restructuring Support Agreement, Which is
                          Subject to Termination in Certain Circumstances

         Pursuant to the Restructuring Support Agreement, Mercuria, the Consenting Unsecured
 Noteholders, the Committee, and AmEx are obligated to support the Restructuring Transactions discussed
 above and the Plan. Nevertheless, the Restructuring Support Agreement is subject to termination upon the
 occurrence of certain termination events. Accordingly, the Restructuring Support Agreement may be
 terminated after the date of this Disclosure Statement, and such a termination would present a material risk
 to Confirmation and Consummation of the Plan because the Plan may no longer have the support of the
 these parties.




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                  2.      No Distributions May Be Made From the Litigation Trust if the Litigation
                          Trustee is Not Successful in Prosecuting the Litigation Claims

          The Litigation Trust may not be successful in prosecuting the Litigation Claims and there is no
 guarantee that the Litigation Trust will ever make distributions to its beneficiaries. Because the Litigation
 Trust Interests are a component of, or the entirety of, the consideration being distributed to Holders of
 Claims of Interests in Class 4A (Aegean Unsecured Claims), Class 7 (Section 510(b) Claims), and Class 8
 (Interests in Aegean), there is a possibility that Holders of Claims or Interests in these classes will receive
 no recovery at all from the Litigation Trust. As a result, all or a material portion of the recovery of the
 Holders of Claims or Interests in Class 4A (Aegean Unsecured Claims), Class 7 (Section 510(b) Claims),
 and Class 8 (Interests in Aegean) is at risk if the Litigation Trustee is not successful in prosecuting and
 recovering on the Litigation Claims.

                  3.      There is Inherent Uncertainty in the Debtors’ Financial Projections

         The Financial Projections attached hereto as Exhibit F includes projections covering the Debtors’
 operations through December 31, 2024. The Financial Projections represent the Debtors’ management
 team’s best estimate of the Debtor’ future financial performance, which is necessarily based on certain
 assumptions regarding the anticipated future performance of the Debtors’ operations, as well as the United
 States and world economies in general, and the industry segments in which the Debtors operate in particular.
 These projections are also based on various other assumptions that are an integral part of the projections,
 including Confirmation and Consummation of the Plan in accordance with its terms, industry performance,
 general business and economic conditions, and other matters, many of which are beyond the control of the
 Debtors and some or all of which may not materialize.

          In addition, unanticipated events and circumstances occurring after the date hereof may affect the
 actual financial results of the Debtors’ operations. These variations may be material and may adversely
 affect the value of the Reorganized Aegean Equity Interests and the ability of the Debtors to make payments
 with respect to their indebtedness. Because the actual results achieved may vary from projected results,
 perhaps significantly, the projections should not be relied upon as a guarantee or other assurance of the
 actual results that will occur.

          Further, during the chapter 11 cases, the Debtors expect that their financial results will continue to
 be volatile as restructuring activities and expenses, contract terminations and rejections, and claims
 assessments significantly impact the Debtors’ consolidated financial statements. As a result, the Debtors’
 historical financial performance likely will not be indicative of their financial performance after the Petition
 Date. In addition, if the Debtors emerge from the chapter 11 cases, the amounts reported in subsequent
 consolidated financial statements may materially change relative to historical consolidated financial
 statements, including as a result of revisions to the Debtors’ operating plans pursuant to a plan of
 reorganization.

                  4.      Failure to Confirm and Consummate the Plan Could Negatively Impact the
                          Debtors

         If the Plan is not confirmed and consummated, the ongoing businesses of the Debtors may be
 adversely affected and there may be various consequences, including:

         •   the adverse impact to the Debtors’ businesses caused by the failure to pursue other beneficial
             opportunities due to the focus on the Plan, without realizing any of the anticipated benefits of
             the Plan;



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         •    the incurrence of substantial costs by the Debtors in connection with the restructuring, without
              realizing any of the anticipated benefits of the Plan;

         •    the possibility, for the Debtors, of being unable to repay indebtedness when due and payable;
              and

         •    the Debtors pursuing traditional chapter 11 or chapter 7 proceedings, resulting in recoveries for
              creditors and interest holders that are less than contemplated under the Plan, or resulting in no
              recovery for certain creditors and interest holders.

         D.       Risks Related to the Debtors’ Businesses

                  1.       The Debtors Will Be Subject to the Risks and Uncertainties Associated with
                           the Chapter 11 Cases

          For the duration of the chapter 11 cases, the Debtors’ ability to operate will be subject to the risks
 and uncertainties associated with bankruptcy. These risks include the following: (a) ability to develop,
 confirm, and consummate the Restructuring Transactions specified in the Plan; (b) ability to obtain
 Bankruptcy Court approval with respect to motions filed in the chapter 11 cases from time to time; (c)
 ability to maintain relationships with suppliers, vendors, service providers, customers, employees, and other
 third parties; (d) ability to maintain contracts that are critical to the Debtors’ operations; (e) ability of third
 parties to seek and obtain Bankruptcy Court approval to terminate contracts and other agreements with the
 Debtors; (f) ability of third parties to seek and obtain Bankruptcy Court approval to terminate or shorten
 the exclusivity period for the Debtors to propose and confirm a chapter 11 plan, to appoint a chapter 11
 trustee, or to convert the chapter 11 cases to chapter 7 proceedings; and (g) the actions and decisions of the
 Debtors’ creditors and other third parties who have interests in the chapter 11 cases that may be inconsistent
 with the Debtors’ plans.

          These risks and uncertainties could affect the Debtors’ businesses and operations in various ways.
 For example, negative events associated with the chapter 11 cases could adversely affect the Debtors’
 relationships with suppliers, service providers, customers, employees, and other third parties, which in turn
 could adversely affect the Debtors’ operations and financial condition and ability to consummate the Plan.
 Also, the Debtors will need the prior approval of the Bankruptcy Court for transactions outside the ordinary
 course of business, which may limit the Debtors’ ability to respond timely to certain events or take
 advantage of certain opportunities. Because of the risks and uncertainties associated with the chapter 11
 cases, the Debtors cannot accurately predict or quantify the ultimate impact of events that occur during the
 chapter 11 cases that may be inconsistent with the Debtors’ plans.

                  2.       The Debtors May Not Be Able to Accurately Report Their Financial Results

           The Audit Committee has concluded that the Debtors’ financial statements for (i) the fiscal years
 ended December 31, 2015 and December 31, 2016 included in the annual reports on Form 20-F for such
 years, (ii) the interim periods within such fiscal years included in the reports on Form 6-K for such periods,
 (iii) the periods ended March 31, 2017, June 30, 2017, September 30, 2017 included in the reports on Form
 6-K for such periods, and (iv) related press releases describing the Debtors’ financial results for such
 periods, as well as the fourth quarter of each of 2015, 2016 and 2017 (and the year ended December 31,
 2017), should no longer be relied upon. In addition, the Audit Committee and its counsel, Arnold & Porter,
 continue to conduct the Investigation into alleged fraudulent accounting entries and other potential
 fraudulent activity related to the Debtors.




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         The Debtors have established internal controls over financial reporting. However, internal controls
 over financial reporting may not prevent or detect misstatements or omissions in the Debtors’ financial
 statements because of their inherent limitations, including the possibility of human error, and the
 circumvention or overriding of controls or fraud. Therefore, even effective internal controls can provide
 only reasonable assurance with respect to the preparation and fair presentation of financial statements. If
 the Debtors fail to maintain the adequacy of their internal controls, the Debtors may be unable to provide
 financial information in a timely and reliable manner within the time periods required for the Debtors’
 financial reporting under SEC rules and regulations and the terms of the agreements governing the Debtors’
 indebtedness. Any such difficulties or failure could materially adversely affect the Debtors’ business, results
 of operations, and financial condition. Further, the Debtors may discover other internal control deficiencies
 in the future and/or fail to adequately correct previously identified control deficiencies, which could
 materially adversely affect the Debtors’ businesses, results of operations, and financial condition.

                  3.      The Debtors May Not Be Able to Achieve Their Projected Financial Results

         The Debtors may not be able to meet their projected financial results or achieve the revenue or cash
 flow that the Debtors have assumed in projecting their future business prospects. If the Debtors do not
 achieve these projected revenue or cash flow levels, the Debtors may lack sufficient liquidity to continue
 operating as planned after emergence. The financial projections represent management’s view based on
 currently known facts and hypothetical assumptions about their future operations. They do not, however,
 guarantee the Debtors’ future financial performance.

                  4.      Operating in Bankruptcy for a Long Period of Time May Harm the
                          Debtors’ Businesses

           A long period of operations under Bankruptcy Court protection could have a material adverse effect
 on the Debtors’ businesses, financial condition, results of operations, and liquidity. So long as the
 proceedings related to the chapter 11 cases continue, senior management will be required to spend a
 significant amount of time and effort dealing with the reorganization instead of focusing exclusively on
 business operations. A prolonged period of operating under Bankruptcy Court protection also may make it
 more difficult to retain management and other key personnel necessary to the success of the Debtors’
 businesses. In addition, the longer the proceedings related to the chapter 11 cases continue, the more likely
 it is that customers and suppliers will lose confidence in the Debtors’ ability to reorganize their businesses
 successfully and will seek to establish alternative commercial relationships.

          So long as the proceedings related to the chapter 11 cases continue, the Debtors will be required to
 incur substantial costs for professional fees and other expenses associated with the administration of the
 chapter 11 cases. The chapter 11 proceedings also require debtor-in-possession financing to fund the
 Debtors’ operations. If the Debtors are unable to fully draw on the availability under the DIP Financing,
 the chances of successfully reorganizing the Debtors’ businesses may be seriously jeopardized, the
 likelihood that the Debtors will instead be required to liquidate or sell their assets may be increased, and,
 as a result, creditor recoveries may be significantly impaired.

                  5.      The Debtors May be Adversely Affected by Potential Litigation, Including
                          Litigation Arising Out of the Chapter 11 Cases

           The Debtors or, in the future the Reorganized Debtors, may become party to litigation. In general,
 litigation can be expensive and time consuming to bring or defend against. Such litigation could result in
 settlements or damages that could significantly affect the Debtors or Reorganized Debtors’ financial results.
 It is also possible that certain parties will commence litigation with respect to the treatment of their Claims
 under the Plan. It is not possible to predict the potential litigation that the Debtors or Reorganized Debtors


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 may become party to, nor the final resolution of such litigation. The impact of any such litigation on the
 Debtors or Reorganized Debtors’ businesses and financial stability, however, could be material.

                  6.      The Loss of Key Personnel Could Adversely Affect the Debtors’ Operations

          The Debtors’ operations are dependent on a relatively small group of key management personnel
 and a skilled employee base. The Debtors’ recent liquidity issues and the chapter 11 cases have created
 distractions and uncertainty for key management personnel and employees. As a result, the Debtors have
 experienced and may continue to experience increased levels of employee attrition. The Debtors may be
 unable to find acceptable replacements with comparable skills and experience and the loss of such key
 management personnel could adversely affect the Debtors’ ability to operate their businesses. In addition,
 a loss of key personnel or material erosion of employee morale could have a material adverse effect on the
 Debtors’ ability to meet customer and counterparty expectations, thereby adversely affecting the Debtors’
 businesses and the results of operations.

                  7.      Increases in Oil and Fuel Prices Could have a Material Effect on the
                          Debtors’ Business

          The purchase of oil and/or marine fuel represents large portion of the Debtors’ overall cost
 structure. Increases in the costs of these inputs may increase the Debtors’ overall costs and the Debtors
 may not be able to maintain projected gross margins on the sale of fuel or meet projected volume levels
 should customers have lower demand given the higher fuel cost. Higher fuel prices may also increase the
 Debtors’ capital requirements.

                  8.      Oil and Marine Fuel Prices Are Volatile, and Price Fluctuations Could
                          Materially Adversely Affect the Debtors’ Business, Results of Operations,
                          and Financial Conditions

          Oil and marine fuel are commodities, and therefore, their prices are subject to wide fluctuations in
 response to changes in supply and demand and are subject to both short- and long-term cyclical trends. Oil
 and marine fuel prices historically have been volatile and are likely to continue to be volatile in the future,
 especially given current economic and geopolitical conditions. The prices for oil and marine fuel are subject
 to a variety of factors beyond the Debtors’ control, such as:

         •   the current uncertainty in the global economy;

         •   changes in global supply and demand for oil and natural gas;

         •   the condition of the United States and global economies;

         •   the actions of certain foreign countries;

         •   political conditions, including embargoes, war or civil unrest in or affecting other oil producing
             activities of certain countries;

         •   the level of global oil exploration and production activity;

         •   the level of global oil inventories;

         •   production or pricing decisions made by the Organization of Petroleum Exporting Countries
             (“OPEC”);


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         •    weather conditions;

         •    technological advances affecting energy consumption; and

         •    the price and availability of alternative fuels.

                  9.       The Debtors’ Business is Subject to Complex Laws and Regulations That
                           Can Adversely Affect the Cost, Manner, or Feasibility of Doing Business

          The Debtors’ operations are subject to extensive laws and regulations in a number of different
 countries across the globe, including complex environmental laws and occupational health and safety laws.
 The Debtors may be required to make large expenditures to comply with such regulations. Failure to
 comply with these laws and regulations may result in the suspension or termination of operations and
 subject the Debtors to administrative, civil and criminal penalties.

         The Debtors’ operations create the risk of environmental liabilities to governments or third parties
 for any unlawful discharge of pollutants into the air or water. In the event of environmental violations, the
 Reorganized Debtors may be charged with remedial costs and land owners may file certain claims. Laws
 and regulations protecting the environment have become more stringent in recent years, and may, in some
 circumstances, result in liability for environmental damage regardless of negligence or fault. In addition,
 pollution and similar environmental risks generally are not fully insurable. Their liabilities and costs could
 have a material adverse effect on the business, financial condition, results of operations and cash flows of
 the Reorganized Debtors.

         Any future proposed or fully enacted laws and regulations could have a material impact on the
 Debtors’ business and operations. In particular, the International Maritime Organization (the “IMO”), a
 specialized agency of the United Nations responsible for regulating shipping, has promulgated the 2020
 IMO fuel sulfur regulation (the “2020 Regulation”), which requires all vessels to utilize fuel oil with a
 maximum sulfur content of 0.5 percent by January 1, 2020. The impact of the 2020 Regulation on the
 Debtors’ business and operations and on the price of marine fuel is unknown and could have a material
 impact on the Debtors’ businesses, results of operations, and financial condition.

                  10.      Certain Claims May Not Be Discharged and Could Have a Material Adverse
                           Effect on the Debtors’ Financial Condition and Results of Operations

          The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges a debtor
 from substantially all debts arising prior to confirmation. With few exceptions, all Claims that arise prior
 to the Debtors’ filing of their Petitions or before confirmation of the plan of reorganization (a) would be
 subject to compromise and/or treatment under the plan of reorganization and/or (b) would be discharged in
 accordance with the terms of the plan of reorganization. Any Claims not ultimately discharged through a
 plan of reorganization could be asserted against the reorganized entity and may have an adverse effect on
 the Post-Effective Date Debtors’ financial condition.

         E.       Liquidity Risks

          The Reorganized Debtors’ ability to carry out capital spending that is important to their ongoing
 operations and future growth and will depend on a number of factors, including access to capital, sufficient
 liquidity to fund business operations including the purchase of inventory for sale to customers, and the
 ability to achieve any business plan. These factors will be affected by general economic, financial,
 competitive, regulatory, business, and other factors that are beyond the Reorganized Debtors’ control.



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         F.      Risks Associated with Forward Looking Statements

          This Disclosure Statement contains certain “forward-looking statements.” All statements other
 than statements of historical fact are “forward-looking” statements for purposes of the U.S. federal and state
 securities laws. These statements may be identified by the use of forward looking terminology such as
 “anticipate,” “believe,” “continue,” “could,” “estimate,” “expect,” “intend,” “may,” “might,” “our vision,”
 “plan,” “potential,” “preliminary,” “predict,” “should,” “will” or “would” or the negative thereof or other
 variations thereof or comparable terminology. The Debtors have based these forward-looking statements
 on their current expectations, assumptions, estimates and projections. While the Debtors believe these
 expectations, assumptions, estimates and projections are reasonable, such forward-looking statements are
 only predictions and involve known and unknown risks and uncertainties, many of which are beyond their
 control, which may cause their actual results, performance or achievements to differ materially from any
 future results, performance or achievements expressed or implied by these forward-looking statements.
 The financial information contained in this Disclosure Statement has not been audited. In preparing
 this Disclosure Statement, the Debtors relied on financial data derived from their books and records that
 was available at the time of such preparation. Although the Debtors have used their reasonable business
 judgment to ensure the accuracy of the financial information provided in this Disclosure Statement, and
 while the Debtors believe that such financial information fairly reflects the financial condition of the
 Debtors, the Debtors are unable to represent or warrant that the financial information contained in this
 Disclosure Statement and attached hereto is without inaccuracies.

         G.      Disclosure Statement Disclaimer

                 1.       Information Contained in this Disclosure Statement is for Soliciting Votes

          The information contained in this Disclosure Statement is for the purposes of soliciting acceptances
 of the Plan and may not be relied upon for any other purpose.

                 2.       This Disclosure Statement Has Not Been Approved by the United States
                          Securities and Exchange Commission

         This Disclosure Statement has not and will not be filed with the SEC or any state regulatory
 authority. Neither the SEC nor any state regulatory authority has approved or disapproved of the Securities
 described in this Disclosure Statement or has passed upon the accuracy or adequacy of this Disclosure
 Statement, or the exhibits or the statements contained in this Disclosure Statement.

                 3.       No Legal, Business, Accounting, or Tax Advice Is Provided to You by this
                          Disclosure Statement

         This Disclosure Statement is not advice to you. The contents of this Disclosure Statement should
 not be construed as legal, business, accounting, or tax advice. Each Holder of a Claim or an Interest should
 consult such Holder’s own legal counsel, accountant, or other applicable advisor with regard to any legal,
 business, accounting, tax, and other matters concerning his or her Claim or Interest. This Disclosure
 Statement may not be relied upon for any purpose other than to determine how to vote on the Plan or object
 to Confirmation of the Plan.

                 4.       No Admissions Made

        The information and statements contained in this Disclosure Statement will neither (a) constitute
 an admission of any fact or liability by any entity (including, without limitation, the Debtors), nor (b) be



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 deemed evidence of the tax or other legal effects of the Plan on the Debtors, the Reorganized Debtors, or
 Holders of Allowed Claims, or any other parties in interest.

                  5.      Failure to Identify Litigation Claims or Projected Objections

          No reliance should be placed on the fact that a particular litigation claim or projected objection to
 a particular Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors, Reorganized
 Debtors, or the Litigation Trustee, as applicable, may seek to investigate, file, and prosecute objections to
 Claims or Interests after the Confirmation or Effective Date of the Plan irrespective of whether this
 Disclosure Statement identifies such Claims or Interests as Disputed Claims or Interests.

                  6.      No Waiver of Right to Object or Right to Recover Transfers and Assets

         The vote by a Holder of a Claim for or against the Plan does not constitute a waiver or release of
 any claims, causes of action, or rights of the Debtors (or any entity, as the case may be) to object to that
 Holder’s Claim, or recover any preferential, fraudulent, or other voidable transfer of assets, regardless of
 whether any claims or causes of action of the Debtors or their respective Estates or the Reorganized Debtors
 are specifically or generally identified in this Disclosure Statement.

                  7.      Information Was Provided by the Debtors and Was Relied Upon by the
                          Debtors’ Advisors

         The Debtors’ advisors have relied upon information provided by the Debtors in connection with
 the preparation of this Disclosure Statement. Although the Debtors’ advisors have performed certain
 limited due diligence in connection with the preparation of this Disclosure Statement, they have not verified
 independently the information contained in this Disclosure Statement.

                  8.      Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update

         The statements contained in this Disclosure Statement are made by the Debtors as of the date of
 this Disclosure Statement, unless otherwise specified in this Disclosure Statement, and the delivery of this
 Disclosure Statement after the date of this Disclosure Statement does not imply that there has not been a
 change in the information set forth in this Disclosure Statement since that date. While the Debtors have
 used their reasonable business judgment to ensure the accuracy of all of the information provided in this
 Disclosure Statement and in the Plan, the Debtors nonetheless cannot, and do not, confirm the current
 accuracy of all statements appearing in this Disclosure Statement. Further, although the Debtors may
 subsequently update the information in this Disclosure Statement, the Debtors have no affirmative duty to
 do so unless ordered to do so by the Bankruptcy Court.

                  9.      No Representations Outside this Disclosure Statement Are Authorized

          No representations concerning or relating to the Debtors, the Chapter 11 Cases, or the Plan are
 authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure
 Statement. Any representations or inducements made to secure your acceptance or rejection of the Plan
 that are other than as contained in, or included with, this Disclosure Statement, should not be relied upon
 by you in arriving at your decision. You should promptly report unauthorized representations or
 inducements to the counsel to the Debtors and the U.S. Trustee.




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         H.      Liquidation Under Chapter 7

          If no plan can be confirmed, the Debtors’ chapter 11 cases may be converted to cases under chapter
 7 of the Bankruptcy Code, pursuant to which a trustee would be elected or appointed to liquidate the assets
 of the Debtors for distribution in accordance with the priorities established by the Bankruptcy Code. A
 discussion of the effects that a chapter 7 liquidation would have on the recoveries of Holders of Claims and
 the Debtors’ Liquidation Analysis is set forth in Article IX of this Disclosure Statement, “Confirmation of
 the Plan,” and is also included in the Debtors’ Liquidation Analysis.

 XI.     CERTAIN SECURITIES LAW MATTERS

         A.      Reorganized Aegean Equity Interests

          As discussed herein, the Plan provides for the Debtors to distribute Reorganized Aegean Equity
 Interests to Holders of DIP Credit Facility Claims. The Debtors believe that the Reorganized Aegean Equity
 Interests are or may be “securities,” as defined in section 2(a)(1) of the Securities Act, section 101 of the
 Bankruptcy Code and any applicable state securities law (each, a “Blue Sky Law”).

         B.      Issuance and Resale of Securities Under the Plan

                 1.       Exemptions from Registration Requirements of the Securities Act and Blue
                          Sky Laws

           The Debtors intend that the Litigation Trust will be organized in compliance with applicable law
 such that the Litigation Trust Interests will not be treated as securities. As a result, the Debtors do not
 believe that registration under the Securities Act and applicable state law in connection with the issuance
 and distribution of the Litigation Trust Interests or an exemption from such registration requirements is
 required. However, to the extent that the Litigation Trust Interests are deemed to be securities, the issuance
 and distribution thereof under the Plan would qualify for the exemption from registration provided under
 (i) section 1145 of the Bankruptcy Code (except with respect to an entity that is an “underwriter” as defined
 in subsection (b) of section 1145 of the Bankruptcy Code) or (ii) (including with respect to an entity that is
 an “underwriter”) section 4(a)(2) under the Securities Act and/or Regulation D thereunder.

          All shares or units of Reorganized Aegean Equity Interests issued under the Plan will be issued in
 reliance upon (i) section 1145 of the Bankruptcy Code (except with respect to an entity that is an
 “underwriter” as defined in subsection (b) of section 1145 of the Bankruptcy Code) or (ii) (including with
 respect to an entity that is an “underwriter”) pursuant to section 4(a)(2) under the Securities Act and/or
 Regulation D thereunder. Regulation D is a non-exclusive safe harbor from registration promulgated by
 the SEC under section 4(a)(2) of the Securities Act. To the extent that the Litigation Trust Interests are
 determined to be securities in accordance with the Plan, the Litigation Trust Interests will also be issued in
 reliance upon (i) section 1145 of the Bankruptcy Code (except with respect to an entity that is an
 “underwriter” as defined in subsection (b) of section 1145 of the Bankruptcy Code) or (ii) (including with
 respect to an entity that is an “underwriter”) section 4(a)(2) under the Securities Act and/or Regulation D
 thereunder. In reliance upon either or both of these exemptions, the offer and sale of the Reorganized
 Aegean Equity Interests (and the Litigation Trust Interests if they are determined to be securities) under the
 Plan will not be registered under the Securities Act or any applicable state Blue Sky Laws.

         Section 1145 of the Bankruptcy Code provides that the registration requirements of section 5 of the
 Securities Act (and any applicable state Blue Sky Laws) will not apply to the offer or sale of stock, options,
 warrants, rights, privileges, or other securities by a debtor if: (a) the offer or sale occurs under a plan of
 reorganization; (b) the recipients of the securities hold a claim against, an interest in, or claim for


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 administrative expense against, the debtor; and (c) the securities are issued in exchange for a claim against
 or interest in a debtor or affiliate or are issued principally in such exchange and partly for cash and property.

          To the extent that the issuance and distribution of the Reorganized Aegean Equity Interests and
 Litigation Trust Interests are covered by section 1145 of the Bankruptcy Code, the Reorganized Aegean
 Equity Interests and Litigation Trust Interests may be resold without registration under the Securities Act
 or other federal securities laws, unless the holder is an “underwriter” (as discussed below) with respect to
 such securities, as that term is defined in section 2(a)(11) of the Securities Act and in the Bankruptcy Code.
 In addition, the Reorganized Aegean Equity Interests (and the Litigation Trust Interests if they are
 determined to be securities) generally may be resold without registration under applicable state Blue Sky
 Laws pursuant to various exemptions provided by the respective Blue Sky Laws of those states; however,
 the availability of those exemptions for any such resale cannot be known unless individual state Blue Sky
 Laws are examined.

          To the extent any shares or units of Reorganized Aegean Equity Interests and Litigation Trust
 Interests are issued in reliance on section 4(a)(2) of the Securities Act or Regulation D thereunder, such
 shares or units will be “restricted securities” subject to resale restrictions and may be resold, exchanged,
 assigned or otherwise transferred only pursuant to registration, or an applicable exemption from registration
 under the Securities Act and other applicable law. In that regard, each of the Holders of DIP Credit Facility
 Claims has made customary representations to the Debtors (including that each is an “accredited investor”
 (within the meaning of Rule 501(a) of the Securities Act) or a “qualified institutional buyer” (as defined
 under Rule 144A promulgated under the Securities Act)).

          The Plan contemplates the application of (i) section 1145 of the Bankruptcy Code and/or (ii) section
 4(a)(2) of the Securities Act or Regulation D thereunder to the Reorganized Aegean Equity Interests (and
 to the Litigation Trust Interests if they are determined to be securities) but at this time, the Debtors express
 no view as to whether any Person may freely resell Reorganized Aegean Equity Interests and Litigation
 Trust Interests without registration under the Securities Act, other federal securities laws, or applicable state
 Blue Sky Laws. Recipients of Reorganized Aegean Equity Interests and Litigation Trust Interests are
 advised to consult with their own legal advisors as to the applicability of section 1145 of the Bankruptcy
 Code and/or section 4(a)(2) of the Securities Act or Regulation D thereunder to the Reorganized Aegean
 Equity Interests and the Litigation Trust Interests and the availability of any exemption from registration
 under the Securities Act, other federal securities laws, or applicable state Blue Sky Laws.

                  2.       “Underwriters”; Resale of the Reorganized Aegean Equity Interests (and
                           Litigation Trust Interests if determined to be securities) by Persons Deemed
                           to be “Affiliates” or “Underwriters”; Resale of Reorganized Aegean Equity
                           Interests (and Litigation Trust Interests if determined to be securities)
                           Issued Pursuant to Section 4(a)(2) of the Securities Act or Regulation D
                           Thereunder

          Section 1145(b)(1) of the Bankruptcy Code defines an “underwriter” as one who, except with
 respect to “ordinary trading transactions” of an entity that is not an “issuer”: (a) purchases a claim against,
 interest in, or claim for an administrative expense in the case concerning, the debtor, if such purchase is
 with a view to distribution of any security received or to be received in exchange for such Claim or Interest;
 (b) offers to sell securities offered or sold under a plan for the holders of such securities; (c) offers to buy
 securities offered or sold under a plan from the holders of such securities, if such offer to buy is (i) with a
 view to distribution of such securities and (ii) under an agreement made in connection with the Plan, with
 the consummation of the Plan, or with the offer or sale of securities under the Plan; or (d) is an issuer of the
 securities within the meaning of section 2(a)(11) of the Securities Act. In addition, a Person who receives



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 a fee in exchange for purchasing an issuer’s securities could also be considered an underwriter within the
 meaning of section 2(a)(11) of the Securities Act.

          The definition of an “issuer” for purposes of whether a Person is an underwriter under section
 1145(b)(1)(D) of the Bankruptcy Code, by reference to section 2(a)(11) of the Securities Act, includes as
 “statutory underwriters” any person directly or indirectly controlling or controlled by an issuer, or any
 person under direct or indirect common control with an issuer, of securities. As a result, the reference to
 “issuer,” as used in the definition of “underwriter” contained in section 2(a)(11) of the Securities Act, is
 intended to cover “controlling Persons” of the issuer of the securities. “Control,” as defined in Rule 405 of
 the Securities Act, means the possession, directly or indirectly, of the power to direct or cause the direction
 of the management and policies of a person, whether through the ownership of voting securities, by contract,
 or otherwise. Accordingly, an officer, director or significant shareholder of a reorganized debtor or its
 successor under a plan of reorganization may be deemed to be a “controlling Person” of such debtor or
 successor, particularly, with respect to officers and directors, if the management position or directorship is
 coupled with ownership of a significant percentage of the reorganized debtor’s or its successor’s voting
 securities, through contract or otherwise. In addition, the legislative history of section 1145 of the
 Bankruptcy Code suggests that a creditor who owns ten percent (10 percent) or more of a class of securities
 of a reorganized debtor may be presumed to be a “controlling Person” and, therefore, an underwriter.

          Resales of the Reorganized Aegean Equity Interests (and the Litigation Trust Interests if they are
 determined to be securities) by an entity who (i) is an “affiliate” of the Reorganized Debtors as defined in
 Rule 144(a)(1) under the Securities Act, (ii) has been such an “affiliate” within ninety (90) days of such
 transfer, (iii) has acquired the Reorganized Aegean Equity Interests or Litigation Trust Interests from an
 “affiliate” in a private transaction within one year of such transfer, or (iv) is an “underwriter” (which
 definition includes “controlling Persons” of an issuer) are not exempted by section 1145 of the Bankruptcy
 Code from registration under the Securities Act, state Blue Sky Laws, or other applicable law. Under
 certain circumstances, holders of Reorganized Aegean Equity Interests (and Litigation Trust Interests if
 they are determined to be securities) who have one of the above attributes or are deemed to be
 “underwriters,” or who hold Reorganized Aegean Equity Interests or Litigation Trust Interests issued
 pursuant to section 4(a)(2) of the Securities Act or Regulation D thereunder, may be entitled to resell their
 Reorganized Aegean Equity Interests or Litigation Trust Interests pursuant to the limited safe harbor resale
 provisions for securities (including “control securities”) under Rule 144 of the Securities Act. Generally,
 Rule 144 of the Securities Act would permit the public sale of control securities (such as securities issued
 under the Plan to an “affiliate”) if current information regarding the issuer is publicly available, and if
 volume limitations, notice and manner of sale requirements are met and would permit the public sale of
 restricted securities (such as securities received from an “affiliate” in a private transaction) if current
 information regarding the issuer is publicly available and/or holding period requirements are met.

          Whether any particular Person would be deemed to meet one or more of the above criteria or is an
 “underwriter” (including whether such Person is a “controlling Person” of an issuer) with respect to the
 Reorganized Aegean Equity Interests (and Litigation Trust Interests if they are determined to be securities),
 would depend upon various facts and circumstances applicable to that Person. Accordingly, the Debtors
 express no view as to whether any Person would be deemed an “affiliate” or “underwriter” with respect to
 the Reorganized Aegean Equity Interests (and to the Litigation Trust Interests if they are determined to be
 securities) and, in turn, whether any Person may freely resell Reorganized Aegean Equity Interests and
 Litigation Trust Interests. The Debtors recommend that potential recipients of Reorganized Aegean Equity
 Interests and Litigation Trust Interests consult their own counsel concerning their ability to freely trade
 such securities without registration or qualification with the Securities Act, other federal securities laws, or
 applicable state Blue Sky Laws.




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 XII.    CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

         A.       Introduction

          The following discussion summarizes certain U.S. federal income tax consequences of the
 implementation of the Plan to the U.S. Debtor (as defined below) and certain U.S. Holders (as defined
 below) of Claims. Except as provided below, this summary does not address the U.S. federal income tax
 consequences to holders of Claims not entitled to vote to accept or reject the Plan. This summary is based
 on the Internal Revenue Code of 1986, as amended (the “Tax Code”), the U.S. Treasury Regulations
 promulgated thereunder (the “Treasury Regulations”), judicial decisions, and published administrative
 rules, rulings, and pronouncements of the U.S. Internal Revenue Service (the “IRS”) all as in effect on the
 date hereof. Changes in such rules or new interpretations thereof may have retroactive effect and could
 significantly affect the U.S. federal income tax consequences described below.

         The U.S. federal income tax consequences of the Plan are complex and are subject to significant
 uncertainties. The Debtors have not requested and will not request a ruling from the IRS or an opinion of
 counsel with respect to any of the tax aspects of the Plan. Thus, no assurance can be given that the IRS
 would not assert, or that a court would not sustain, a different position than any position discussed herein.

          This discussion addresses only those U.S. Holders that hold Claims as capital assets within the
 meaning of Section 1221 of the Tax Code. In addition, this summary does not address non-U.S., state,
 local, estate, or gift tax consequences of the Plan, nor does it purport to address the U.S. federal income tax
 consequences of the Plan to special classes of taxpayers (such as persons who are related to a Debtor within
 the meaning of the Tax Code, persons that are not U.S. Holders, broker-dealers, banks, mutual funds,
 insurance companies, financial institutions, small business investment companies, regulated investment
 companies, real estate investment trusts, retirement plans, individual retirement and other tax-deferred
 accounts, persons whose functional currency is not the U.S. dollar, persons subject to the alternative
 minimum tax or the “Medicare” tax on unearned income, tax exempt organizations, investors in
 pass-through entities, subchapter S corporations, persons who hold Claims, or who will hold equity interests
 in the Reorganized Debtors, as part of a straddle, hedge, constructive sale, conversion transaction, or other
 integrated investment, persons using a mark to market method of accounting, and U.S. Holders of Claims
 who are themselves in bankruptcy). Furthermore, this discussion assumes that U.S. Holders of Claims hold
 only Claims in a single Class. U.S. Holders of Claims in more than a single Class should consult their own
 tax advisors as to the effect such ownership may have on the U.S. federal income tax consequences
 described below. This discussion also assumes that the various debt and other arrangements to which the
 Debtors are parties will be respected for U.S. federal income tax purposes in accordance with their form.

          For purposes of this discussion, (A) the term “U.S. Holder” means a Holder of a Claim that is for
 U.S. federal income tax purposes (i) an individual citizen or resident of the United States, (ii) a corporation,
 or entity treated as a corporation, organized in or under the laws of the United States or any state thereof or
 the District of Columbia, (iii) a trust if (a) a court within the United States is able to exercise primary
 supervision over the administration of the trust and one or more U.S. persons have the authority to control
 all substantial decisions of the trust or (b) such trust has made a valid election to be treated as a U.S. person
 for U.S. federal income tax purposes or (iv) an estate, the income of which is includible in gross income
 for U.S. federal income tax purposes regardless of its source and (B) the term “U.S. Debtor” means ABUSA.

          If a partnership (or other Entity treated as a partnership or other pass-through Entity for U.S. federal
 income tax purposes) is a Holder of a Claim, the tax treatment of a partner (or other beneficial owner)
 generally will depend upon the status of the partner (or other beneficial owner) and the activities of the
 Entity. Partners (or other beneficial owners) of partnerships (or other pass-through entities) that are Holders



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 of Claims should consult their respective tax advisors regarding the U.S. federal income tax consequences
 of the Plan.

         This summary is not intended to constitute a complete analysis of all tax considerations relevant to
 a particular U.S. Holder of a Claim. Each U.S. Holder of a Claim should seek advice from its own
 independent tax advisors concerning the U.S. federal, state, local, foreign income, and other tax
 consequences of the Plan to it in light of its particular circumstances.

        ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME
 TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
 SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE PARTICULAR
 CIRCUMSTANCES PERTAINING TO A HOLDER OF AN ALLOWED CLAIM OR ALLOWED
 INTEREST. ALL HOLDERS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS AS TO THE
 U.S. FEDERAL, STATE, LOCAL, AND NON-UNITED STATES TAX CONSEQUENCES OF THE
 PLAN.

         B.       Certain U.S. Federal Income Tax Consequences to the U.S. Debtor

                  1.       Transfer of Litigation Assets to Litigation Trust

          Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary, the
 Debtors believe the Litigation Trust should be treated as a “liquidation trust” for U.S. federal income tax
 purposes pursuant to Treasury Regulation section 301.7701-4(d), and that the trustee of the Litigation Trust
 will take a position on the Litigation Trust’s tax return accordingly. For U.S. federal income tax purposes,
 the transfer of assets to the Litigation Trust will be deemed to occur as (a) a first-step transfer of the
 Litigation Trust Assets to the Holders of Aegean Unsecured Claims (and possibly the Holders of Section
 510(b) Claims and Aegean Interests) and (b) a second-step transfer by such Holders to the Litigation Trust
 of such portion of the Litigation Trust Assets in exchange for the Litigation Trust Interests.

         No request for a ruling from the IRS will be sought on the classification of the Litigation Trust.
 Accordingly, there can be no assurance that the IRS would not take a contrary position to the classification
 of the Litigation Trust. If the IRS were to challenge successfully the classification of the Litigation Trust
 as a grantor trust, the federal income tax consequences to the Litigation Trust and the Litigation Trust
 Beneficiaries could vary from those discussed in the Plan (including the potential for an entity-level tax).
 For example, the IRS could characterize the Litigation Trust as a so-called “complex trust” subject to a
 separate entity-level tax on its earnings, except to the extent that such earnings are distributed during the
 taxable year.

          As soon as possible after the transfer of the Litigation Trust Assets to the Litigation Trust, the
 trustee(s) of the Litigation Trust shall make a good faith valuation of the Litigation Trust Assets. This
 valuation will be made available from time to time, as relevant for tax reporting purposes. Each of the
 Debtors, the trustee of the Litigation Trust, and the Holders of Claims and Interests receiving interests in
 the Litigation Trust shall take consistent positions with respect to the valuation of the Litigation Trust
 Assets, and such valuations shall be utilized for all U.S. federal income tax purposes.

          Allocations of taxable income of the Litigation Trust among the Litigation Trust Beneficiaries shall
 be determined by reference to the manner in which an amount of Cash equal to such taxable income would
 be distributed (were such Cash permitted to be distributed at such time) if, immediately prior to such deemed
 distribution, the Litigation Trust had distributed all its assets (valued at their tax book value) to the Litigation
 Trust Beneficiaries, adjusted for prior taxable income and loss and taking into account all prior and
 concurrent distributions from the Litigation Trust. Similarly, taxable loss of the Litigation Trust shall be


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 allocated by reference to the manner in which an economic loss would be borne immediately after a
 liquidating distribution of the remaining Litigation Trust Assets. The tax book value of the Litigation Trust
 Assets shall equal their fair market value on the date of the transfer of the Litigation Trust Assets to the
 Litigation Trust, adjusted in accordance with tax accounting principles prescribed by the Tax Code,
 applicable Treasury Regulations, and other applicable administrative and judicial authorities and
 pronouncements.

          The Litigation Trust shall in no event be dissolved later than five (5) years from the creation of
 such Litigation Trust unless the Bankruptcy Court, upon motion within the six (6) month period prior to the
 fifth (5th) anniversary (or within the six (6) month period prior to the end of an extension period),
 determines that a fixed period extension (not to exceed three (3) years, together with any prior extensions,
 without a favorable private letter ruling from the IRS or an opinion of counsel satisfactory to the trustee(s)
 of the Litigation Trust that any further extension would not adversely affect the status of the trust as a
 liquidating trust for United States federal income tax purposes) is necessary to facilitate or complete the
 recovery and liquidation of the Litigation Trust Assets.

          The Litigation Trust will file annual information tax returns with the IRS as a grantor trust pursuant
 to Treasury Regulations section 1.671-4(a) that will include information concerning certain items relating
 to the holding or disposition (or deemed disposition) of the Litigation Trust Assets (e.g., income, gain, loss,
 deduction and credit). Each Litigation Trust Beneficiary holding a beneficial interest in the Litigation Trust
 will receive a copy of the information returns and must report on its federal income tax return its share of
 all such items. The information provided by the Litigation Trust will pertain to Litigation Trust
 Beneficiaries who received their interests in the Litigation Trust in connection with the Plan.

          Subject to contrary definitive guidance from the IRS or a court of competent jurisdiction (including
 the receipt by the Litigation Trustee of an IRS private letter ruling if the Litigation Trustee so requests one,
 or the receipt of an adverse determination by the IRS upon audit if not contested by the Litigation Trustee),
 the Litigation Trustee may (A) elect to treat any Disputed Claims reserve as a “disputed ownership fund”
 governed by Treasury Regulation section 1.468B-9 and (B) to the extent permitted by applicable law, report
 consistently with the foregoing for state and local income tax purposes.

          Accordingly, any Disputed Claims reserve may be subject to tax annually on a separate entity basis
 on any net income earned with respect to the Litigation Trust Assets in such reserve, and all distributions
 from such reserve (which distributions will be net of the related expenses of the reserve) will be treated as
 received by Holders in respect of their Claims or Interests as if distributed by the Debtors. All parties
 (including, without limitation, the Debtors, the Litigation Trustee and the Litigation Trust Beneficiaries)
 will be required to report for tax purposes consistently with the foregoing.

         Because certain assets being transferred to the Litigation Trust by the Debtors include assets with
 no tax basis, the Debtors may recognize taxable income in connection with such transfers to the extent of
 the value of such assets.

                  2.      Cancellation of Debt and Reduction of Tax Attributes of the U.S. Debtor

          In general, absent an exception, the U.S. Debtor will realize and recognize cancellation of debt
 income (“COD Income”) upon satisfaction of its outstanding indebtedness for total consideration less than
 the amount of such indebtedness. The amount of COD Income, in general, is the excess of (a) the adjusted
 issue price of the indebtedness satisfied, over (b) the sum of (i) the amount of Cash paid, (ii) the issue price
 of any new indebtedness of the taxpayer issued, and (iii) the fair market value of any other new
 consideration (including stock of the debtor) given in satisfaction of such indebtedness at the time of the
 exchange.


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          Under section 108 of the Tax Code, however, a debtor is not required to include COD Income in
 gross income if the debtor is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy
 Code and the discharge of debt occurs pursuant to that proceeding. Instead, as a consequence of such
 exclusion, a debtor must reduce its tax attributes by the amount of COD Income that it excluded from gross
 income pursuant to the rule discussed in the preceding sentence. In general, tax attributes will be reduced
 in the following order: (a) NOLs and NOL carryforwards; (b) general business credit carryovers; (c)
 minimum tax credit carryovers; (d) capital loss carryovers; (e) tax basis in assets; (f) passive activity loss
 and credit carryovers; and (g) foreign tax credit carryovers. Alternatively, a debtor with COD Income may
 elect first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the Tax Code. The
 reduction in tax attributes occurs only after the tax for the year of the debt discharge has been determined.
 Any excess COD Income over the amount of available tax attributes is not subject to U.S. federal income
 tax and has no other U.S. federal income tax impact.

         The amount of COD Income of the U.S. Debtor, and accordingly the amount of tax attributes of
 the U.S. Debtor required to be reduced, will depend on, if the DIP Credit Facility Claims against the U.S.
 Debtor are (i) cancelled, the adjusted issue price of the DIP U.S. Credit Facility or (ii) exchanged for
 Reorganized Aegean Equity Interests, the fair market value of such Reorganized Aegean Equity Interests.
 This value cannot be known with certainty at this time. However, as a result of Confirmation, the U.S.
 Debtor expects that there will be material reductions in, or elimination of, NOLs, NOL carryforwards and
 other tax attributes that are not utilized before the end of the tax year in which the Effective Date occurs.

                  3.      Limitation of NOL Carryforwards and Other Tax Attributes of the U.S.
                          Debtor

          Following Confirmation, the U.S. Debtor anticipates that any NOL carryover, capital loss
 carryover, tax credit carryovers, and certain other tax attributes (such as losses and deductions that have
 accrued economically but are unrecognized as of the date of the ownership change) of the Reorganized
 Debtors allocable to periods before the Effective Date (collectively, the “Pre-Change Losses”) may be
 subject to limitation or elimination under sections 382 and 383 of the Tax Code as a result of an “ownership
 change” of the Reorganized Debtors by reason of the transactions pursuant to the Plan (to the extent such
 Pre-Change Losses are not eliminated pursuant to section 108 of the Tax Code.

          Under sections 382 and 383 of the Tax Code, if a corporation undergoes an “ownership change,”
 the amount of its Pre-Change Losses that may be utilized to offset future taxable income generally is subject
 to an annual limitation. The rules of section 382 of the Tax Code are complicated, but as a general matter,
 the Debtors anticipate that the transactions contemplated by the Plan will result in an “ownership change”
 of the Reorganized Debtors for these purposes, and that the Reorganized Debtors’ use of their Pre-Change
 Losses will be subject to limitation unless an exception to the general rules of section 382 of the Tax Code
 applies.

          For this purpose, if a corporation has a net unrealized built-in loss at the time of an ownership
 change (taking into account most assets and items of “built-in” income and deductions), then generally
 built-in losses (including amortization or depreciation deductions attributable to such built-in losses)
 recognized during the following five years (up to the amount of the original net unrealized built-in loss)
 will be treated as Pre-Change Losses and similarly will be subject to the annual limitation. In general, a
 corporation’s net unrealized built-in loss will be deemed to be zero unless it is greater than the lesser of (a)
 $10,000,000 or (b) 15 percent of the fair market value of its assets (with certain adjustments) before the
 ownership change.




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                                   General Section 382 Annual Limitation

          In general, the amount of the annual limitation to which a corporation that undergoes an “ownership
 change” would be subject is equal to the product of (a) the fair market value of the stock of the corporation
 immediately before the “ownership change” (with certain adjustments) multiplied by (b) the “long-term
 tax-exempt rate” (which is the highest of the adjusted federal long-term rates in effect for any month in the
 3-calendar-month period ending with the calendar month in which the “ownership change” occurs). The
 section 382 limitation may be increased to the extent that the U.S. Debtor recognizes certain built-in gains
 in its assets during the five-year period following the ownership change, or is treated as recognizing built-
 in gains pursuant to the safe harbors provided in IRS Notice 2003-65. Section 383 of the Tax Code applies
 a similar limitation to capital loss carryforwards and tax credits. Any unused limitation may be carried
 forward, thereby increasing the annual limitation in the subsequent taxable year. As discussed below,
 however, special rules may apply in the case of a corporation that experiences an ownership change as the
 result of a bankruptcy proceeding.

                                   Special Bankruptcy Exceptions

         An exception to the foregoing annual limitation rules generally applies when so-called “qualified
 creditors” of a debtor corporation in chapter 11 receive, in respect of their Claims, at least 50 percent of the
 vote and value of the stock of the reorganized debtor (or a controlling corporation if also in chapter 11)
 pursuant to a confirmed chapter 11 plan (the “382(l)(5) Exception”). Under the 382(l)(5) Exception, a
 debtor’s Pre-Change Losses are not limited on an annual basis, but, instead, NOL carryforwards will be
 reduced by the amount of any interest deductions claimed during the three taxable years preceding the
 effective date of the plan of reorganization, and during the part of the taxable year prior to and including
 the effective date of the plan of reorganization, in respect of all debt converted into stock in the
 reorganization. If the 382(l)(5) Exception applies and the Reorganized Debtors undergo another
 “ownership change” within two years after the Effective Date, then the Reorganized Debtors’ Pre-Change
 Losses effectively would be eliminated in their entirety.

          Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because the
 debtor does not qualify for it or the debtor otherwise elects not to utilize the 382(l)(5) Exception), a second
 special rule will generally apply (the “382(l)(6) Exception”). Under the 382(l)(6) Exception, the annual
 limitation will be calculated by reference to the lesser of the value of the debtor corporation’s new stock
 (with certain adjustments) immediately after the ownership change or the value of such debtor corporation’s
 assets (determined without regard to liabilities) immediately before the ownership change. This differs from
 the ordinary rule that requires the fair market value of a debtor corporation that undergoes an “ownership
 change” to be determined before the events giving rise to the change. The 382(l)(6) Exception also differs
 from the 382(l)(5) Exception in that under it the debtor corporation is not required to reduce its NOL
 carryforwards by the amount of interest deductions claimed within the prior three-year period, and the
 debtor may undergo a change of ownership within two years following the first “ownership change” without
 triggering the elimination of its Pre-Change Losses.

          The U.S. Debtor has not yet determined whether or not to utilize the 382(l)(5) Exception. It is
 possible that the U.S. Debtor will not qualify for the 382(l)(5) Exception. Alternatively, the Reorganized
 Debtors may decide to elect out of the 382(l)(5) Exception, particularly if it appears likely that another
 ownership change will occur within two years after emergence. In either case, the U.S. Debtor expects that
 its use of the Pre-Change Losses (if any) after the Effective Date will be subject to limitation based on the
 rules discussed above, but taking into account the 382(l)(6) Exception. Regardless of whether the
 Reorganized Debtors take advantage of the 382(l)(6) Exception or the 382(l)(5) Exception, the Reorganized
 Debtors’ use of their Pre-Change Losses after the Effective Date may be adversely affected if an “ownership
 change” within the meaning of section 382 of the Tax Code were to occur after the Effective Date.


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         C.       Certain U.S. Federal Income Tax Consequences to U.S. Holders of Aegean
                  Unsecured Claims

         The following discussion assumes that the Debtors will undertake the restructuring transactions
 currently contemplated by the Plan. Holders of Aegean Unsecured Claims are urged to consult their tax
 advisors regarding the tax consequences of the restructuring transactions.

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release, and discharge
 of the Aegean Unsecured Claims, the holders of such Claims shall receive their Pro Rata share of the
 Aegean Unsecured Claims Cash Pool and the Class A Litigation Trust Units.

          As discussed above, the Debtors expect (and the Litigation Trust documents shall provide) that the
 trustee of the Litigation Trust will treat the Litigation Trust as a grantor trust of which the Holders of Aegean
 Unsecured Claims (and possibly the Holders of Section 510(b) Claims and Aegean Interests) are the
 grantors. Each Holder of an Aegean Unsecured Claim should accordingly be treated as having (a) received
 its Pro Rata share of the Litigation Trust Assets from the Debtors and (b) contributed such assets to the
 Litigation Trust in exchange for the Class A Litigation Trust Units.

          A U.S. Holder’s receipt of the Class A Litigation Trust Units should be treated as a taxable
 exchange under section 1001 of the Tax Code. Other than with respect to any amounts received that are
 attributable to accrued but untaxed interest (or original issue discount), each U.S. Holder of such Claim
 should recognize gain or loss equal to the difference between: (i) the sum of (A) the amount of any Cash
 received plus (B) the fair market value of the Litigation Trust Assets deemed received; and (ii) such U.S.
 Holder’s adjusted basis, if any, in such Claim.

          U.S. Holders of such Claims should obtain a tax basis in their Pro Rata share of each of the
 Litigation Trust Assets equal to the fair market value of such Holder’s Pro Rata share of each Litigation
 Trust Assets as of the date such property is treated as having been distributed to the U.S. Holder pursuant
 to (a) above. The holding period for the beneficial interest in these assets should begin on the day following
 the Effective Date.

          The U.S. federal income tax obligations of holders with respect to their beneficial interest in the
 Litigation Trust are not dependent on the Litigation Trust distributing any Cash or other proceeds. Holders
 of such Claims will be required to report on their U.S. federal income tax returns their share of the Litigation
 Trust’s items of income, gain, loss, deduction, and credit in the year recognized by the Litigation Trust.
 This requirement may result in such Holders being subject to tax on their allocable share of the Litigation
 Trust’s taxable income prior to receiving any cash distributions from the Litigation Trust. In general, except
 with respect to the Disputed Claims Reserve, a distribution of Cash by the Litigation Trust will not be
 separately taxable to a holder of a beneficial interest in the Litigation Trust since the beneficiary is already
 regarded for U.S. federal income tax purposes as owning the underlying assets (and was taxed at the time
 the Cash was earned or received by the Litigation Trust).

       HOLDERS OF ALLOWED AEGEAN UNSECURED CLAIMS ARE URGED TO
 CONSULT THEIR TAX ADVISORS REGARDING THE TAX CONSEQUENCES OF THE
 RIGHT TO RECEIVE AND OF THE RECEIPT (IF ANY) OF PROPERTY FROM THE
 LITIGATION TRUST.

       HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE
 RECOGNITION OF GAIN OR LOSS, FOR FEDERAL INCOME TAX PURPOSES, ON THE
 SATISFACTION OF THEIR CLAIMS.



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         D.       Accrued Interest

          To the extent that any amount received by a U.S. Holder of a Claim is attributable to accrued but
 unpaid interest that accrued during its holding period, such amount should be taxable to the U.S. Holder as
 interest income (to the extent not already taken into income by the Holder). Conversely, a U.S. Holder of
 a Claim may be able to recognize a deductible loss (or, possibly, a write off against a reserve for worthless
 debts) to the extent that any accrued interest on the Claim was previously included in the U.S. Holder’s
 gross income but was not paid in full by the Debtors. Such loss may be ordinary, but the tax law is unclear
 on this point.

          The extent to which the consideration received by the U.S. Holder of a Claim will be attributable
 to accrued interest is unclear. The Plan generally provides that distributions in respect of Allowed Claims
 shall be allocated first to the principal amount of such Claims (as determined for U.S. federal income tax
 purposes) and then, to the extent the consideration exceeds the principal amount of the Claims, to any
 portion of such Claims for accrued but unpaid interest. Nevertheless, the Treasury Regulations generally
 treat a payment under a debt instrument first as a payment of accrued and untaxed interest and then as a
 payment of principal. The applicability of these Treasury Regulations to a partial recovery in a bankruptcy
 is unclear. A U.S. Holder of a Claim with accrued and unpaid interest is urged to consult its own tax advisor
 as to the allocation of any recovery between principal and interest.

         E.       Market Discount

           Under the “market discount” provisions of sections 1276 through 1278 of the Tax Code, some or
 all of the gain realized by a U.S. Holder of a Claim on the Effective Date may be treated as ordinary income
 (instead of capital gain), to the extent of the amount of “accrued market discount” on the Claim. In general,
 a debt instrument is considered to have been acquired with “market discount” if its holder’s adjusted tax
 basis in the debt instrument is less than (i) the sum of all remaining payments to be made on the debt
 instrument, excluding “qualified stated interest” or (ii) in the case of a debt instrument issued with original
 issue discount, its adjusted issue price, by at least a de minimis amount (equal to 0.25 percent of the sum of
 all remaining payments to be made on the Claim, excluding qualified stated interest, multiplied by the
 number of remaining whole years to maturity).

         Any gain recognized by a U.S. Holder on the taxable disposition of a Claim that had been acquired
 with market discount should be treated as ordinary income to the extent of the market discount that accrued
 thereon while such Claim was considered to be held by the U.S. Holder (unless the U.S. Holder elected to
 include market discount in income as it accrued).

         F.       Information Reporting and Backup Withholding

         Payments with respect to Claims and Interests under the Plan may be subject to applicable
 information reporting and backup withholding (at the applicable rate). Backup withholding is not an
 additional tax. Amounts withheld under the backup withholding rules may be credited against a U.S.
 Holder’s federal income tax liability, and a U.S. Holder may obtain a refund of any excess amounts withheld
 under the backup withholding rules by filing an appropriate timely claim for refund with the IRS (generally,
 a federal income tax return). Furthermore, certain penalties may be imposed by the IRS on a recipient of
 payments who is required to supply information but who does not do so in the proper manner.

          Treasury regulations generally require disclosure by a taxpayer on its U.S. federal income tax return
 of certain types of transactions in which the taxpayer participated, including, among other types of
 transactions, certain transactions that result in the taxpayer’s claiming a loss in excess of certain thresholds.
 Holders of Claims are urged to consult their own tax advisors regarding these regulations and whether the


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 contemplated transactions under the Plan would be subject to these regulations and require disclosure on
 their tax returns.

          The U.S. federal income tax consequences of the Plan are complex. The foregoing summary does
 not discuss all aspects of U.S. federal income taxation that may be relevant to a particular U.S. Holder in
 light of such U.S. Holder’s circumstances and income tax situation. All Holders of Claims should consult
 with their tax advisors as to the particular tax consequences to them of the transactions contemplated by the
 Plan, including the applicability and effect of any state, local, or foreign tax laws and of any change in
 applicable tax laws.

 XIII.   RECOMMENDATION

          In the opinion of the Debtors, the Plan is preferable to all other available alternatives and provides
 for a larger distribution to the Debtors’ creditors and holders of other interests than would otherwise result
 in any other scenario. Accordingly, the Debtors recommend that Holders of Claims or Interests in Class
 4A (Aegean Unsecured Claims), Class 7 (Section 510(b) Claim), and Class 8 (Interests in Aegean) vote to
 accept the Plan and support Confirmation of the Plan.

 Dated: January 15, 2019

                                                   AEGEAN MARINE PETROLEUM NETWORK INC.
                                                   on behalf of itself and all other Debtors


                                                   By:    /s/ Tyler Baron
                                                   Name: Tyler Baron
                                                   Title: Authorized Signatory




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                                      EXHIBIT A

                         Joint Chapter 11 Plan of Reorganization
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                                    EXHIBIT B

                           Corporate Organizational Chart
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                                Notes:
                                •          The country of incorporation is either in parenthesis or part of the company name.
                                •          Unless otherwise indicated, all ownership of subsidiary entities is 100%.



                                                                                                                                                                                                                                          Aegean Marine Petroleum                                                                                                                                                                                                                                                                   Greek Vessel Owning Companies
                                                                                                                                                                                                                                               Network Inc.
                                                                                                                                                                                                                                                   (Marshall Islands)                                                                                                                                                                                                                                                                AEGEAN SHIP III MARITIME CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (75% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      25% OSTRIA RORO SHIPHOLDINGS LTD)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    AEGEAN SHIP VIII MARITIME CO
                         Aegean                         Aegean Tankfarms                                                                Aegean Holdings                                                            Aegean Marine                         Aegean Bunkering                                                   AMPNI Holdings Co                                   AMPNI Investments Co.                             Aegean Oil                                Aegean                                                  (30% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                AMPN USA LLC          70% OSTRIA RORO SHIPHOLDINGS LTD)
                     Investments S.A.                      Holdings SA                                                                       S.A.                                                                  Petroleum S.A.                          Services Inc.                                                        Limited                                                Limited                                   Terminal Corp                          Shipholdings Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       (Delaware)
                      (Marshall Islands)                   (Marshall Islands)                                                                (Marshall Islands)                                                        (Liberia)                           (Marshall Islands)                                                           (Cyprus)                                          (Cyprus)                                (Marshall Islands)                      (Marshall Islands)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AEGEAN SHIP XII MARITIME CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (60% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                                                                                                                                                             50%                                                                                                                                                                                                                                                                      40% OSTRIA RORO SHIPHOLDINGS LTD)
                                              Aegean                               10% 90%                                                                                                                                                                                                                                                         50%       Aegean BD&M                                    Aegean Petroleum
Portland Bunkers               90%                           10%                                                                                                                                                                                                                                                                                                                   50%                                                               Aegean Agency
                                             Petroleum                                                                                                                                                                                        50% Aegean Petroleum                                                                                             NEVA LLC                                       BD&M GMBH                                                                          1% Aegean Inv. S.A.
International LTD                                                               Aegean Petroleo                    Aegean Bunkering Marine
                                                                                                                                                                                   West Coast Fuel                                                                                                                                                                                                                                                   (Gibraltar) LTD                                                                 AEGEAN BREEZE MARITIME CO
                                                                                                                                              74%            Aegean Bunkering                                                                      International Inc.                                                                                              (Russia)                                        (Germany)
  (United Kingdom)                          Uruguay S.A.                             LTDA
                                                                                                                      Services (PTY) LTD
                                                                                                                                                                                   Transport LTD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (45% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                       (26% - 3rd Party)                     (Gibraltar) Limited                                                                           (Marshall Islands)                                                                                                                                                                                                          99%      Maistros RORO                         55% OSTRIA RORO SHIPHOLDINGS LTD)
                                                                                     (Brazil)                           (South Africa)                                                 (Canada)
                                                                                                                                                                                                                                                                                                                                                                                                                   Aegean                                                                      Shipholdings Ltd
                                                                                                                                                                                                                                                                                                                                              95%                                   5%                                                           Aegean Shipping                                    (Malta)                         AEGEAN TIFFANY MARITIME CO
                                                                                                                                                                                                                                                                                               Aegean Bunkering                                           Aegean Barges N.V.                                     Management
Aegean Bunkering                                                                                                                                                                                                                                                                                                                                                                                                                                Services (Pte.) LTD                                                                 (70% MAISTROS RORO SHIPHOLDINGS LTD)
                                         Aegean Oil                                                                                                                                                                                                                                             Germany GMBH                                                      (Belgium)                                      Services MC
Morocco Sarl AU                70%                      20%                                                                                                                               Aegean Marine              49%                 Aegean (Fujairah)                                                                                                                                                                                              (Singapore)                                                                   30% OSTRIA RORO SHIPHOLDINGS LTD)
                                                                                                                                                                                          Petroleum LLC                                                                                                                                                                                                            (Greece)
                                       Services (Egypt)                                                       Aegean Caribbean                                                                                                             Bunkering SA
                                                                                                                                                         Aegean Bunkering                  (51% 3rd Party)
                                            S.A.E.                                                              Holdings Inc.                                                                                                               (Marshall Islands)                                                                                                                                                                                                                                                                        AEGEAN ACE MARITIME CO
                                                                                                                                                          (Hong Kong) LTD                      (UAE)                                                                                             Aegean Bunkering                                                                  15%
                                                                                                                 (Saint Lucia)                                                                                                                                                                                                                85%                                                                                                                                                                                   (40% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                                                                                                                                                                                                 Combustibles Las                                          Aegean NWE N.V.                                                                                                                                                            60% OSTRIA RORO SHIPHOLDINGS LTD)
                                            10% Venus                                                                                                                                                                                                                                                                                                             (Belgium)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1% Aegean Inv. S.A.
Aegean Bunkering                                                                                                                                                                                                                                                                                    Palmas S.A.
                                            Holding Co.                                                                                                                                Aegean Bunkering
(Jamaica) Limited                                                                                                                                                                                                                       Aegean Bunkering                                              (Spain)                                                                                                                                                                         99%         Ostria Roro                        AEGEAN DAISY MARITIME CO
                                                                                                                                                                                        (Singapore) PTE
                                                                                                                                                                                                                                          (Panama) SA                                                                                                                                                                                                                                          Shipholdings LTD                     (55% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                  Aegean Bunkering                                                       ICS Petroleum LTD                    LTD                                                                                                                                                                                                                                                                                                                                     45% OSTRIA RORO SHIPHOLDINGS LTD)
                                                                                    Trinidad LTD                                                                  (Canada)                                                                                                                     Aegean Bunkering                                                                                                                                                                                     (Malta)
                                                                                                                                                                                                                                                                                                  (USA) LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AEGEAN ROSE MARITIME CO
Aegean Oil (USA)                                                                                                                                                                                                                        Aegean Bunkering
                                                                                                                                                                                                                                                                                                     (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (65% MAISTROS RORO SHIPHOLDINGS LTD)
     LLC                                                                              Caribbean                                                                                                                                            (Ghana) Ltd                                                                                                                                                                                                                                                                                35% OSTRIA RORO SHIPHOLDINGS LTD)
    (Delaware)                                                                    Renewable Energy
                                                                                                                                                            ICS Petroleum                                                                                                                      Obast Bunkering &
                                                                                     Sources Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                   AEGEAN MAISTROS MARITIME CO
                                                                                   (British Virgin Islands)
                                                                                                                                                           (Montreal) LTD                                                                                                                       Trading GMBH                                                                                                                                                                                                                        (99% MAISTROS RORO SHIPHOLDINGS LTD)
                                                                                                                                                                  (Canada)                                                                                                                           (Germany)                                                                                                                                                                                                                        1% OSTRIA RORO SHIPHOLDINGS LTD)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AEGEAN OSTRIA MARITIME CO
                                                                                                                                                                                                                                                                                                         Vessel Owning Companies (Other than Greek)                                                                                                                                                                                  (1% MAISTROS RORO SHIPHOLDINGS LTD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      99% OSTRIA RORO SHIPHOLDINGS LTD)


              Debtor Entities                                                                                                                                                          Andros Marine Limited                        Dilos Marine Inc.                     Lefkas Marine S.A.                    Tilos Navigation S.A.               Baldwin Management Co.               Naxos Maritime Inc.                   Tiffany Marine S.A.              Serifos Shipping (Pte.) Ltd
                                                                                                                                                                                             (Cyprus)                                   (Liberia)                              (Liberia)                               (Liberia)                        (Marshall Islands)                (Marshall Islands)                    (Marshall Islands)                     (Singapore)
              Non-Debtor Entities                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AEGEAN GAS
                                                                                                                                                                                       Mykonos I Maritime Inc.                      Eton Marine Ltd.                    Nevado Navigation S.A.                    Tinos Marine Inc.                 Baltic Navigation Company         Pontos Navigation Inc.                   Venus Holding Co.                 Tilos Shipping (Pte.) Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              MARITIME CO
                                                                                                                                                                                             (Cyprus)                                   (Liberia)                             (Liberia)                               (Liberia)                          (Marshall Islands)             (Marshall Islands)                     (Marshall Islands)                       (Singapore)


                                                                                                                                                                                       Santorini I Maritime Inc.                   Halki Navigation S.A.                 Ouranos Tanking S.A.                   Vera Navigation SA                  Carmel Investments Corp.             Paros Maritime Inc.              Anafi Shipping (Pte.) Ltd
                                                                                                                                                                                               (Cyprus)                                  (Liberia)                            (Liberia)                              (Liberia)                         (Marshall Islands)                 (Marshall Islands)                    (Singapore)


                                                                                                                                                                                     Aegean Seven Maritime Inc.                Ingram Enterprises Co                      Paxoi Marine S.A.                 Victory Sea Shipping SA                   Clyde I Shipping Corp.          Sea Breezer Marine SA              Ithaki Shipping (Pte.) Ltd
                                                                                                                                                                                              (Liberia)                              (Liberia)                                (Liberia)                             (Liberia)                           (Marshall Islands)              (Marshall Islands)                      (Singapore)


                                                                                                                                                                                          AMP Maritime SA                            Ios Marine Inc.                       Santon Limited                    Zakynthos Marine Ltd                     Evian Enterprises Co.                Sea Global S.A.              Kimolos Shipping (Pte.) Ltd
                                                                                                                                                                                             (Liberia)                                   (Liberia)                            (Liberia)                            (Cyprus)                            (Marshall Islands)                 (Marshall Islands)                   (Singapore)


                                                                                                                                                                                         Aegean Tanking S.A.                        Ithaki Marine S.A.                    Sifnos Marine Inc.                Aegean VII Shipping Ltd                   Kimolos Maritime Inc.           Sealand Navigation Inc.            Lefkas Shipping (Pte.) Ltd
                                                                                                                                                                                              (Liberia)                                  (Liberia)                             (Liberia)                           (Malta)                              (Marshall Islands)              (Marshall Islands)                      (Singapore)


                                                                                                                                                                                       Benmore Services S.A.                   Kassos Navigation S.A.                   Silver Sea Shipping SA                    Ios Shipping Ltd                    Kithnos Maritime Inc.            Serifos Maritime Inc.              Milos Shipping (Pte.) Ltd
                                                                                                                                                                                            (Liberia)                                 (Liberia)                                 (Liberia)                              (Malta)                          (Marshall Islands)              (Marshall Islands)                      (Singapore)


                                                                                                                                                                                       Cephallonia Marine S.A.                     Kerkyra Marine S.A.                   Symi Navigation S.A.               Aegean X Maritime Inc.                        Mare Vision S.A.               Syros I Maritime Inc.           Naxos Shipping (Pte.) Ltd
                                                                                                                                                                                              (Liberia)                                 (Liberia)                             (Liberia)                       (Marshall Islands)                         (Marshall Islands)               (Marshall Islands)                   (Singapore)


                                                                                                                                                                                       Carnaby Navigation Inc.                     Kythira Marine S.A.                   Tasman Seaways Inc.                Amorgos Maritime Inc.                     Milos I Maritime Inc.           Tempest Shiptrade Ltd              Paros Shipping (Pte.) Ltd
                                                                                                                                                                                              (Liberia)                                  (Liberia)                            (Liberia)                       (Marshall Islands)                       (Marshall Islands)               (Marshall Islands)                     (Singapore)
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                                   EXHIBIT C

                          Restructuring Support Agreement
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 THIS AGREEMENT IS NOT, AND SHALL NOT BE DEEMED, A SOLICITATION FOR
 CONSENTS TO ANY PLAN PURSUANT TO SECTIONS 1125 AND 1126 OF THE
 BANKRUPTCY CODE OR A SOLICITATION TO TENDER OR EXCHANGE ANY OF THE
 UNSECURED NOTES. EACH CONSENTING UNSECURED NOTEHOLDERS’ AND AMEX’S
 VOTE ON THE PLAN SHALL NOT BE SOLICITED UNTIL THE CONSENTING UNSECURED
 NOTEHOLDERS AND AMEX HAVE RECEIVED THE DISCLOSURE STATEMENT AND
 RELATED BALLOT(S), AS APPROVED BY THE BANKRUPTCY COURT

                                 RESTRUCTURING SUPPORT AGREEMENT
         This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented, or otherwise
 modified from time to time in accordance with the terms hereof, this “Agreement”), dated as of December
 15, 2018, is entered into by and among:
         (i)       Aegean Marine Petroleum Network Inc. (“Aegean”) and its debtor subsidiaries (the
                   “Debtors”);
         (ii)      Mercuria Energy Group Limited (“MEG”), Mercuria US Asset Holdings LLC
                   (“MUSAH”), Mercuria Energy Trading S.A. (“METSA”), and Mercuria Asset Holdings
                   (Hong Kong) Limited (“MAHHK”) (together with MEG, MUSAH, METSA and any
                   affiliates of any one or more of the foregoing that hold Claims1 against or Interests2 in
                   Aegean and certain of its subsidiaries, collectively “Mercuria”);
         (iii)     The Official Committee of Unsecured Creditors of Aegean (the “Committee”);
         (iv)      American Express Travel Related Services Company, Inc. (“AmEx”);
         (v)       each of the undersigned beneficial holders, or investment advisors or managers for the
                   account of beneficial holders (the “Initial Consenting Unsecured Noteholders”), of:
                             (a) 4.00% Unsecured Convertible Notes due 2018 (the “4.00% Notes”) issued by
                             Aegean under that certain Senior Indenture, dated as of October 23, 2013 (as
                             amended, restated, modified, or supplemented from time to time), by and among
                             Aegean and Deutsche Bank Trust Company Americas, as trustee (the “4.00%
                             Notes Trustee”); and/or
                             (b) 4.25% Unsecured Convertible Notes due 2021 (the “4.25% Notes,” and
                             together with the 4.00% Notes, the “Unsecured Notes”) issued by Aegean under
                             that certain Indenture, dated as of December 19, 2016 (as amended, restated,
                             modified, or supplemented from time to time), by and among Aegean and U.S.
                             Bank National Association, as trustee (the “4.25% Notes Trustee,” and together
                             with the 4.00% Notes Trustee, the “Trustees”); and
         (vi)      any assignee, transferee or beneficial holder, or investment advisor or manager for the
                   account of any beneficial holder of Unsecured Notes that subsequently executes and
                   delivers to the Parties (as defined below) a joinder agreement in accordance with Section 6
                   hereof (each, a “Joinder Agreement”), a form of which is attached hereto as Exhibit B,



 1   “Claim” shall mean any claim (as such term is defined in section 101(5) of the Bankruptcy Code) against one or more Debtor.
 2   “Interest” shall mean any equity security (as such term is defined in section 101(16) of the Bankruptcy Code) of Aegean or
     any of its subsidiaries.
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                 (the “Subsequent Consenting Unsecured Noteholders,” and together with the Initial
                 Consenting Unsecured Noteholders, the “Consenting Unsecured Noteholders”).
         The Debtors, Mercuria, the Committee, AmEx, and the Consenting Unsecured Noteholders are
 referred to herein as the “Parties” and individually as a “Party.”
                                                 RECITALS
         WHEREAS, as a result of good faith, arm’s length negotiations among the Parties, the Parties have
 reached an agreement regarding the terms of a proposed restructuring (the “Restructuring”) of the Debtors’
 indebtedness and other obligations pursuant to the terms and conditions of this Agreement and the terms
 and conditions set forth on the term sheet attached hereto as Exhibit A (as such term sheet may be modified
 in accordance with Section 10 hereof, the “Restructuring Term Sheet”);
          WHEREAS, the Restructuring will be implemented through a chapter 11 plan of reorganization,
 memorializing the terms set forth in the Restructuring Term Sheet (the “RSA Plan”), filed in the Debtors’
 pending chapter 11 proceedings, jointly administered before the United States Bankruptcy Court for the
 Southern District of New York (the “Bankruptcy Court”) under case number 18-13374 (MEW)
 (collectively, the “Chapter 11 Cases”); and
         WHEREAS, the Parties desire to express to each other their mutual support and commitment in
 respect of the matters discussed in this Agreement.
                                               AGREEMENT
        NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth herein,
 and for other good and valuable consideration, the receipt and sufficiency of which are hereby
 acknowledged, the Parties, intending to be legally bound, agree as follows:
         Section 1.       Agreement Effective Date.
         This Agreement shall be immediately effective and binding on each Party, other than the Debtors,
 upon the execution and delivery by such Party to the other Parties, pursuant to Section 19 hereof, of a
 signature page to this Agreement; provided, however, that this Agreement shall become effective and
 binding with respect to the Debtors upon the date of entry by the Bankruptcy Court of the RSA Approval
 Order (as defined below), if applicable; provided further, however, that the Agreement shall only be
 effective and binding as to AmEx upon release of their signature page, which, for the avoidance of doubt,
 may be after the RSA Effective Date. The “RSA Effective Date” shall be December 15, 2018. Mercuria
 shall have the right to terminate this Agreement if the Debtors have not executed this Agreement on or
 before December 15, 2018.
         Section 2.       Exhibits Incorporated by Reference.
          Each of the exhibits attached hereto, including the Restructuring Term Sheet, is expressly
 incorporated herein and made a part of this Agreement, and all references to this Agreement shall include
 the exhibits hereto. In the event of any inconsistency between this Agreement and the exhibits attached
 hereto, this Agreement shall govern.
          Section 3.      Definitive Documentation
                  (a)       The definitive documents and agreements (the “Definitive Documentation”)
 governing the Restructuring shall include: (i) the RSA Plan (and all exhibits and schedules thereto); (ii) the
 order confirming the RSA Plan (the “Confirmation Order”); (iii) the disclosure statement (and all exhibits
 thereto) with respect to the RSA Plan (the “Disclosure Statement”); (iv) the order approving the Disclosure



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 Statement and all solicitation materials in respect of the RSA Plan; (v) the supplement to the RSA Plan (the
 “Plan Supplement”) including, without limitation, any documents or agreements for the governance of the
 Debtors following the conclusion of the Chapter 11 Cases, including any constituent documents, certificates
 of incorporation, bylaws, or other shareholder or unitholder arrangements; (vi) the order (the “Final DIP
 Order”) approving the Debtors’ DIP Financing3 on a final basis and related credit agreements; (vii) any
 exit financing agreements, collateral, or other related documents; (viii) the trust agreement and other
 documents related to the Litigation Trust; (ix) the motion for entry of an order (the “RSA Approval
 Order”) approving the Debtors’ entry into and performance under this Agreement (such motion, the “RSA
 Approval Motion”) and the RSA Approval Order; and (x) such other agreements and documentation
 (including any related orders, motions, applications, agreements, instruments, schedules or exhibits)
 reasonably desired or necessary to consummate and document the transactions contemplated by this
 Agreement, the Restructuring Term Sheet, and the RSA Plan.
                  (b)      The Definitive Documentation (other than this Agreement and the Restructuring
 Term Sheet) remains subject to negotiation and completion and shall, upon completion, contain terms,
 conditions, representations, warranties, and covenants consistent with the terms of this Agreement and shall
 otherwise be in form and substance reasonably acceptable (i) to the Debtors, Mercuria, and the Committee,
 and (ii) with respect to documents that affect them, (x) the Consenting Unsecured Noteholders holding at
 least 50.1% of the outstanding aggregate principal amount of Unsecured Notes held by all Consenting
 ]Unsecured Noteholders (the “Requisite Consenting Unsecured Noteholders”); and/or (y) AmEx;
 provided, however, that the Milestone set forth in Section 4(e) shall not be waived or extended without the
 consent of each Consenting Noteholder for a period beyond 30 days thereafter.
           Section 4.         Milestones
        The following milestones (the “Milestones”) shall apply to this Agreement unless extended or
 waived in writing by each of the Debtors, Mercuria, the Committee, AmEx, and the Requisite Consenting
 Unsecured Noteholders:
                    (a)       the Motion to approve the RSA shall be filed on or before December 15, 2018;

                    (b)       the Order approving the RSA shall be entered on or before January 15, 2019,

                    (c)       the Final DIP Order shall be entered on or before January 15, 2019;

                 (d)     the Debtors shall file the Disclosure Statement and RSA Plan on or before 30 days
 after the RSA Effective Date;

                (e)      an order approving the Disclosure Statement and solicitation materials in respect
 of the RSA Plan shall be entered on or before 45 days after the filing of the Disclosure Statement;

                 (f)     the Bankruptcy Court shall have conducted a hearing (the “Confirmation
 Hearing”) on the RSA Plan on or before 45 days after the Bankruptcy Court enters an order approving the
 Disclosure Statement; and



 3   “DIP Financing” means the postpetition financing provided to the Debtors by METSA and MUSAH pursuant to and in
     accordance with that certain (i) senior secured super-priority asset-based and term loan credit facility, by and among Aegean
     Bunkering (USA) LLC, as U.S. Borrower, the Guarantors, ABN AMRO Capital USA LLC, as Administrative Agent,
     Collateral Agent, Swing Line Lender and Issuing Bank, and MUSAH, as U.S. Lender, and (ii) senior secured super-priority
     asset-based credit facility, by and among the Global Borrowers, the Guarantors, ABN AMRO Bank, N.V., as Facility Agent,
     Collateral Management Agent, Security Agent, Issuing Bank and Overdraft Bank, and METSA, as Lender.


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                  (g)     the effective date of the RSA Plan shall occur on or before 120 days after the
 Debtors file the Disclosure Statement and RSA Plan.

           Section 5.        Commitments of the Parties to Support a Restructuring.
                  (a)    Affirmative Covenants. Subject to the terms and conditions hereof, for the
 duration of this Agreement, each Party agrees to:
                          (i)     negotiate in good faith the Definitive Documentation and any other
         documents or exhibits that are necessary to implement the Restructuring in a form and substance
         consistent in all material respects with this Agreement (including the Restructuring Term Sheet,
         which, for the avoidance of doubt shall be binding on all Parties upon the effectiveness of this
         Agreement);
                         (ii)     take or consent to those actions contemplated by this Agreement or
         otherwise required to be taken to effectuate the Restructuring, including entering into all documents
         and agreements necessary to consummate the Restructuring, in each case, to which such Party is to
         be a party;
                             (iii)     support, and not oppose or interfere with, the entry of the Final DIP Order;
                         (iv)     support and cooperate with the Debtors and Mercuria to take, all actions
         reasonably necessary or appropriate to consummate the Restructuring in accordance with the terms
         and conditions of this Agreement, including by voting all claims against the Debtors, including all
         claims with respect to the Unsecured Notes now or hereafter beneficially owned by a Consenting
         Unsecured Noteholder (the “Unsecured Note Claims”) and all unsecured claims held by AmEx
         (the “AmEx Claims” and, collectively with the Unsecured Note Claims, the “Unsecured
         Claims”), to accept the RSA Plan;
                         (v)     with respect to the Consenting Unsecured Noteholders, provide
         unredacted copies of their signature pages to counsel to Mercuria, who shall hold such signature
         pages in confidence;
                             (vi)      comply in all respects with the Litigation Standstill set forth in Section 28
         hereto;
                          (vii)   in good faith take (and cause its controlled affiliates and their respective
         representatives, agents, and employees to take, and, as necessary, to join in a direction to the
         Trustees to take) all actions reasonably necessary and appropriate to support and achieve
         consummation of the RSA Plan; and
                          (viii) in good faith take all steps necessary to implement the final forms of the
         DIP Credit Agreements (as defined in the Restructuring Term Sheet) within five (5) business days
         of the RSA Effective Date, which final forms shall include amendments to provide economic and
         non-economic terms consistent with (a) those contemplated by the debtor-in-possession financing
         facility that was to be provided by Oaktree Capital Management, L.P. and Hartree Partners, L.P.
         (the “Oaktree / Hartree DIP Financing”),4 including, without limitation, modifications of the
         Budget Variance, revisions to extend the Commitment Termination Date and Termination Date
         (each as defined in the applicable DIP Credit Agreements) with an option to further extend, and
         (b) the statements and rulings of the Bankruptcy Court at the hearing held in the Chapter 11 Cases
         on December 13, 2018, including with respect to any Milestones or DIP Termination Events (as
 4   The credit agreements with respect to the Oaktree / Hartree DIP Financing were attached as Exhibits A and B to Exhibit A to
     the Notice of Revised DIP Order filed at Docket No. 205 in the Chapter 11 Cases.


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         defined in the Final DIP Order) tied to a chapter 11 plan or section 363 sale process, and operational
         restrictions and related matters.
                  (b)   Negative Covenants. Subject to the terms and conditions hereof, for the duration
         of this Agreement, each Party shall not:
                           (i)     object to, delay, impede, or take any action to interfere, directly or
         indirectly, with the entry of the Final DIP Order, or propose, file or support, directly or indirectly,
         any use of cash collateral or debtor-in-possession financing other than as proposed in the Final DIP
         Order;
                         (ii)    withdraw, amend, or revoke (or cause to be withdrawn, amended, or
         revoked) any tender, consent, or vote with respect to the RSA Plan;
                          (iii)   seek, solicit, support, or vote its Unsecured Claims for, or consent to, any
         plan of reorganization or liquidation, proposal, offer, transaction, dissolution, winding up,
         liquidation, reorganization, merger, consolidation, business combination, joint venture,
         partnership, sale of material assets or equity interests, or restructuring (other than the Restructuring)
         involving the Debtors (an “Alternative Proposal”);
                         (iv)    take any action materially inconsistent with the transactions expressly
         contemplated by this Agreement, or that would materially delay or obstruct the consummation of
         the Restructuring, including, without limitation, commencing, or joining with any person in
         commencing, any litigation against any of the Parties relating to the Restructuring or the Chapter
         11 Cases; or
                         (v)     with respect to the Consenting Unsecured Noteholders, direct the Trustees
         to take any action inconsistent with the Consenting Unsecured Holders’ obligations under this
         Agreement, and if any Trustee takes any action inconsistent with the Consenting Unsecured
         Holders’ obligations under this Agreement, the Consenting Unsecured Noteholders shall use
         commercially reasonable efforts to instruct or direct any such Trustee in writing to cease and refrain
         from taking any such action.
 Nothing in this Agreement shall prohibit any Party from (x) appearing as a party-in-interest in any matter
 arising in the Chapter 11 Cases so long as such appearance and the positions advocated in connection
 therewith are not inconsistent with this Agreement or the Restructuring, and do not hinder, delay, or prevent
 consummation of the Restructuring, and (y) enforcing any right, remedy, condition, consent, or approval
 requirement under this Agreement or any Definitive Documentation entered into in connection with the
 Restructuring; provided, that, in each case, any such action is not materially inconsistent with such Party’s
 obligations hereunder.
                  (c)    Additional Debtor Covenants. Subject to the terms and conditions hereof, for the
 duration of this Agreement, the Debtors shall:
                          (i)      prior to or contemporaneously with the entry of the Final DIP Order, the
 Debtors shall withdraw the Debtors’ Motion for Entry of an Order (I) Establishing Bidding Procedures and
 Section 365 Procedures, (II) Approving the Sale of Substantially All of the Debtors’ Assets,
 (III) Authorizing the Entry Into and Performance Under the Stalking Horse Asset Purchase Agreement, and
 (IV) Granting Related Relief [Docket No. 59], which motion the Debtors filed with the Bankruptcy Court
 on November 9, 2018;
                         (ii)   (A) unless required by its fiduciary duties (or advised by external counsel),
 not pursue or commence any insolvency proceeding (whether voluntary or involuntary) or similar legal
 process for any of the Aegean entities in any jurisdiction, including any non-Debtor subsidiaries, and (B)


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 use reasonable efforts to oppose any party or person (including, as applicable, any non-Consenting
 Unsecured Noteholder) from taking any such actions contemplated by the foregoing, provided, for the
 avoidance of doubt, the Debtors’ pursuit or commencement of any such insolvency proceeding in
 furtherance of Litigation Claims (as defined in the Restructuring Term Sheet) shall not violate the terms of
 this provision provided that the consent of the Committee and Mercuria shall be obtained before the Debtors
 pursue or commence such insolvency proceedings in furtherance of the Litigation Claims, which consent
 shall not be unreasonably withheld; provided that commencement of any such insolvency proceeding shall
 not have a material adverse effect on the Restructuring; and
                           (iii)   use commercially reasonable efforts to, in good faith, take all steps, as
 applicable, reasonably necessary or desirable to provide draft copies of all substantive motions, documents
 or other pleadings (including the Definitive Documents) to be filed in the Chapter 11 Cases to counsel to
 Mercuria and the Committee as soon as reasonably practicable, but in no event less than two (2) business
 days prior to the date when the Debtors intend to file such documents or publicly disclose any such pleading
 or other document), and, without limiting any approval rights set forth in this Agreement, consult in good
 faith with counsel to Mercuria and the Committee regarding the form and substance of any such proposed
 filing; notwithstanding the foregoing, in the event that not less than two (2) business days’ notice is not
 reasonably practicable under the circumstances, the Debtors shall provide draft copies of any such motions,
 documents or other pleadings to counsel to Mercuria and the Committee as soon as otherwise reasonably
 practicable before the date when the Debtors intend to file any such motions, documents or other pleadings
 and, without limiting any approval rights set forth herein, consult in good faith with counsel to Mercuria
 and the Committee regarding the form and substance of any of the foregoing documents in advance of the
 filing or public disclosure thereof.
         Section 6.       Transfers of Claims.
                  (a)     Restrictions on Transfers.
                            (i)    Each Consenting Unsecured Noteholder agrees that it shall not sell,
 transfer, loan, issue, pledge, hypothecate, assign, or otherwise dispose of, directly or indirectly, in whole or
 in part (each, a “Note Transfer”), any of its Unsecured Notes or any option thereon or any right therein or
 any other claims against the Debtors (including granting any proxies, depositing any of its Unsecured Notes
 or any other claims against the Debtors into a voting trust, or entering into a voting agreement with respect
 to any such Unsecured Notes or such other claims against the Debtors), unless the transferee thereof either
 (i) is a Consenting Unsecured Noteholder that is not in breach of this Agreement, or (ii) prior to, or
 contemporaneous with, such Note Transfer, agrees in writing for the benefit of the Parties to become a Party
 and to be bound by all of the terms of this Agreement applicable to Consenting Unsecured Noteholders
 (including with respect to any and all claims it already may hold against the Debtors prior to such Note
 Transfer) by executing a Joinder Agreement in the form attached hereto as Exhibit B and delivering an
 executed copy thereof within five (5) days of such execution, to Mercuria, the Debtors, and the Committee
 at the addresses listed in Section 19 hereof, in which event (A) the transferee shall be deemed to be a
 Consenting Unsecured Noteholder hereunder to the extent of such transferred rights and obligations and
 any and all other claims it already may hold against the Debtors and (B) the transferor shall be deemed to
 relinquish its rights (and be released from its obligations) under this Agreement to the extent of such
 transferred rights and obligations (such transferee a “Permitted Note Transferee”). Any transfer made
 while this Agreement remains in effect in violation of this provision shall be void ab initio.
                          (ii)    AmEx agrees that it shall not sell, transfer, loan, issue, pledge,
 hypothecate, assign, or otherwise dispose of, directly or indirectly, in whole or in part (each an “Amex
 Claim Transfer”), any portion of the AmEx Claims or any option thereon or any right therein or any other
 claims against the Debtors (including granting any proxies, depositing any of the AmEx Claims or any
 other claims against the Debtors into a voting trust, or entering into a voting agreement with respect to the


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 AmEx Claims or such other claims against the Debtors), unless the transferee thereof either (i) is a
 Consenting Unsecured Noteholder that is not in breach of this Agreement, or (ii) prior to, or
 contemporaneous with, such AmEx Claim Transfer, agrees in writing for the benefit of the Parties to
 become a Party and to be bound by all of the terms of this Agreement applicable to AmEx (including with
 respect to any and all claims it already may hold against the Debtors prior to such AmEx Claim Transfer)
 by executing a Joinder Agreement in the form attached hereto as Exhibit C and delivering an executed copy
 thereof within five (5) days of such execution, to the Mercuria, the Debtors, and the Committee at the
 addresses listed in Section 19 hereof, in which event (A) the transferee shall be deemed to be a Party
 hereunder to the extent of such transferred rights and obligations and any and all other claims it already
 may hold against the Debtors and (B) the transferor shall be deemed to relinquish its rights (and be released
 from its obligations) under this Agreement to the extent of such transferred rights and obligations. Any
 transfer made while this Agreement remains in effect in violation of this provision shall be void ab initio.
                            (iii)    Mercuria agrees that it shall not sell, transfer, loan, issue, pledge,
 hypothecate, assign, or otherwise dispose of, directly or indirectly, in whole or in part (each, a “Mercuria
 Claim/Interest Transfer” and together with a Note Transfer and an AmEx Claim Transfer, a “Transfer”),
 any portion of any claims or Interests Mercuria may have against the Debtors (the “Mercuria
 Claims/Interests”) or any option thereon or any right therein or any other claims against or Interests in the
 Debtors (including granting any proxies, depositing any of its Mercuria Claims/Interests or any other claims
 against or Interests in the Debtors into a voting trust, or entering into a voting agreement with respect to
 any such Mercuria Claims/Interests or such other claims against or Interests in the Debtors), unless the
 transferee thereof either (i) is a Consenting Unsecured Noteholder that is not in breach of this Agreement,
 or (ii) prior to, or contemporaneous with, such Mercuria Claim/Interest Transfer, agrees in writing for the
 benefit of the Parties to become a Party and to be bound by all of the terms of this Agreement applicable to
 Mercuria (including with respect to any and all claims and Interests it already may hold against the Debtors
 prior to such Mercuria Claim/Interest Transfer) by executing a Joinder Agreement in the form attached
 hereto as Exhibit C and delivering an executed copy thereof within five (5) days of such execution, to
 Mercuria, the Debtors, and the Committee at the addresses listed in Section 19 hereof, in which event
 (A) the transferee shall be deemed to be a Party hereunder to the extent of such transferred rights and
 obligations and any and all other claims or Interests it already may hold against the Debtors and (B) the
 transferor shall be deemed to relinquish its rights (and be released from its obligations) under this
 Agreement to the extent of such transferred rights and obligations. Any transfer made while this Agreement
 remains in effect in violation of this provision shall be void ab initio.
                  (b)      Notwithstanding anything to the contrary herein, a Qualified Marketmaker that
 acquires any Unsecured Notes from a Consenting Unsecured Noteholder with the sole purpose and intent
 of acting as a Qualified Marketmaker for such Unsecured Notes, shall not be required to execute and deliver
 a Joinder Agreement or otherwise agree to be bound by the terms and conditions set forth in this Agreement
 if such Qualified Marketmaker Transfers such Unsecured Notes (by purchase, sale, assignment,
 participation, or otherwise) as soon as reasonably practicable, and in no event later than fifteen (15) days
 of its acquisition, to a Permitted Note Transferee. As used herein, the term “Qualified Marketmaker”
 means an entity that (a) holds itself out to the public or the applicable private markets as standing ready in
 the ordinary course of business to purchase from customers and sell to customers Unsecured Notes (or enter
 with customers into long and short positions in Unsecured Notes), in its capacity as a dealer or market
 maker in Unsecured Notes and (b) is, in fact, regularly in the business of making a market in claims against
 issuers or borrowers (including debt securities or other debt).
                   (c)      Additional Unsecured Notes. This Agreement shall in no way be construed to
 preclude any Party from acquiring additional Unsecured Claims or any other claims against or interests in
 the Debtors. To the extent any Party acquires additional Unsecured Notes or other claims against or
 interests in the Debtors, then, in each case, each such Party shall promptly notify (in no event later than five
 (5) days thereafter) Mercuria, the Debtors, and the Committee in accordance with Section 19 hereof, and

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 each such Party agrees that such Unsecured Claims or other claims or interests shall be subject to this
 Agreement.
         Section 7.       Representations and Warranties.
                  (a)     Mutual Representations and Warranties. Each Party (except for the Committee
 with respect to Section 7(a)(i)), severally and not jointly, represents and warrants to the other Parties that
 the following statements are true, correct, and complete as of the date hereof (or as of the date a Consenting
 Unsecured Noteholder becomes a Party hereto):
                          (i)      Power and Authority. Such Party is validly existing and in good standing
         under the laws of its jurisdiction of incorporation or organization and has all requisite corporate,
         partnership, limited liability company, or similar authority to enter into this Agreement and carry
         out the transactions contemplated hereby and perform its obligations contemplated hereunder; and
         the execution and delivery of this Agreement and the performance of such Party’s obligations
         hereunder have been duly authorized by all necessary corporate, limited liability company,
         partnership, or other similar action on its part;
                           (ii)     No Conflict. The execution, delivery, and performance by such Party of
         this Agreement does not and will not (A) violate any provision of law, rule, or regulation applicable
         to it or any of its subsidiaries or its charter or bylaws (or other similar governing documents) or
         those of any of its subsidiaries, or (B) conflict with, result in a breach of, or constitute (with due
         notice or lapse of time or both) a default under any material contractual obligation to which it or
         any of its subsidiaries is a party;
                          (iii)    No Consent or Approval. The execution, delivery, and performance by
         such Party of this Agreement does not and will not require any registration or filing with, consent
         or approval of, or notice to, or other action, with or by, any federal, state, or governmental authority
         or regulatory body, except such filings as may be necessary and/or required by the United States
         Securities and Exchange Commission; and
                          (iv)     Enforceability. This Agreement is the legally valid and binding obligation
         of such Party, enforceable against it in accordance with its terms, except as enforcement may be
         limited by bankruptcy, insolvency, reorganization, moratorium, or other similar laws relating to or
         limiting creditors’ rights generally or by equitable principles relating to enforceability or a ruling
         of the Bankruptcy Court.
                 (b)     Additional Representations of Consenting Unsecured Noteholders.            Each
 Consenting Unsecured Noteholder, severally and not jointly, represents and warrants to the other Parties
 that the following statements are true, correct, and complete as of the date hereof (or as of the date a
 Consenting Unsecured Noteholder becomes a party hereto):
                          (i)      Consenting Unsecured Noteholder Ownership.             Such Consenting
         Unsecured Noteholder (A) is the beneficial owner of not less than the aggregate principal amount
         of Unsecured Notes set forth below its name on its signature page hereto (or below its name on the
         signature page of a Joinder Agreement for any Consenting Unsecured Noteholder that becomes a
         party hereto after the date hereof), and/or (B) has, with respect to the beneficial owners of such
         Unsecured Notes, (1) sole investment or voting discretion with respect to such Unsecured Notes,
         (2) full power and authority to vote on and consent to matters concerning such Unsecured Notes or
         to exchange, assign, and transfer such Unsecured Notes, and (3) full power and authority to bind
         or act on the behalf of such beneficial owners; and




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                          (ii)   Accredited Eligible Participants. Although none of the Parties intends that
         this Agreement should constitute, and they each believe it does not constitute, an offering of
         securities, such Consenting Unsecured Noteholder is either (A) a qualified institutional buyer,
         located in the United States, as defined in Rule 144A of the Securities Act of 1933, as amended
         (the “Securities Act”) or (B) a non-U.S. person in offshore transaction complying with Rule 903
         or Rule 904 of Regulation S under the Securities Act and who also is an “institutional account”
         within the meaning of FINRA Rule 4512(c).
                   (c)    Additional Representations of AmEx. AmEx represents and warrants to the other
 Parties that the following statements are true, correct, and complete as of the date hereof:
                         (i)      AmEx Claim Ownership. AmEx (A) is the beneficial owner of the AmEx
         Claim in the amount set forth below its name on its signature page hereto and/or (B) has (1) sole
         voting discretion with respect to such AmEx Claims, and (2) full power and authority to vote on
         and consent to matters concerning the AmEx Claim or to exchange, assign, and transfer such AmEx
         Claim.
         Section 8.      Termination of Agreement.
                  (a)     Debtor Termination Events. The Debtors may terminate this Agreement upon
 delivery to Mercuria, the Committee, AmEx and the Consenting Unsecured Noteholders of a written notice
 in accordance with Section 19 hereof at any time upon, after the occurrence of, and during the continuation
 of, any of the following events (each, a “Debtor Termination Event”):
                         (i)    the termination of this Agreement by (a) Mercuria, (b) the Committee, or
         (c) the Consenting Unsecured Noteholders;
                          (ii)    the breach by Mercuria or the Committee of any of their respective
         representations, warranties, or covenants or other provision contained in this Agreement, in any
         material respect, which breach remains uncured for a period of five (5) Business Days after the
         receipt by Mercuria, the Committee, AmEx and the Consenting Unsecured Noteholders of written
         notice of such breach from the Debtors; provided, however, that the Debtors may not seek to
         terminate this Agreement based upon a breach of this Agreement arising primarily out of the
         Debtors’ own actions in material breach of this Agreement;
                           (iii)    the Debtors determine, as set forth in Section 9 hereof, after consultation
         with legal counsel, that proceeding with the Restructuring would be inconsistent with an exercise
         of their fiduciary duties;
                          (iv)     the issuance, promulgation, or enactment by any governmental entity,
         including any regulatory or licensing authority or court of competent jurisdiction, of any statute,
         regulation, ruling or order declaring this Agreement or any material portion hereof to be
         unenforceable or enjoining or otherwise restricting the consummation of a material portion of the
         Restructuring, which action remains uncured for a period of five (5) Business Days after the receipt
         by the Parties of written notice of such event;
                         (v)     a trustee under section 1104 of the Bankruptcy Code or an examiner (with
         expanded powers beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code)
         shall have been appointed in the Chapter 11 Cases;
                          (vi)   the Chapter 11 Cases are converted to cases under chapter 7 of the
         Bankruptcy Code or the Chapter 11 Cases are dismissed by order of the Bankruptcy Court, which
         order has not otherwise been stayed; or



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                         (vii)    except to the extent the Debtors have waived such Milestone in accordance
        herewith, the failure to meet any of the Milestones.
                 (b)     Mercuria Termination Events. Mercuria may terminate this Agreement (each, a
 “Mercuria Termination Right”), in each case, upon delivery of written notice to the Debtors, the
 Committee, AmEx and Consenting Unsecured Noteholders in accordance with Section 19 hereof at any
 time upon, after the occurrence of, and during the continuation of, any of the following events (each, a
 “Mercuria Termination Event”):
                          (i)     the breach by the Debtors, the Committee, AmEx or any Consenting
        Unsecured Noteholder of any obligation, representation, warranties, covenants, or other provision
        contained in this Agreement in any material respect, which breach remains uncured for a period of
        five (5) Business Days after the receipt by the Debtors, the Committee, AmEx and the Consenting
        Unsecured Noteholders of written notice of such breach from the Mercuria; provided, however,
        that Mercuria may not seek to terminate this Agreement based upon a breach of this Agreement
        arising primarily out of Mercuria’s own actions in material breach of this Agreement; and provided,
        further, that so long as non-breaching Consenting Unsecured Noteholders party hereto continue to
        hold at least 50.1% of the outstanding Notes Claims, such termination shall be effective only with
        respect to such breaching Consenting Unsecured Noteholders;
                        (ii)    the termination of this Agreement by (a) the Debtors, (b) the Committee,
        or (c) the Consenting Unsecured Noteholders;
                       (iii)    the Debtors file or prosecute any chapter 11 plan of reorganization that is
        not an RSA Plan;
                         (iv)     the issuance, promulgation, or enactment by any governmental entity,
        including any regulatory or licensing authority or court of competent jurisdiction, of any statute,
        regulation, ruling or order declaring this Agreement or any material portion hereof to be
        unenforceable or enjoining or otherwise restricting the consummation of a material portion of the
        Restructuring, which action remains uncured for a period of five (5) Business Days after the receipt
        by the Parties of written notice of such event;
                        (v)     a trustee under section 1104 of the Bankruptcy Code or an examiner (with
        expanded powers beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code)
        shall have been appointed in the Chapter 11 Cases;
                         (vi)   the Chapter 11 Cases are converted to cases under chapter 7 of the
        Bankruptcy Code or the Chapter 11 Cases are dismissed by order of the Bankruptcy Court, which
        order has not otherwise been stayed;
                       (vii)   the Debtors, the Committee, AmEx or any Consenting Unsecured
        Noteholder publicly announces its intention to support to any Alternative Proposal;
                          (viii) the Bankruptcy Court enters any order authorizing the use of cash
        collateral or incurrence of post-petition financing that is not acceptable to Mercuria;
                         (ix)    the Bankruptcy Court grants relief terminating, annulling, or modifying
        the automatic stay (as set forth in section 362 of the Bankruptcy Code) with regard to any assets of
        the Debtors having an aggregate fair market value in excess of $2,000,000 without the written
        consent of Mercuria; or
                          (x)      except to the extent Mercuria has waived such Milestone in accordance
         herewith, the failure to meet any of the Milestones.


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                  (c)    Consenting Unsecured Noteholder Termination Events. This Agreement may be
 terminated by the Consenting Unsecured Noteholders upon delivery to the Debtors, Mercuria, AmEx, and
 the Committee of a written notice in accordance with Section 19 hereof by Requisite Consenting Unsecured
 Noteholders, at any time upon, after the occurrence of, and during the continuation of, any of the following
 events (each, a “Consenting Unsecured Noteholder Termination Event”):
                            (i)   the termination of this Agreement by (a) the Debtors, (b) the Committee,
         or (c) Mercuria;
                         (ii)    the breach by the Debtors or Mercuria of any obligation, representation,
         warranties, covenants, or other provision contained in this Agreement in any material respect,
         which breach remains uncured for a period of five (5) Business Days after the receipt by Mercuria
         of written notice of such breach from the Committee or a Consenting Unsecured Noteholder;
         provided, however, that the Consenting Unsecured Noteholders may not seek to terminate this
         Agreement based upon a breach of this Agreement arising primarily out of the Consenting
         Unsecured Noteholders’ own actions in material breach of this Agreement;
                          (iii)    the issuance, promulgation, or enactment by any governmental entity,
         including any regulatory or licensing authority or court of competent jurisdiction, of any statute,
         regulation, ruling or order declaring this Agreement or any material portion hereof to be
         unenforceable or enjoining or otherwise restricting the consummation of a material portion of the
         Restructuring, which action remains uncured for a period of five (5) Business Days after the receipt
         by the Parties of written notice of such event;
                         (iv)    a trustee under section 1104 of the Bankruptcy Code or an examiner (with
         expanded powers beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code)
         shall have been appointed in the Chapter 11 Cases;
                          (v)    the Chapter 11 Cases are converted to cases under chapter 7 of the
         Bankruptcy Code or the Chapter 11 Cases are dismissed by order of the Bankruptcy Court, which
         order has not otherwise been stayed; or
                        (vi)    except to the extent the Required Consenting Unsecured Noteholders have
         waived such Milestone in accordance herewith, the failure to meet any of the Milestones.
                   (d)     AmEx Termination Events. This Agreement may be terminated by AmEx, solely
 as to itself, upon delivery to the Debtors, Mercuria, Consenting Unsecured Noteholders and the Committee
 of a written notice in accordance with Section 19 hereof, at any time upon, after the occurrence of, and
 during the continuation of, any of the following events (each, an “AmEx Termination Event”):
                        (i)     the termination of this Agreement by (a) the Debtors, (b) Mercuria, (c) the
         Committee; or (d) the Consenting Unsecured Noteholders;
                         (ii)    the breach by the Debtors or Mercuria of any obligation, representation,
         warranties, covenants, or other provision contained in this Agreement in any material respect,
         which breach remains uncured for a period of five (5) Business Days after the receipt by the Debtors
         and Mercuria of written notice of such breach from the Committee, AmEx or a Consenting
         Unsecured Noteholder; provided, however, that AmEx may not seek to terminate this Agreement
         based upon a breach of this Agreement arising primarily out of AmEx’s own actions in material
         breach of this Agreement;
                          (iii)  the issuance, promulgation, or enactment by any governmental entity,
         including any regulatory or licensing authority or court of competent jurisdiction, of any statute,
         regulation, ruling or order declaring this Agreement or any material portion hereof to be


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         unenforceable or enjoining or otherwise restricting the consummation of a material portion of the
         Restructuring, which action remains uncured for a period of five (5) Business Days after the receipt
         by the Parties of written notice of such event;
                         (iv)    a trustee under section 1104 of the Bankruptcy Code or an examiner (with
         expanded powers beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code)
         shall have been appointed in the Chapter 11 Cases;
                          (v)    the Chapter 11 Cases are converted to cases under chapter 7 of the
         Bankruptcy Code or the Chapter 11 Cases are dismissed by order of the Bankruptcy Court, which
         order has not otherwise been stayed; or
                          (vi)     except to the extent AmEx has waived such Milestone in accordance
         herewith, the failure to meet any of the Milestones.
                  (e)     Committee Termination Events. This Agreement may be terminated by the
 Committee upon delivery to the Debtors, Mercuria, AmEx and the Consenting Unsecured Noteholders of
 a written notice in accordance with Section 19 hereof at any time upon, after the occurrence of, and during
 the continuation of, any of the following events (each, a “Committee Termination Event”):
                         (i)     the termination of this Agreement by the (a) Debtors or (b) Mercuria;
                          (ii)    the breach by the Debtors or Mercuria of any of their respective
         representations, warranties, or covenants or other provision contained in this Agreement, in any
         material respect, which breach remains uncured for a period of five (5) Business Days after the
         receipt by the Debtors, Mercuria, AmEx and the Consenting Unsecured Noteholders of written
         notice of such breach from the Committee; provided, however, that the Committee may not seek to
         terminate this Agreement based upon a breach of this Agreement arising primarily out of the
         Committee’s own actions in material breach of this Agreement;
                          (iii)    the Committee determines, as set forth in Section 9 hereof, after
         consultation with legal counsel, that proceeding with the Restructuring would be inconsistent with
         an exercise of its fiduciary duties;
                          (iv)     the issuance, promulgation, or enactment by any governmental entity,
         including any regulatory or licensing authority or court of competent jurisdiction, of any statute,
         regulation, ruling or order declaring this Agreement or any material portion hereof to be
         unenforceable or enjoining or otherwise restricting the consummation of a material portion of the
         Restructuring, which action remains uncured for a period of five (5) Business Days after the receipt
         by the Parties of written notice of such event;
                         (v)     a trustee under section 1104 of the Bankruptcy Code or an examiner (with
         expanded powers beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code)
         shall have been appointed in the Chapter 11 Cases;
                          (vi)   the Chapter 11 Cases are converted to cases under chapter 7 of the
         Bankruptcy Code or the Chapter 11 Cases are dismissed by order of the Bankruptcy Court, which
         order has not otherwise been stayed; or
                        (vii)    except to the extent the Committee has waived such Milestone in
         accordance herewith, the failure to meet any of the Milestones.
                (f)    Mutual Termination; Automatic Termination. This Agreement may be terminated
 by written agreement among all of the Debtors, Mercuria, the Committee, AmEx and the Requisite


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 Consenting Unsecured Noteholders. Notwithstanding anything in this Agreement to the contrary, this
 Agreement shall terminate automatically upon the later of (i) the Effective Date of an RSA Plan; (ii) the
 expiration of the appeal period with respect to the Confirmation Order; or (iii) the conclusion of any and
 all appeals concerning the Confirmation Order.
                   (g)      Effect of Termination. Upon the termination of this Agreement in accordance with
 this Section 8, and except as provided in Section 13 hereof, (i) this Agreement shall forthwith become void
 and of no further force or effect and each Party shall, except as provided otherwise in this Agreement, be
 immediately released from its liabilities, obligations, commitments, undertakings, and agreements under or
 related to this Agreement and shall have all the rights and remedies that it would have had and shall be
 entitled to take all actions, whether with respect to a Restructuring or otherwise, that it would have been
 entitled to take had it not entered into this Agreement, and (ii) any and all consents or votes tendered by the
 Consenting Unsecured Noteholders and AmEx for a chapter 11 plan of reorganization shall be void ab
 initio; provided, however, that in no event shall any such termination relieve a Party from liability for its
 breach or nonperformance of its obligations under this Agreement prior to the date of such termination. No
 Party may terminate this Agreement, and no Consenting Unsecured Noteholder may be counted among the
 Requisite Consenting Unsecured Noteholders for purposes of terminating this Agreement, if such Party
 failed to perform or comply in all material respects with the terms and conditions of this Agreement, and
 such failure to perform or comply caused, or resulted in, the occurrence of one or more termination events
 specified herein.
         Section 9.       Fiduciary Duties
                 (a)      Nothing in this Agreement shall require (i) Aegean or any of its directors,
 managers, and officers in their capacities as such or (ii) the Committee, or any of its members, each in its
 capacity as such, to take or refrain from taking any action with respect to the Restructuring to the extent
 such person or persons reasonably determines, based on the advice of counsel, that taking, or refraining
 from taking, such action, as applicable, would be inconsistent with applicable law or its fiduciary
 obligations under applicable law.
                   (b)      Pursuit of an Alternative Proposal shall not be deemed in the exercise of the
 Debtors or the Committee’s applicable fiduciary duties unless such Alternative Proposal is, or is reasonably
 likely to lead to, a Superior Proposal. For purposes of this Agreement, “Superior Proposal” means a bona
 fide Alternative Proposal that the Debtors or the Committee determines in good faith would, if
 consummated, result in a superior transaction to the Debtors and their estates and creditors than the
 transactions contemplated by this Agreement after consultation with its financial advisors and legal counsel,
 and based on advice of such counsel, and, taking into account (x) the likelihood and timing of
 consummation and (y) all material legal, financial (including the financing terms of any such proposal),
 conditionality, and other aspects of such proposal, in each case as compared to the transactions
 contemplated by this Agreement. For the avoidance of doubt, nothing in this Agreement shall limit AmEx
 from exercising its fiduciary duties in its capacity as a Committee member. For the avoidance of doubt,
 nothing herein shall prevent the Debtors or Committee, upon receipt of Alternative Proposal that is not
 deemed by them to be a Superior Proposal, from negotiating with the counterparty to such Alternative
 Proposal to develop a Superior Proposal. For further avoidance of doubt, notwithstanding anything to the
 contrary herein, any such Superior Proposal must provide for, upon its financial closing, the payment in
 full of all claims and obligations under, arising, or in connection with, the DIP Financing.
                  (c)     In the event the Debtors or the Committee, or any of its members, receives any
 Alternative Proposal or elects to pursue any Alternative Proposal in an exercise of its fiduciary duties, such
 Party shall promptly notify the Parties of the existence and material terms of such Alternative Proposal and
 whether or not the Debtors or the Committee, as applicable, believes such Alternative Proposal is a Superior
 Proposal. After the receipt of the material terms of such Alternative Proposal, if the Debtors or the


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 Committee has indicated that it believes the Alternative Proposal is a Superior Proposal, Mercuria shall
 have three (3) Business Days5 to propose changes to the terms of this Agreement, including the
 Restructuring Term Sheet and any exhibits thereto. The Debtors and the Committee shall keep Mercuria
 and Consenting Unsecured Noteholders informed of any amendments, modifications or developments with
 respect to any Alternative Proposal, and, to the extent an Alternative Proposal is amended such that the
 Debtors or the Committee believes the Alternative Proposal is a Superior Proposal, Mercuria shall have
 three (3) Business Days from any such amendment to propose changes to the terms of this Agreement,
 including the Restructuring Term Sheet and any exhibits thereto.
                  (d)     For the avoidance of doubt, Mercuria reserves all rights they have, including the
 right (if any) to challenge any exercise by the Debtors, the Committee, or any of its members of its
 respective fiduciary duties, including, but not limited to, the right to challenge whether an Alternative
 Proposal is a Superior Proposal.
          Section 10.     Amendments and Waivers. This Agreement, including any exhibits or schedules
 hereto, may not be waived, modified, amended, or supplemented except in a writing signed by the Debtors,
 Mercuria, the Committee, AmEx and the Requisite Consenting Unsecured Noteholders; provided, however,
 that to the extent this Agreement has not been executed by the Debtors, it may be waived, modified,
 amended, or supplemented by a writing signed by Mercuria, the Committee, AmEx and the Requisite
 Consenting Unsecured Noteholders; provided further, however, that such waiver, modification,
 amendment, or supplement shall not require the signature of any Party to the extent the waiver,
 modification, amendment, or supplement does not impact such Party, provided, that, for the avoidance of
 doubt, all waivers, modification, amendments, or supplements shall require a writing signed by the Debtors,
 Mercuria, and the Committee.
          Section 11.       Governing Law; Jurisdiction; Waiver of Jury Trial.
                  (a)      This Agreement shall be construed and enforced in accordance with, and the rights
 of the Parties shall be governed by, the laws of the State of New York, without giving effect to the conflicts
 of law principles thereof.
                   (b)      Each of the Parties irrevocably agrees that any legal action, suit, or proceeding
 arising out of or relating to this Agreement brought by any Party or its successors or assigns shall be brought
 and determined in any federal or state court in the Borough of Manhattan, the City of New York. Each of
 the Parties hereby irrevocably submits to the jurisdiction of the aforesaid courts for itself and with respect
 to its property, generally and unconditionally, with regard to any such proceeding arising out of or relating
 to this Agreement or the Restructuring. Each of the Parties hereby irrevocably and unconditionally waives,
 and agrees not to assert, by way of motion or as a defense, counterclaim, or otherwise, in any proceeding
 arising out of or relating to this Agreement or the Restructuring, that (i) the proceeding in any such court is
 brought in an inconvenient forum, (ii) the venue of such proceeding is improper, or (iii) this Agreement, or
 the subject matter hereof, may not be enforced in or by such courts.
              (c)  EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
 BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL
 PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS
 AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON
 CONTRACT, TORT, OR ANY OTHER THEORY). EACH PARTY (I) CERTIFIES THAT NO
 REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED,
 EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
 LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT
 5 “Business Day” means any day other than Saturday, Sunday, and any day that is a legal holiday or day on which banking
 institutions in New York, New York are authorized by the law or government to close.


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 IT AND THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY,
 AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.
         Section 12.      Specific Performance/Remedies. It is understood and agreed by the Parties that
 money damages would not be a sufficient remedy for any breach of this Agreement by any Party and each
 non-breaching Party shall be entitled to specific performance and injunctive or other equitable relief
 (including attorneys’ fees and costs) as the sole and exclusive remedy of any such breach, without the
 necessity of posting a bond or proving the inadequacy of money damages as a remedy, including an order
 of a court of competent jurisdiction requiring any Party to comply promptly with any of its obligations
 hereunder.
           Section 13.      Survival. Notwithstanding the termination of this Agreement pursuant to Section
 8 hereof, the agreements and obligations of the Parties in Sections 7, 11, 12, 13, 15, 16, 17, 20, 21, 23, 24,
 26, 27, and 29 hereof (and any defined terms used in any such Sections) shall survive such termination and
 shall continue in full force and effect in accordance with the terms herein; provided, however, that any
 liability of a Party for failure to comply with the terms of this Agreement shall survive such termination.
 For the avoidance of doubt, notwithstanding anything to the contrary herein, Section 27 shall survive in the
 event of termination of this Agreement pursuant to Section 8(a)(iii) or 8(e)(iii).
        Section 14.     Headings. The headings of the sections, paragraphs, and subsections of this
 Agreement are inserted for convenience only and shall not affect the interpretation hereof or, for any
 purpose, be deemed a part of this Agreement.
          Section 15.      Successors and Assigns; Severability; Several Obligations. This Agreement is
 intended to bind and inure to the benefit of the Parties and their respective successors, permitted assigns,
 heirs, executors, administrators, and representatives; provided, however, that nothing contained in this
 Section 15 shall be deemed to permit Transfers other than in accordance with the express terms of this
 Agreement. If any provision of this Agreement, or the application of any such provision to any person or
 entity or circumstance, shall be held invalid or unenforceable in whole or in part, such invalidity or
 unenforceability shall attach only to such provision or part thereof and the remaining part of such provision
 hereof and this Agreement shall continue in full force and effect so long as the economic or legal substance
 of the transactions contemplated hereby is not affected in any manner materially adverse to any Party. Upon
 any such determination of invalidity, the Parties shall negotiate in good faith to modify this Agreement so
 as to effect the original intent of the Parties as closely as possible in a reasonably acceptable manner in
 order that the transactions contemplated hereby are consummated as originally contemplated to the greatest
 extent possible. The agreements, representations, and obligations of the Parties are, in all respects, ratable
 and several and neither joint nor joint and several.
          Section 16.      No Third-Party Beneficiaries. Unless expressly stated herein, this Agreement
 shall be solely for the benefit of the Parties and no other person or entity shall be a third-party beneficiary
 hereof.
         Section 17.       Prior Negotiations; Entire Agreement. This Agreement, including the exhibits
 and schedules hereto, constitutes the entire agreement of the Parties, and supersedes all other prior
 negotiations, with respect to the subject matter hereof, except that the Parties acknowledge that any
 confidentiality agreements (if any) heretofore executed among the Parties shall continue in full force and
 effect pursuant to their terms.
        Section 18.     Counterparts. This Agreement may be executed in several counterparts, each of
 which shall be deemed to be an original, and all of which together shall be deemed to be one and the same
 agreement. Execution copies of this Agreement may be delivered by facsimile or other electronic
 communication, which shall be deemed to be an original for the purposes of this paragraph.



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          Section 19.      Notices. All notices hereunder shall be deemed given if in writing and delivered,
 if contemporaneously sent by electronic mail, facsimile, courier, or by registered or certified mail (return
 receipt requested) to the following addresses or electronic mail addresses:
                 (a)     If to the Debtors, to:
                         Kirkland & Ellis LLP
                         601 Lexington Avenue
                         New York, NY 10022
                         Attn: Marc Kieselstein (email: marc.kieselstein@kirkland.com)

                 (b)     If to Mercuria, to:
                         Mercuria Asset Holdings (Hong Kong) Limited
                         c/o Mercuria Energy Group Limited
                         50 rue du Rhône
                         6th Floor
                         1204 Geneva, Switzerland
                         Attention: François Sornay
                         Email:
                         fsornay@mercuria.com

                         with copies (which shall not constitute notice) to:

                         Milbank, Tweed, Hadley & McCloy LLP
                         28 Liberty Street
                         New York, NY 10005
                         Attention: Abhilash M. Raval, Scott Golenbock, and Lauren C. Doyle
                         Email:
                         ARaval@milbank.com
                         SGolenbock@milbank.com
                         LDoyle@milbank.com

                         Norton Rose Fulbright US LLP
                         2200 Ross Avenue Suite 3600
                         Dallas, TX 75201
                         Attention: Louis R. Strubeck Jr., Kristian Gluck and Greg Wilkes
                         Email:
                         Louis.strubeck@nortonrosefulbright.com
                         Kristian.gluck@nortonrosefulbright.com
                         Greg.wilkes@nortonrosefulbright.com

                         Mercuria Energy Trading, Inc.
                         20 E. Greenway Plaza
                         Suite 650
                         Houston, Texas 77046
                         Attn: Mark L. Greenberg
                         Email:
                         mgreenberg@mercuria.com

                 (c)     If to a Consenting Unsecured Noteholders:



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                          As set forth on such Consenting Noteholder’s signature page
                  (d)     If to AmEx:
                          Cleary Gottlieb Steen & Hamilton LLP
                          One Liberty Plaza
                          New York, NY 10006
                          Attention:      Jane VanLare (e-mail: jvanlare@cgsh.com)


                  (e)     If to the Committee:
                          Akin Gump Strauss Hauer & Feld LLP
                          One Bryant Park
                          Bank of America Tower
                          New York, NY 10036
                          Attention:     Ira S. Dizengoff (e-mail: idizengoff@akingump.com)
                                         Philip C. Dublin (e-mail: pdublin@akingump.com)

         Any notice given by delivery, mail, or courier shall be effective when received. Any notice given
 by facsimile or electronic mail shall be effective upon oral, machine, or electronic mail (as applicable)
 confirmation of transmission.
         Section 20.      Reservation of Rights; No Admission.
          Except as expressly provided in this Agreement, nothing herein is intended to, or does, in any
 manner waive, limit, impair, or restrict the ability of each of the Parties to protect and preserve its rights,
 remedies, and interests, including without limitation, its claims against any of the other Parties (or their
 respective affiliates or subsidiaries) or its full participation in any Chapter 11 Case. This Agreement is part
 of a proposed settlement of matters that could otherwise be the subject of litigation among the Parties.
 Pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state rules of evidence, and any other
 applicable law, foreign or domestic, this Agreement, and all negotiations relating thereto shall not be
 admissible into evidence in any proceeding other than a proceeding to enforce its terms. This Agreement
 shall in no event be construed as or be deemed to be evidence of an admission or concession on the part of
 any Party of any claim or fault or liability or damages whatsoever. Each of the Parties denies any and all
 wrongdoing or liability of any kind and does not concede any infirmity in the claims or defenses which it
 has asserted or could assert.
         Section 21.      No Solicitation; Representation by Counsel; Adequate Information.
                (a)     This Agreement is not and shall not be deemed to be a solicitation to tender or
 exchange any of the Unsecured Notes.
                 (b)     Each Party acknowledges that it has been represented by counsel in connection
 with this Agreement and the transactions contemplated hereby. Accordingly, any rule of law or any legal
 decision that would provide any Party with a defense to the enforcement of the terms of this Agreement
 against such Party based upon lack of legal counsel shall have no application and is expressly waived.
         Section 22.      Confidential Information. Notwithstanding anything in this Agreement to the
 contrary, if the Debtors or the Mercuria determine that any information (whether written or oral) required
 to be delivered under this Agreement is material nonpublic information within the meaning of Regulation
 FD of the Exchange Act (“MNPI”), the Debtors and Mercuria shall not be obligated to deliver any such
 MNPI to any Party unless and until such Party has executed a confidentiality agreement or is otherwise



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 subject to confidentiality obligations, subject to customary exceptions, obligating such Party to keep
 confidential and not disclose, subject to customary exceptions, any such MNPI for a reasonable period.
          Section 23.      Nondisclosure of Consenting Unsecured Noteholder Information.
 Notwithstanding anything in this Agreement to the contrary, unless required by applicable law or
 regulation, the Parties agree to keep confidential the amount of all claims in the Debtors held (beneficially
 or otherwise) by any Consenting Unsecured Noteholder absent the prior written consent of such Consenting
 Unsecured Noteholder; and if such announcement or disclosure is so required by law or regulation, the
 disclosing Party shall provide each affected Consenting Unsecured Noteholder with advance notice of the
 intent to disclose and shall afford each of the affected Consenting Unsecured Noteholders a reasonable
 opportunity to review and comment upon any such announcement or disclosure prior to the disclosing Party
 making such announcement or disclosure. If a Party determine that it is required to attach a copy of this
 Agreement to any document to be publicly filed, such Party will redact any reference to the amount of a
 specific Consenting Unsecured Noteholder’s claims and interests in the Debtors and such Consenting
 Unsecured Noteholder’s notice information. The foregoing shall not prohibit any Party from disclosing the
 aggregate claims or interests of all Consenting Unsecured Noteholders.
         Section 24.       No Admissions. This Agreement shall in no event be construed as or be deemed
 to be evidence of an admission or concession on the part of any Party of any claim or fault or liability or
 damages whatsoever. Each of the Parties denies any and all wrongdoing or liability of any kind and does
 not concede any infirmity in the claims or defenses which it has asserted or could assert. This Agreement
 and the Definitive Documents are part of a proposed settlement of a dispute among the Parties. Pursuant
 to Federal Rule of Evidence 408 and any applicable state rules of evidence, this Agreement and all
 negotiations relating thereto shall not be admissible into evidence in any proceeding other than a proceeding
 involving enforcement of the terms of this Agreement.
         Section 25.      Email Consents. Where a written consent, acceptance, approval, or waiver is
 required pursuant to or contemplated by this Agreement, including a written approval by Aegean, Mercuria,
 the Committee, AmEx or the Consenting Unsecured Noteholder, such written consent, acceptance,
 approval, or waiver shall be deemed to have occurred if, by agreement between counsel to the Parties
 submitting and receiving such consent, acceptance, approval, or waiver, it is conveyed in writing (including
 electronic mail) between each such counsel without representations or warranties of any kind on behalf of
 such counsel.

         Section 26.      Automatic Stay. The automatic stay arising pursuant to section 362 of the
 Bankruptcy Code shall be deemed waived or modified for purposes of providing notice, if any, hereunder,
 including any notice of termination to the Debtors by any Party.
          Section 27.       Debtor Stipulations. Upon the Debtors’ termination of this Agreement pursuant
 to Section 8(a)(iii) or the Committee’s termination pursuant to Section 8(e)(iii), the Parties agree that the
 stipulations in favor of Mercuria set forth in Paragraph G of the Final DIP Order shall be irrevocably binding
 on, and enforceable against, all persons and parties in interest, including the Committee, the Consenting
 Unsecured Noteholders, AmEx and any examiner or trustee appointed in these cases or conversion of these
 cases under chapter 7 of the Bankruptcy Code. For the avoidance of doubt, upon the Debtors’ termination
 of this Agreement pursuant to Section 8(a)(iii) or the Committee’s termination of this Agreement pursuant
 to Section 8(e)(iii), any and all rights of the Committee and any party in interest, including the Consenting
 Unsecured Noteholders and AmEx, under Section 4.1 of the Final DIP Order shall be extinguished.
         Section 28.     Litigation Standstill. The Debtors, the Committee, Mercuria, Amex and the
 Consenting Unsecured Noteholders shall cease and desist from any and all ongoing litigation activities with
 respect to one another, including discovery requests, review of documents produced in discovery,
 depositions, preparation of expert witnesses or expert reports, investigating or researching of objections,


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 claims, causes of action, lien validity or challenges, or other similar actions, and preparation of pleadings
 or other documents in connection with any of the foregoing with respect to the Restructuring, approval of
 the DIP Financing, and any Challenge (as defined in the Final DIP Order) (the foregoing being the
 “Litigation Standstill”). The Debtors, Mercuria, the Committee, Amex and the Consenting Unsecured
 Noteholders shall coordinate any other litigation activities in connection with the Chapter 11 Cases so as to
 minimize costs to the Debtors’ estates.
         Section 29.     No Restraint on DIP Financing. Notwithstanding anything to contrary herein,
 nothing in this Agreement shall prohibit the right of Mercuria to exercise any right or remedy in accordance
 with the definitive documents for the DIP Financing.


                                [Remainder of Page Intentionally Left Blank]




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                   IN WITNESS WHEREOF, Aegean Marine Petroleum Network Inc., on behalf of itself and each
 of the Debtors, has executed this Agreement as of the date and year first written above.

                                                 AEGEAN MARINE PETROLEUM NETWORK INC.

                                                 By:
                                                 Name: Tyler Baron
                                                 Title: Authorized Signatory




                             [Signature Page to Restructuring Support Agreement]
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                  IN WITNESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
 Agreement as of the date and year first written above.

                                                 Callaway Capital Management, LLC

                                                 By:
                                                 Name: Daniel Freifeld
                                                 Title: Managing Member


                                                     Aggregate Principal Amount Owned of:
                                                     4.00% Notes: $
                                                     4.25% Notes: $


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                  IN WITNESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
 Agreement as of the date and year first written above.

                                                AQR Absolute Return Master Account, L.P.




                                                By:
                                                Name: William J. Fenrich
                                                Title: Authorized Signatory


                                                    Aggregate Principal Amount Owned of:
                                                    4.00% Notes: $
                                                    4.25% Notes: $


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                  IN WITNESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
 Agreement as of the date and year first written above.

                                                AQR Funds – AQR Diversified Arbitrage Funds




                                                By:
                                                Name: William J. Fenrich
                                                Title: Authorized Signatory


                                                    Aggregate Principal Amount Owned of:
                                                    4.00% Notes: $
                                                    4.25% Notes:


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                    IN Wl'INESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
Agreernent as   of the date and year first written above.

                                                   DeepCurrents Investment Croup LLC,

                                                   As (i) investrnent manager to DCIG Capital Master Fund LP
                                                   ("DCIG"), with respect to all Unsecured Notes held by DCIG,
                                                   and (ii) investment manager with respect to certait.t assets held
                                                   by Verition Multi-Strategy Master Fund Ltd ("Verition"),
                                                   including Unsecured Notes held by Veritiotr, but only to the
                                                   extent, and only during the period, that it has trading authority
                                                   with respect to such Unsecured Notes.




                                                   By:
                                                   Narne:
                                                   Title: Chief Operating Officer



                                                        Aggregate Principal Amount Owned of;

                                                        4.}}%Notes:

                                                        4.25% Notes:




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                  IN WITNESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
 Agreement as of the date and year first written above.

                                                LION POINT MASTER, LP

                                                By:
                                                Name: James Murphy
                                                Title: COO/CFO


                                                    Aggregate Principal Amount Owned of:
                                                    4.00% Notes: $
                                                    4.25% Notes: $


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                 IN WITNESS WHEREOF, the undersigned Consenting Unsecured Noteholder has executed this
Agreement as of the date and year first written above.

                                                              I v           a      [\
                                                NOMURA SECURITIES INTERNATIONAL, INC.


                                               By:    1/ �
                                                         I

                                               Name: Thomas
                                                             J  J 7� \
                                                       I/ \ I'. Pernetti
                                                                         \Jx / 1 1
                                                                                   /


                                               Title: Senior Managing Director


                                                   Aggregate Principal Amount Owned of:
                                                   4.00% Notes: $
                                                   4.25 % Notes: $


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                  IN WITNESS WHEREOF, Akin Gump Strauss Hauer & Feld LLP, solely in its capacity as
 counsel to the Committee has executed this Agreement as of the date and year first written above based on the
 unanimous consent of the members of the Committee, solely in their capacities as such.

                                                      AKIN GUMP STRAUSS HAUER & FELD LLP

                                                      By:
                                                      Name: Philip C. Dublin
                                                      Title: Partner
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                                           EXHIBIT A
                                 RESTRUCTURING TERM SHEET




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                       IN RE: AEGEAN MARINE PETROLEUM NETWORK INC., et al.
                                                  Restructuring Term Sheet
 This term sheet (the “Term Sheet”) sets forth the principal terms of a proposed restructuring (the
 “Restructuring”) of Aegean Marine Petroleum Network Inc. (“AMPNI,” or the “Company”), whereby
 Mercuria Energy Group Limited (“Mercuria”) commits to (a) purchase 100% of the New Common Equity
 in Reorganized AMPNI as set forth herein; and (b) provide for the creation of a litigation trust (the
 “Litigation Trust”) that will hold and prosecute the Litigation Claims (as defined below).
 The Restructuring is intended to be memorialized in a restructuring support agreement (the “RSA”)1 and
 shall be implemented through the confirmation of a chapter 11 plan of reorganization (the “Plan”) filed in
 the chapter 11 proceedings (the “Chapter 11 Cases") of AMPNI and its debtor subsidiaries (the
 “Subsidiary Debtors,” and together with AMPNI, the “Debtors”) pending in the United States Bankruptcy
 Court for the Southern District of New York (the “Court”). Under the Plan (1) all of the Debtors’ senior
 secured term loan debt would be reinstated, paid in full or receive such other treatment as is agreed to by
 the holder of such senior secured term loan debt and Mercuria and (2) AMPNI’s unsecured creditors would
 receive their pro rata share of (a) $40 million in cash and (b) Class A interests in the Litigation Trust entitled
 to 100% of recoveries on the Litigation Claims (after the first $18 million recovered is paid to the entities
 that provide funding to the Litigation Trust).
 The transactions contemplated in this Term Sheet are subject in all respects to the negotiation, execution,
 and delivery of Definitive Documentation.
 THIS TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE CONSTRUED AS) AN OFFER
 WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OR
 REJECTIONS AS TO ANY PLAN, IT BEING UNDERSTOOD THAT SUCH A SOLICITATION, IF
 ANY, ONLY WILL BE MADE IN COMPLIANCE WITH APPLICABLE PROVISIONS OF ALL
 APPLICABLE LAW. THIS TERM SHEET DOES NOT ADDRESS ALL TERMS THAT WOULD BE
 REQUIRED IN CONNECTION WITH ANY POTENTIAL TRANSACTIONS REFERENCED HEREIN
 AND THE ENTRY INTO OR THE CREATION OF ANY BINDING AGREEMENT IS SUBJECT TO
 THE EXECUTION OF DEFINITIVE DOCUMENTATION IN FORM AND SUBSTANCE
 CONSISTENT WITH THIS TERM SHEET AND OTHERWISE REASONABLY ACCEPTABLE TO
 MERCURIA, THE DEBTORS, THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS (THE
 “CREDITORS’ COMMITTEE”), AMERICAN EXPRESS TRAVEL RELATED SERVICES
 COMPANY, INC. (“AMEX”), AND THE REQUIRED CONSENTING UNSECURED NOTEHOLDERS
 (AS SUCH TERM IS DEFINED IN THE RSA). THIS TERM SHEET HAS BEEN PRODUCED FOR
 DISCUSSION AND SETTLEMENT PURPOSES ONLY AND IS SUBJECT TO THE PROVISIONS OF
 RULE 408 OF THE FEDERAL RULES OF EVIDENCE AND OTHER SIMILAR APPLICABLE STATE
 AND FEDERAL RULES PROTECTING THE USE OR DISCLOSURE OF INFORMATION
 EXCHANGED IN THE CONTEXT OF SETTLEMENT DISCUSSIONS.




 1   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such term in the RSA.
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                                                OVERVIEW

  Initial Parties to             (a) Mercuria
  Term Sheet
                                 (b) The Debtors;
                                 (c) The Creditors’ Committee;
                                 (d) AmEx; and
                                 (e) The Consenting Unsecured Noteholders

  Restructuring             The Debtors, Mercuria, the Creditors’ Committee, AmEx, and the Consenting
  Support Agreement         Unsecured Noteholders shall execute an RSA memorializing the terms of this
                            Term Sheet.
                            The RSA will be effective and binding on Mercuria, the Creditors’ Committee,
                            AmEx, and the Consenting Unsecured Noteholders upon execution. The RSA
                            shall be terminable by Mercuria if the Debtors do not execute the RSA by
                            December 15, 2018; provided, that the RSA will not be binding as to the
                            Debtors until the RSA is approved by the Court, if applicable.
                            The RSA shall provide that the parties thereto shall support, and not oppose
                            or interfere with, the confirmation and consummation of the Plan
                            implementing the terms hereof and containing such other terms and conditions
                            as are necessary and appropriate to implement the Restructuring as may be
                            agreed to by Mercuria, the Debtors, the Creditors’ Committee, AmEx, and the
                            Consenting Unsecured Noteholders, subject to the Debtors’ and Creditors’
                            Committee’s respective fiduciary duties.

  Implementation            The Debtors, Mercuria, the Consenting Unsecured Noteholders, AmEx, and
                            the Creditors’ Committee will cooperate with each other in good faith and use
                            commercially reasonable efforts to (i) draft and finalize the Definitive
                            Documentation, including but not limited to the Plan; (ii) take all actions
                            reasonably necessary in connection therewith to ensure compliance with
                            applicable law; and (iii) take all actions reasonably necessary to ensure that
                            the Restructuring is consummated in a tax efficient manner.

  DIP Financing             The RSA shall require that the Debtors obtain an order from the Court,
  Facility                  substantially in the form attached hereto as Exhibit A (the “DIP Financing
                            Order”) approving the DIP credit agreements (the “DIP Credit
                            Agreements”) annexed hereto as Exhibits B and C.

                                           PLAN OVERVIEW

  Debt to be                The Plan shall provide for the restructuring of the following funded debt
  Restructured              obligations of the Debtors:
                                 •   The up to $235,000,000 principal outstanding under the U.S. DIP
                                     Documents (as defined in the DIP Financing Order), of which no less




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                             than 125,380,320 was outstanding as of December 13, 2018 (the “U.S.
                             DIP Facility”);
                         •   The up to $300,000,000 principal outstanding under the Global DIP
                             Documents (as defined in the DIP Financing Order), of which no less
                             than 204,714,618 was outstanding as of December 13, 2018 (the
                             “Global DIP Facility” and together with the U.S. DIP Facility, the
                             “DIP Facilities”);
                         •   $249,569,260 aggregate principal outstanding as of the Petition Date
                             under that certain Facility Agreement for a Borrowing Base Facility,
                             dated as of November 30, 2017 (as amended, restated, modified, or
                             supplemented from time to time), by and among Aegean Marine
                             Petroleum S.A., Aegean Petroleum International Inc., Aegean NWE
                             N.V., Aegean Bunkering Germany GmbH, OBAST Bunkering &
                             Trading GmbH and Aegean Petroleum Uruguay S.A., as co-
                             borrowers and guarantors, AMPNI, as guarantor, ABN AMRO Bank
                             N.V., as arranger, documentation bank, facility agent, collateral
                             management agent, security agent, and certain financial institutions,
                             as lender, issuing banks, and overdraft banks thereto (the “Secured
                             Global Credit Facility”);
                         •   $131,688,166 aggregate principal outstanding as of the Petition Date
                             under that certain Second Amended and Restated Security
                             Uncommitted Credit Agreement, dated as of August 3, 2017 (as
                             amended, restated, modified, or supplemented from time to time), by
                             and among Aegean Bunkering (USA) LLC, as borrower, ABN
                             AMRO Capital USA, as administrative agent, collateral agent,
                             syndication agent, BNP Paribas, as documentation agent, and the
                             lender thereto (the “Secured U.S. Credit Facility,” together with the
                             Global Credit Facility, the “Secured Credit Facilities”);
                         •   $13,500,000 aggregate principal outstanding under that certain Loan
                             Agreement, dated as of November 30, 2017 (as amended, restated,
                             modified, or supplemented from time to time), by and among Aegean
                             Bunkering Services Inc., as borrower, AMPNI, Amorgos Maritime
                             Inc., Kimolos Maritime Inc., Milos Shipping (Pte.) Ltd., Mykonos I
                             Maritime Limited and Tinos Marine Inc., as co-guarantors, and
                             Piraeus Bank S.A., as lender (the “2017 Secured Term Loan”);
                         •   $5,984,585 aggregate principal outstanding under that certain Loan
                             Agreement, dated as of November 20, 2017 (as amended, restated,
                             modified, or supplemented from time to time), by and among Aegean
                             Bunkering Services Inc. and Nevado Navigation S.A., as co-
                             borrowers, AMPNI, Aegean Management Services M.C., Aegean
                             Ship III Maritime Company, Aegean Ship VIII Maritime Company,
                             Aegean Ace Maritime Company and Aegean Tanking S.A., as co-
                             guarantors, and Piraeus Bank S.A., as lender (the “2017 South Africa
                             Secured Term Loan”);
                         •   $90,335,430 aggregate principal outstanding that certain Term Loan
                             Facility Agreement, dated as of October 7, 2015 (as amended,
                             restated, modified, or supplemented from time to time), by and among

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                             Aegean Oil Terminal Corporation, as borrower, AMPNI, as
                             guarantor, United Arab Bank P.J.S.C., as agent, security agent and
                             lender thereto (the “2015 Fujairah Secured Term Loan”);
                         •   $18,717,000 aggregate principal amount outstanding under that
                             certain Loan Agreement, dated as of April 24, 2008 (as amended,
                             restated, modified, or supplemented from time to time), by and among
                             Kassos Navigation S.A., Symi Navigation S.A., Halki Navigation
                             S.A. and Tilos Shipping (PTE.) LTD., as co-borrowers, AMPNI and
                             Aegean Shipholdings Inc., as coguarantors, Aegean Baltic Bank S.A.,
                             as arranger, agent, security agent, account bank, and lender thereto
                             (the “2008 Newbuilding Secured Term Loan”);
                         •   $9,158,800 aggregate principal amount outstanding under that certain
                             Loan Agreement, dated as of July 5, 2007 (as amended, restated,
                             modified, or supplemented from time to time), by and among Andros
                             Marine Inc., Dilos Marine Inc., Ios Shipping Ltd, Sifnos Marine Inc.
                             and Aegean VII Shipping Ltd., as co-borrowers, AMPNI, as
                             guarantor, and Orix Investment and Management Private Ltd., as
                             lender thereto (the “2007 Newbuilding Secured Term Loan”);
                         •   $33,459,740 aggregate principal amount outstanding under that
                             certain Loan Agreement, dated as of October 1, 2006 (as amended,
                             restated, modified, or supplemented from time to time), by and among
                             Kerkyra Marine S.A., Ithaki Marine S.A., Cephallonia Marine S.A.,
                             Paxoi Marine S.A., Zakynthos Marine S.A., Ios Marine Inc. and
                             Kythira Marine S.A., as coborrowers, AMPNI, Aegean Shipholdings
                             Inc., Aegean Breeze Maritime Company and Aegean Tiffany
                             Maritime Company, as co-guarantors, Aegean Baltic Bank S.A., as
                             arranger, agent, security agent, account bank, and lender thereto (the
                             “First 2006 Newbuilding Secured Term Loan”);
                         •   $6,564,028 aggregate principal amount outstanding under that certain
                             Loan Agreement, dated as of October 27, 2006 (as amended, restated,
                             modified, or supplemented from time to time), by and among Tasman
                             Seaways Inc. and Santon Limited, as co-borrowers, AMPNI and
                             Aegean Bunkering Services Inc., as co-guarantors, and the National
                             Bank of Greece S.A., as lender thereto (the “Second 2006
                             Newbuilding Secured Term Loan”);
                         •   $12,200,500 aggregate principal amount outstanding under that
                             certain Loan Agreement, dated as of October 25, 2006 (as amended,
                             restated, modified, or supplemented from time to time), by and among
                             Eton Marine LTD., Benmore Services S.A. and Ingram Enterprises
                             Co., as co-borrowers, AMPNI, Aegean Shipholdings Inc. and Sealand
                             Navigation Inc., as co-guarantors, and Aegean Baltic Bank S.A. as
                             arranger, agent, security agent, account bank, and lender thereto (the
                             “Third 2006 Newbuilding Secured Term Loan”);
                         •   $11,670,000 aggregate principal amount outstanding under that
                             certain Loan Agreement, dated as of August 30, 2005 (as amended,
                             restated, modified, or supplemented from time to time), by and among
                             Kithnos Maritime Inc., Lefkas Marine S.A., Paros Maritime Inc.,

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                                 Santorini I Maritime Limited and Serifos Shipping (Pte.) Ltd., as co-
                                 borrowers, AMPNI, Aegean Shipholdings Inc., Aegean Bunkering
                                 Services Inc. and Tempest Shiptrade Ltd., as co-guarantors, and
                                 Aegean Baltic Bank S.A. as arranger, agent, security agent, account
                                 bank, and lender thereto (the “2005 Newbuilding Secured Term
                                 Loan”);
                             •   $5,000,000 aggregate principal amount outstanding under that certain
                                 Loan Agreement, dated as of September 7, 2018 (as amended,
                                 restated, modified, or supplemented from time to time), by and among
                                 Aegean Marine Petroleum S.A., as borrower, AMPNI and I.C.S.
                                 Petroleum Limited, as co-guarantors, and Mercuria Energy Trading
                                 S.A., as lender thereto (the “2018 Barge Secured Term Loan,”
                                 together with the 2017 Secured Term Loan, 2017 South Africa
                                 Secured Term Loan, 2015 Fujairah Secured Term Loan Facility, 2008
                                 New Building Secured Term Loan, 2007 Newbuilding Secured Term
                                 Loan, First 2006 Newbuilding Secured Term Loan, Second 2006
                                 Newbuilding Secured Term Loan, Third 2006 Newbuilding Secured
                                 Term Loan, 2005 Newbuilding Secured Term Loan, 2018 Barge
                                 Secured Term Loan, the “Secured Term Loans”);
                             •   4.00% unsecured convertible notes, $94,550,000 principal amount
                                 outstanding, issued pursuant to that certain Senior Indenture, dated as
                                 of October 23, 2013, by and among AMPNI, as issuer, and Deutsche
                                 Bank Trust Company Americas, as trustee (the “4.00% Notes”); and
                             •   4.25% unsecured convertible notes, $172,500,000 principal amount
                                 outstanding, issued pursuant to that certain Indenture, dated as of
                                 December 19, 2016, by and among AMPNI, as issuer, and U.S. Bank
                                 National Association, as trustee (the “4.25% Notes,” together with
                                 the 4.00% Notes, the “Unsecured Notes” and the holders thereof, the
                                 “Unsecured Noteholders”).

  Pro Forma Capital      The Plan shall provide for the recapitalization of the reorganized Debtors (the
  Structure              “Reorganized Debtors”) on the effective date of the Plan (the “Effective
                         Date”).

  Treatment of           On the Effective Date, all Allowed priority and administrative claims shall be
  Administrative and     paid in full in cash by the Reorganized Debtors through cash on hand, proceeds
  Priority Claims        of the DIP Financing Facilities, and/or cash funded by Mercuria.


  Treatment of DIP       On the Effective Date:
  Claims and Secured
                         The DIP Financing Facilities and Secured Credit Facilities will be cancelled,
  Credit Facilities
                         deemed exchanged for the New Common Equity of Reorganized AMPNI, or
                         otherwise satisfied or reinstated at Mercuria’s election to achieve a tax
                         efficient structure.

  Treatment of Secured   On the Effective Date, each Secured Term Loan shall, at Mercuria’s election,
  Term Loan Claims       be reinstated, paid in cash in full, or receive such other treatment as is agreed


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                             to by the holder of such Secured Term Loan Claim and Mercuria.

     Other Secured Claims    On the Effective Date, Allowed Other Secured Claims against the Debtors, if
                             any, shall receive either (i) payment in cash in full of the unpaid portion of
                             their Allowed Other Secured Claims, including any interest thereon required
                             to be paid under section 506(b) of the Bankruptcy Code (or if payment is not
                             then due, in accordance with the terms of such Allowed Other Secured
                             Claims), (ii) reinstatement pursuant to section 1124 of the Bankruptcy Code,
                             (iii) the collateral securing such Allowed Other Secured Claim, plus any
                             interest thereon required to be paid under section 506(b) of the Bankruptcy
                             Code, or (iv) such other recovery necessary to satisfy section 1129 of the
                             Bankruptcy Code.

     AMPNI Unsecured         On the Effective Date, each general unsecured claim against AMPNI (the
     Claims                  “AMPNI Unsecured Claims”)2 shall receive its pro rata share of:
                                 •   $40 million in cash (the “Cash Payment”); and
                                 •   Class A Trust Units (which shall entitle the holders thereof to receive
                                     100% of the recoveries from the Litigation Trust after the first
                                     $18 million recovered is paid to the entities that provide funding to
                                     the Litigation Trust until each Allowed AMPNI Unsecured Claim is
                                     paid in full, including postpetition interest at the applicable default
                                     contract rate for the period from the Petition Date through the
                                     Effective Date and if no such contract rate exists, at the federal
                                     judgment rate plus fees, costs, and expenses under such contract, if
                                     applicable (“Payment In Full”).
                                 •   Distributions to holders of Unsecured Notes of their pro rata share of
                                     the Cash Payment and the Class A Trust Units shall be made through
                                     the respective Trustees in accordance with the terms of the respective
                                     indentures, and the Plan shall contain standard provisions with respect
                                     thereto.

     Subsidiary Debtor       In full satisfaction thereof, each holder of an unsecured claim Allowed against
     Unsecured Claims        a debtor subsidiary of AMPNI (each a “Subsidiary Debtor”) will receive (i)
                             payment in cash in full in the ordinary course or, at the option of the Debtors
                             and with the consent of Mercuria, on the Effective Date, or (ii) receive such
                             other treatment rendering them unimpaired on the Effective Date.

     Section 510(b) Claims   On the Effective Date, the holders of Allowed Section 510(b) Claims against
                             AMPNI, if any, shall be cancelled and holders of such Claims shall receive
                             their pro rata share of the Class B Trust Units (which shall entitle the holders
                             thereof to receive 100% of the recoveries from the Litigation Trust after
                             Payment in Full of the holders of the Class A Trust Units).




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   The AMPNI Unsecured Claims shall include all claims in respect of the Unsecured Notes which shall be Allowed
 in the amount of $267,050,000 and the AmEx Claims, which shall be Allowed in the amount of $22,466,292.32.


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  Equity Interests in     On the Effective Date, the holders of Allowed equity interests in AMPNI
  AMPNI                   (including common stock, preferred stock and any options, warrants, profit
                          interest units, or rights to acquire any equity interests) shall be cancelled and
                          holders of such Claims shall receive their pro rata share of the Class B Trust
                          Units (which shall entitle the holders thereof to receive 100% of the recoveries
                          from the Litigation Trust after Payment in Full of the holders of the Class A
                          Trust Units).

  Intercompany Claims     On the Effective Date, Intercompany Claims shall be reinstated or cancelled
                          and released at the option of Mercuria in consultation with the Debtors.

  Intercompany            On the Effective Date, Intercompany Interests shall be reinstated for
  Interests               administrative convenience, or cancelled as determined by Mercuria in
                          consultation with the Debtors.

  Litigation Trust        On the Effective Date, the Debtors shall transfer the Litigation Claims to a
                          litigation trust (the “Litigation Trust”) to be formed pursuant to the Plan. The
                          Litigation Trust shall be governed by a trust agreement (the “Litigation Trust
                          Agreement”) in form and substance reasonably acceptable to Mercuria, the
                          Debtors, and the Creditors’ Committee.
                          Except as otherwise agreed between Mercuria, the Debtors, and the
                          Committee, the Plan shall include a definition of “Litigation Claims” as
                          follows:

                               •   “Litigation Claims” means all of the following claims and causes of
                                   action belonging to AMPNI or any direct or indirect debtor or non-
                                   debtor subsidiary thereof (“Subsidiary”), against any person or
                                   entity, and existing at any time on or prior to the Petition Date: (i)
                                   claims and causes of action relating to the events, circumstances, and
                                   conduct described in the June 4, 2018, and November 2, 2018, Form
                                   6-K disclosures of AMPNI including conduct concerning improper
                                   accounting for or recordation of accounts receivable, as well as the
                                   right of AMPNI or any Subsidiary to the proceeds of or recovery in
                                   any suit, prosecution, investigation, settlement, enforcement
                                   proceeding, fine, penalty, or other proceeding or action by any
                                   government or governmental agency in connection with the
                                   foregoing; (ii) claims and causes of action relating to the construction
                                   and maintenance of Aegean Oil Terminal Corp.’s fuel oil terminal
                                   located in Fujairah, UAE, as well as the right of AMPNI or any
                                   Subsidiary to the proceeds of or recovery in any suit, prosecution,
                                   investigation, settlement, enforcement proceeding, fine, penalty, or
                                   other proceeding or action by any government or governmental
                                   agency in connection with the foregoing; (iii) claims and causes of
                                   action relating to misstated accounting records, fraudulent
                                   misappropriation of funds by Dimitris Melissanidis, claims against
                                   auditors and other professionals related to misappropriation of funds,
                                   any related conspiracy to defraud AMPNI or investors in
                                   AMPNI, claims against Quality Solutions related to construction
                                   fraud or other fraud, misconduct, malpractice, or other malfeasance


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                            by any director, officer, employee, or agent of AMPNI or a Subsidiary
                            in connection with any of the foregoing; (iv) claims and causes of
                            action brought by AMPNI and any Subsidiary, as Plaintiffs, against
                            Hess Corporation, as Defendant, commenced in the Supreme Court of
                            the State of New York, County of New York: Part 39, Index Number
                            653887/2014, including any appeals in connection with the foregoing;
                            (v) claims and causes of action concerning unpaid invoices for marine
                            fuels supplied through agreements entered into with O.W. Group and
                            any affiliate thereof; (vi) claims and causes of action concerning
                            HSFO product loaded from Petrotrin in Trinidad in December 2016;
                            (vii) claims and causes of action arising from the repurchase of any
                            equity interests in AMPNI; (viii) claims and causes of action against
                            any of AMPNI’s or its Subsidiaries’ directors or officers or other
                            person covered by applicable D&O insurance policies, including for
                            breach of fiduciary duty; (ix) claims and causes of action against, and
                            rights to proceeds from, any applicable D&O insurance policies; (x)
                            claims and causes of action of AMPNI and any Subsidiary in
                            connection with the Related Party Transactions described in the Form
                            20-F of AMPNI for the fiscal year ended December 31, 2016; and (xi)
                            claims and causes of action arising under chapter 5 of the Bankruptcy
                            Code, including claims to avoid and recover fraudulent transfers,
                            provided, that any and all claims to avoid and recover preferential
                            transfers shall remain property of the Reorganized Debtors and shall
                            not be transferred to the Litigation Trust, which preference claims
                            shall be released; provided further, that any and all potential claims or
                            counterclaims against contractual counterparties and known or
                            unknown tort claimants owned by the Debtors or Reorganized
                            Debtors and not enumerated above shall not be contributed to the
                            Litigation Trust and, on the Effective Date, shall be vested in the
                            Reorganized Debtors; and provided further that any and all potential
                            claims against Mercuria, its affiliates and customary related parties,
                            or David Gallagher shall be released and shall not be transferred to
                            the Litigation Trust.
                    The trustee for the Litigation Trust (the “Litigation Trustee”) shall be selected
                    by a unanimous decision of the Creditors’ Committee and the Required
                    Consenting Unsecured Noteholders acting together. The Litigation Trustee
                    shall be compensated on terms acceptable to the Creditors’ Committee and the
                    Required Consenting Unsecured Noteholders. The Litigation Trustee shall be
                    a professional person or a financial institution having trust powers with
                    experience administering other litigation trusts. The Litigation Trustee shall
                    not have voting rights with respect to the governance of the Litigation Trust
                    and shall retain professionals approved by (x) if determined prior to the
                    Effective Date, a unanimous decision of the Creditors’ Committee and the
                    Required Consenting Unsecured Noteholders acting together, and (y) if
                    determined after the Effective Date, the unanimous consent of the Litigation
                    Trust Advisory Board.
                    The Litigation Trust shall be governed by a “Litigation Trust Advisory
                    Board” consisting of 3 members. which shall be selected jointly by the
                    Creditors’ Committee and the Required Consenting Unsecured Noteholders.


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                         The Debtors shall be permitted to appoint a single ex officio member of the
                         Litigation Trust Advisory Board who shall not have voting rights. If and when
                         the holders of Class A Trust Units have received Payment in Full, the members
                         appointed by the Creditors’ Committee and Required Consenting Unsecured
                         Noteholders may be replaced by new members designated by the Class B
                         Trust Units.
                         The members of the Litigation Trust Advisory Board shall not be entitled to
                         compensation for service on the Litigation Trust Advisory Board.
                         Litigation Trust Units shall be passive and shall not have voting, consent or
                         other shareholder-like control rights with respect to the Litigation Trust.
                         The Litigation Trust shall be a pass-through entity for tax purposes.
                         Litigation Trust Units may be structured not to be securities and may or may
                         not be transferable, in each case subject to applicable law and as otherwise
                         determined by the unanimous approval of (x) prior to the Effective Date, the
                         Creditors’ Committee and the Requisite Consenting Unsecured Noteholders,
                         or (y) after the Effective Date, the Litigation Trust Advisory Board.
                         Each of the Litigation Trustee and each member of the Litigation Trust
                         Advisory Board shall owe fiduciary duties to the holders of Litigation Trust
                         Units of the type that an official committee of unsecured creditors would owe
                         unsecured creditors, but shall have in place under the Litigation Trust
                         Agreement applicable indemnity and waiver provisions to protect each such
                         member from being personally liable for any claims or causes of action
                         asserted by the holders of Litigation Trust Units, except for any clams of fraud,
                         gross negligence, or willful misconduct.

  Litigation Trust       Mercuria and the Debtors shall execute a litigation trust backstop commitment
  Loan/Payments from     agreement, on terms and conditions acceptable to the Debtors, Mercuria, and
  the Litigation Trust   the Creditors’ Committee (the “Litigation Trust Backstop Commitment
                         Agreement”), pursuant to which Mercuria shall commit to provide
                         $15 million to fund the Litigation Trust (the “Litigation Trust Loan”). All
                         unsecured creditors at AMPNI who are parties to, or become party to the RSA
                         prior to the Effective Date (including for the avoidance of doubt, the
                         Consenting Unsecured Noteholders and AmEx) (the “RSA Creditor
                         Parties”) shall have the pro rata right based on the allowed amount of their
                         claims at AMPNI to contribute $15 million to fund the Litigation Trust Loan
                         and shall have oversubscription rights. Mercuria shall fund the difference
                         between $15 million and the amount of the Litigation Trust Loan funded by
                         the RSA Creditor Parties. The funders of the Litigation Trust Loan shall be
                         the “Litigation Trust Funders.”
                         The first $18 million recovered by the Litigation Trust shall be paid pro rata
                         to the Litigation Trust Funders (the “Litigation Trust Loan Payments”).
                         For any amount recovered by the Litigation Trust after payment of the
                         Litigation Trust Loan Payments, 100% shall be paid on a pro rata basis to the
                         holders of Class A Trust Units until they receive Payment in Full and
                         thereafter, for any amount recovered by the Litigation Trust, 100% shall be
                         paid on a pro rata basis to the holders of Class B Trust Units. Notwithstanding

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                         the foregoing, after repayment in full of the Litigation Trust Loan Payments,
                         the Litigation Trust Advisory Board in the exercise of its business judgment
                         may elect to withhold proceeds from the prosecution or settlement of
                         Litigation Claims to pay reasonable projected costs and expenses of the
                         Litigation Trust.

  Debtor Documents/      The Plan and Litigation Trust Agreement shall provide for the transfer of all
  Privileges             documents, information, work product, and privileges related to the Litigation
                         Claims from the Debtors, the Debtors’ estates, and the Reorganized Debtors
                         to the Litigation Trust.
                         The Reorganized Debtors shall preserve all records and documents (including
                         all electronic records or documents) related to the Litigation Claims until the
                         earlier of (x) such time as the Litigation Trustee notifies the Reorganized
                         Debtors in writing that such records are no longer required to be preserved; or
                         (y) the termination of the Litigation Trust.
                         The Reorganized Debtors agree to cooperate reasonably with requests for
                         interviews of current and former officers, directors, employees and
                         professionals of the Debtors in order to facilitate prosecution of the Litigation
                         Claims.

  Disputed Claims        On the Effective Date, the Debtors may establish one or more reserves for
  Reserve                General Unsecured Claims that have not yet been Allowed, in an estimated
                         amount or as determined by the Debtors, Mercuria and the Creditors’
                         Committee.

  Release, Exculpation   •    The Plan shall contain customary release, exculpation and injunction
  and Injunction              provisions for a transaction of this type and provide, among other things,
                              that:


                                  •   The released and exculpated parties will include (i) Mercuria, its
                                      affiliates, and its customary related parties, (ii) David Gallagher,
                                      (iii) any current officer or director of the Debtors that began
                                      working for the Debtors after May 1, 2018 for the first time and
                                      (iv) any current officer or director that began working with the
                                      Debtors prior to May 1, 2018 provided that such current officer
                                      or director will not have the benefit of a release for gross
                                      negligence, willful misconduct, fraud or breach of fiduciary duty
                                      (provided that each such officer’s and director’s liability for
                                      breach of fiduciary duty shall be limited to available coverage
                                      under applicable D&O insurance policies so long as such
                                      limitation does not limit the availability of such insurance) (the
                                      parties in the foregoing (i) - (iv), the “Debtor Carve-Out
                                      Parties”).

                                  •   The released and exculpated parties will not include any person
                                      or entity implicated in any way in any Litigation Claims or who
                                      or which may be liable in connection with any remedies
                                      available in connection with any Litigation Claims (including
                                      without limitation, any immediate or mediate transferees in


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                                     connection with any Litigation Claims) and regardless of
                                     whether such implication or liability is known or unknown at
                                     any time; provided, that the foregoing shall not limit the release
                                     or exculpation of the Debtor Carve-Out Parties.

                                 •   No recovery in respect of a Litigation Claim will result in a
                                     payment obligation by the Reorganized Debtors or any of
                                     AMPNI’s non-debtor subsidiaries or Mercuria.



  Creditors’ Committee   The Plan will provide for the reimbursement of the reasonable and
  Member Expenses        documented fees and expenses of Creditors’ Committee members (including
                         the reasonable and documented fees and expenses of counsel for Creditors’
                         Committee members).

  Shared Services        Mercuria shall continue to support the Debtors’ operations by “sleeving”
                         certain inventory on terms consistent with current practice through the
                         pendency of the DIP Financing

  No Admission           Nothing in the Term Sheet is or shall be deemed to be an admission of any
                         kind.




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                                    EXHIBIT D

                                Liquidation Analysis
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                                    EXHIBIT E

                                 Valuation Analysis
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                                    EXHIBIT F

                                Financial Projections
